     WAWDCase     3:20-cv-05337-RJB-TLF
          - Praecipe (Revised 2/13/13)              Document 3 Filed 04/10/20 Page 1 of 112
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6
                                    UNITED STATES DISTRICT COURT
7                                  WESTERN DISTRICT OF WASHINGTON

8     Country Mutual Insurance Company,
      an Illinois corporation individually and
9     as successor in interest to HOLYOKE
      MUTUAL INSURANCE CO IN SALEM                              Case No. 3:20-CV-5337
              Plaintiff(s),
10
      v.
                                                                PRAECIPE
11

12    EVERGREEN LANDING, LLC
            Defendant(s).
13
      TO THE CLERK OF THE ABOVE-ENTITLED COURT:
14
      You will please:
15    On April 9, 2020, Plaintiff filed "Complaint for Declaratory Relief" with exhibits A & B (ECF 1). Plaintiff wishes to
      replace and correct Exhibit A to the Complaint. We inadvertently provided our office working copy of Exhibit
      A. Please find attached the complete corrected version of the Complaint for Declaratory Relief with Exhibit A
16    & B.

17

18

19

20

21     April 10, 2020                     /s/Misty Edmundson
       Dated                              Sign or use an "s/" and your name
22
                                          Misty Edmundson, WSBA # 29606
23                                        Soha & Lang
                                          1325 Fourth Avenue, Suite 2000
24                                        Seattle, WA 98101
                                          Telephone: (206) 624-1800
                                          Attorney for Plaintiff
25
                                          Name, Address, and Phone Number of Counsel or Pro Se
26
      PRAECIPE                                        Page 1 of 1
            Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 2 of 112



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6
                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT TACOMA
8
     COUNTRY MUTUAL INSURANCE
9    COMPANY, an Illinois corporation                   Cause No. 3:20-cv-5337
     individually and as successor in interest to
10   HOLYOKE MUTUAL INSURANCE                           COMPLAINT FOR DECLARATORY
     COMPANY IN SALEM,                                  RELIEF
11
                                      Plaintiff,
12
             vs.
13
     EVERGREEN LANDING, LLC,
14
                                      Defendant.
15
             Plaintiff Country Mutual Insurance Company, individually and as successor in interest
16
     to Holyoke Mutual Insurance Company in Salem (“Country Mutual”) for its complaint against
17
     defendant, alleges as follows:
18
                                 I.       PARTIES AND JURISDICTION
19
             1.1     Plaintiff Country Mutual is an Illinois corporation with its principal place of
20
     business in Illinois. On January 1, 2017, Holyoke Mutual Insurance Company merged into
21
     Country Mutual.. Country Mutual has succeeded to the obligations of Holyoke Mutual
22

23

     COMPLAINT FOR DECLARATORY RELIEF – 1                                      SOHA & L ANG, P.S.
                                                                                  ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-5337                              1325 FOURTH AVENUE, STE 2000
                                                                            SEATTLE, WASHINGTON 98101
                                                                         (206) 624-1800/FAX (206) 624-3585
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1    Insurance Company. Country Mutual is licensed to transact business in Washington and does

2    transact business in Washington.

3              1.2   On information and belief, Defendant Evergreen Landing, LLC (“Evergreen

4    Landing”) is a limited liability company organized under the laws of the state of Washington

5    with its principal place of business in Thurston County, Washington.

6              1.3   This is an action for a declaratory judgment pursuant to USC § 2201, et seq., to

7    determine an actual case or controversy between the parties.

8              1.4   This court has jurisdiction pursuant to USC § 1332, et seq., because this matter

9    involves citizens of different states and the amount in controversy exceeds $75,000.00.

10                                II.     FACTUAL ALLEGATIONS

11             2.1   Country Mutual reasserts the allegations set forth above as though fully set forth

12   herein.

13             2.2   Holyoke Mutual insurance Company in Salem issued a liability insurance policy

14   to Evergreen Landing, LLC, policy number WA0200110513-01, for the policy period March

15   23, 2016 to March 23, 2017. The Policy was then renewed annually by Country Mutual under

16   policy numbers WA0200110513-02 and WA0200110513-03 for the periods of March 23, 2017

17   to March 23, 2018, and March 23, 2018 to March 23, 2019 (collectively the “Policy”). The

18   relevant policy forms were identical for all the relevant policy periods. A true and accurate

19   copy of the pertinent declarations pages and policy forms for the Policy are attached hereto as

20   Exhibit A and are incorporated herein by reference.

21             2.3   A lawsuit was filed by Tiffany Casto and Ryan Jacobs against Evergreen

22   Landing in Thurston County Superior Court, Cause No. 19-2-04188-34, on or about August 2,

23

     COMPLAINT FOR DECLARATORY RELIEF – 2                                         SOHA & L ANG, P.S.
                                                                                     ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-5337                                 1325 FOURTH AVENUE, STE 2000
                                                                               SEATTLE, WASHINGTON 98101
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1    2019 (“Liability Action”). A true and accurate copy of the complaint in the Liability Action is

2    attached hereto as Exhibit B and is incorporated herein by reference.

3            2.4     The complaint in the Liability Action alleges that Casto and Jacobs (the

4    “Claimants”) occupied Unit 102 of the Evergreen Landing apartment complex for a three-year

5    period. The Claimants allege that beginning in July 2016, and on multiple occasions thereafter,

6    the Claimants notified Evergreen Landing that their unit had continuing mold and moisture

7    issues due to leaking pipes, as well as flooding from an upstairs unit rented to another tenant

8    that had not been remediated by Evergreen Landing. As a result, the Claimants allege that the

9    mold got progressively worse over the course of their tenancy.

10           2.5     The Claimants further allege in the Liability Action that during their time as

11   tenants at Evergreen Landing, Casto suffered significant medical issues and lost time from

12   work due to exposure to the alleged mold in her unit. She claims to have suffered viral and

13   bacterial infections, fungal infections, headaches, chronic fatigue, eczema, and depression as a

14   result of her exposure to Mycotoxins from mold.

15           2.6     The Claimants further allege in the Liability Action that during their time as

16   tenants at Evergreen Landing, Jacobs also experienced symptoms related to mold exposure and

17   his doctor’s tests confirmed the presence of Mycotoxins in his system.

18           2.7     The Claimants also allege that they were forced to move out of their unit at

19   Evergreen Landing on February 1, 2019 because of their health issues caused by exposure to

20   the mold in their unit.     The Claimants allege that prior to moving out, Plaintiffs had

21   professional tests performed by experts dealing in mold infestation that determined their unit

22   showed a “High Relative Moldiness Index.” The Claimants allege that they notified Evergreen

23

     COMPLAINT FOR DECLARATORY RELIEF – 3                                          SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-5337                                  1325 FOURTH AVENUE, STE 2000
                                                                                SEATTLE, WASHINGTON 98101
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            Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 5 of 112



1    Landing of these and other findings that the levels of Mycotoxins in their unit were in excess of

2    safe levels for human habitation.

3            2.8     The Claimants allege causes of action for negligence, violation of the landlord

4    tenant act, breach of contract and breach of the warranty of habitability and claim damages of

5    over $1,000,000 due to their alleged exposure to mold in their unit at Evergreen Landing.

6            2.9     Country Mutual agreed to defend Evergreen Landing against the claims in the

7    Liability Action pursuant to a full reservation of rights under the Policy.

8            2.10    However, the Policy does not provide coverage to Evergreen Landing for the

9    claims in the Liability Action. The Policy provides, in pertinent part:

10                             BUSINESSOWNERS COVERAGE FORM
                     Various provisions in this policy restrict coverage. Read the entire policy
11           carefully to determine rights, duties and what is and is not covered.
12           Throughout this Coverage Form the words “you” and “your” refer to the Named
             Insured shown in the Declarations. The words “we”, “us” and “our” refer to the
13           Company providing this insurance.
             In Section II – Liability, the word “insured” means any person or organization
14           qualifying as such under Paragraph C – Who Is An Insured.

15           Other words and phrases that appear in quotation marks have special meaning.
             Refer to Paragraph H. Property Definitions in Section I – Property and Paragraph
16           F. Liability And Medical Expenses Definitions in Section II – Liability.
                                                    ****
17
             SECTION II – LIABILITY
18           A.      Coverages
                     1.      Business Liability
19
                     a.      We will pay those sums that the insured becomes legally obligated
20                           to pay as damages because of “bodily injury”, “property damage”
                             or “personal and advertising injury” to which this insurance
21                           applies. We will have the right and duty to defend the insured
                             against any “suit” seeking those damages. However, we will have
22                           no duty to defend the insured against any “suit” seeking damages
                             for “bodily injury”, “property damage” or “personal and
23                           advertising injury” to which this insurance does not apply. We

     COMPLAINT FOR DECLARATORY RELIEF – 4                                          SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
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                                                                                SEATTLE, WASHINGTON 98101
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1                            may, at our discretion, investigate any “occurrence” or any offense
                             and settle any claim or “suit” that may result. . .
2                                                ****
3                    b.      This insurance applies:
                             (1)    To “bodily injury” and “property damage” only if:
4
                                    (a)    The “bodily injury” or “property damage” is caused
5                                          by an “occurrence” that takes place in the “coverage
                                           territory”;
6                                   (b)    The “bodily injury” or “property damage” occurs
                                           during the policy period; and
7
                                    (c)    Prior to the policy period, no insured listed under
                                           Paragraph C.1. Who Is An Insured and no
8
                                           “employee” authorized by you to give or receive
                                           notice of an “occurrence” or claim, knew that the
9
                                           “bodily injury” or “property damage” had occurred,
                                           in whole or in part. If such a listed insured or
10
                                           authorized “employee” knew, prior to the policy
                                           period, that the “bodily injury” or “property
11
                                           damage” occurred, then any continuation, change or
                                           resumption of such “bodily injury” or “property
12
                                           damage” during or after the policy period will be
                                           deemed to have been known before the policy
13
                                           period.
14                           (2)    To “personal and advertising injury” caused by an offense
                                    arising out of your business, but only if the offense was
15                                  committed in the “coverage territory” during the policy
                                    period.
16                   c.      “Bodily injury” or “property damage” which occurs during the
                             policy period and was not, prior to the policy period, known to
17                           have occurred by any insured listed under Paragraph C.1 Who Is
                             An Insured or any “employee” authorized by you to give or receive
18                           notice of an “occurrence” or claim, includes any continuation,
                             change or resumption of “bodily injury” or “property damage”
19                           after the end of the policy period.
20                   d.      “Bodily injury” or “property damage” will be deemed to have been
                             known to have occurred at the earliest time when any insured listed
21                           under Paragraph C.1. Who Is An Insured or any “employee”
                             authorized by you to give or receive notice of an “occurrence” or
22                           claim:
                             (1)    Reports all, or any part, of the “bodily injury” or
23                                  “property damage” to us or any other insurer;

     COMPLAINT FOR DECLARATORY RELIEF – 5                                        SOHA & L ANG, P.S.
                                                                                    ATTORNEYS AT LAW
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                                                                              SEATTLE, WASHINGTON 98101
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1                            (2)    Receives a written or verbal demand or claim for
                                    damages because of the “bodily injury” or “property
2                                   damage”; or
                             (3)    Becomes aware by any other means that “bodily injury”
3                                   or “property damage” has occurred or has begun to
                                    occur.
4
                                                    ****
5            3.      “Bodily injury” means bodily injury, sickness or disease sustained by a
                     person, including death resulting from any of these at any time.
6
                                                    ****
7            13.     “Occurrence” means an accident, including continuous or repeated
                     exposure to substantially the same general harmful conditions.
8
                                                    ****
9            14.     “Personal and advertising injury” means injury, including consequential
                     “bodily injury”, arising out of one or more of the following offenses:
10                                                  ****
11                   c.      The wrongful eviction from, wrongful entry into, or invasion of the
                             right or private occupancy of a room, dwelling or premises that a
12                           person occupies, committed by or on behalf of its owner, landlord
                             or lessor;
13                                                  ****
14           15.     “Pollutants” means any solid, liquid, gaseous or thermal irritant or
                     contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
15                   chemicals and waste.        Waste includes materials to be recycled,
                     reconditioned or reclaimed.
16                                                  ****

17           17.     “Property damage” means:
                     a.      Physical injury to tangible property, including all resulting loss of
18                           use of that property. All such loss of use shall be deemed to occur
                             at the time of the physical injury that caused it; or
19
                     b.      Loss of use of tangible property that is not physically injured. All
                             such loss of use shall be deemed to occur at the time of the
20
                             “occurrence” that caused it.
21                                                  ****
             D.      Liability And Medical Expenses Limits Of Insurance
22

23

     COMPLAINT FOR DECLARATORY RELIEF – 6                                         SOHA & L ANG, P.S.
                                                                                     ATTORNEYS AT LAW
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                                                                               SEATTLE, WASHINGTON 98101
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1                    1.      The Limits of Insurance of Section II – Liability shown in the
                             Declarations and the rules below fix the most we will pay
2                            regardless of the number of:
                             a.     Insureds;
3
                             b.     Claims made or “suits” brought; or
4                            c.     Persons or organizations making claims or bringing
                                    “suits”.
5
                     2.      The most we will pay for the sum of all damages because of all:
6                            a.     “Bodily injury”, “property damage” and medical expenses
                                    arising out of any one “occurrence”; and
7
                                                 ****
8                    4.      Aggregate Limits
                             The most we will pay for:
9
                                                   ****
10                           b.     All:
11                                  (1)    “Bodily injury” and “property damage” except
                                           damages because of “bodily injury” or “property
12                                         damage” included in the “products-completed
                                           operations hazard”;
13                                  (2)    Plus medical expenses;

14                                  (3)    Plus all “personal and advertising injury” caused
                                           by offenses committed;
15                                  is twice the Liability and Medical Expenses limit.
                                                 ****
16
             The Limits of Insurance of Section II – Liability apply separately to each
17           consecutive annual period and to any remaining period of less than 12 months,
             starting with the beginning of the policy period shown in the Declarations,
18           unless the policy period is extended after issuance for an additional period of
             less than 12 months. In that case, the additional period will be deemed part of
19           the last preceding period for purposes of determining the Limits of Insurance.
                                                 ****
20
             A.      Exclusions
21           1.      Applicable To Business Liability Coverage

22           This insurance does not apply to:
                     a.      Expected Or Intended Injury
23

     COMPLAINT FOR DECLARATORY RELIEF – 7                                        SOHA & L ANG, P.S.
                                                                                    ATTORNEYS AT LAW
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1                    “Bodily injury” or “property damage” expected or intended from the
                     standpoint of the insured. This exclusion does not apply to "bodily injury"
2                    resulting from the use of reasonable force to protect persons or property.
                                                    ****
3
                     f.      Pollution
4                            (1)    “bodily injury” or “property damage” arising out of the
                                    actual, alleged or threatened discharge, dispersal, seepage,
5                                   migration, release or escape of “pollutants”:

6                                   (a)     At or from any premises, site or location which is or
                                            was at any time owned or occupied by, or rented or
7                                           loaned to, any insured . . . .
                                                  ****
8
                     p.      Personal And Advertising Injury
9                    “Personal and advertising injury”:
                             (1)    Caused by or at the direction of the insured with the
10                                  knowledge that the act would violate the rights of another
                                    and would inflict "personal and advertising injury";
11
                                                    ****
12                           (4)    For which the insured has assumed liability in a contract or
                                    agreement . . . .
13
                             (5)    Arising out of a breach of contract . . . .
14                                                  ****

15                           (9)    Arising out of the actual, alleged or threatened discharge,
                                    dispersal, seepage, migration, release or escape of
16                                  “pollutants” at any time;
                             (10)   With respect to any loss, cost or expense arising out of any:
17
                                    (a)     Request, demand or order that any insured or others
                                            test for, monitor, clean-up, remove, contain, treat,
18
                                            detoxify or neutralize or in any way respond to, or
                                            assess the effects of, “pollutants” . . . .
19
                                                  ****
20                             BUSINESSOWNERS COVERAGE FORM
21           The following applies to any provision in this Policy, or in any endorsement
             attached to this Policy, that sets forth a duty to defend:
22           If we initially defend an insured or pay for an insured’s defense but later
             determine that none of the claims, for which we provided a defense or defense
23

     COMPLAINT FOR DECLARATORY RELIEF – 8                                             SOHA & L ANG, P.S.
                                                                                         ATTORNEYS AT LAW
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1            costs, are covered under this insurance, we have the right to reimbursement for
             the defense costs we have incurred.
2            The right to reimbursement under this provision will only apply to the costs we
             have incurred after we notify you in writing that there may not be coverage and
3            that we are reserving our rights to terminate the defense or the payment of defense
             costs and to seek reimbursement for defense costs.
4
                                                  ****
5            WASHINGTON – FUNGI OR BACTERIA EXCLUSION (LIABILITY)

6            This endorsement modifies insurance provided under the following:
             BUSINESSOWNERS COVERAGE FORM
7            The following provisions are added to Section II – Liability:
             A.      The following exclusion is added to Paragraph B.1., Exclusions –
8
                     Applicable To Business Liability Coverage:
9                    t.      Fungi Or Bacteria
                             (1)    “Bodily injury”, “property damage” or “personal and
10                                  advertising injury” which would not have occurred, in
                                    whole or in part, but for the actual, alleged or threatened
11                                  inhalation of, ingestion of, contact with, exposure to,
                                    existence of, or presence of, any “fungi” or bacteria on or
12                                  within a building or structure, including its contents.
13                           (2)    Any loss, cost or expenses arising out of the abating, testing
                                    for, monitoring, cleaning up, removing, containing,
14                                  treating, detoxifying, neutralizing, remediating or disposing
                                    of, or in any way responding to, or assessing the effects of,
15                                  “fungi” or bacteria, by any insured or by any other person
                                    or entity.
16                           This exclusion does not apply to any “fungi” or bacteria that
                             are, are on, or are contained in, a good or product intended for
17                           bodily consumption.
18           B.      The following definition is added to Paragraph F. Liability And Medical
                     Expenses Definitions:
19                   1.      “Fungi” means any type or form of fungus, including mold or
                             mildew and any mycotoxins, spores, scents or by-products
20                           produced or released by fungi.

21                                                 ****

22                   III.    CAUSE OF ACTION FOR DECLARATORY RELIEF

23

     COMPLAINT FOR DECLARATORY RELIEF – 9                                          SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
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1              4.1      Country Mutual reasserts the allegations set forth above as though fully set forth

2    herein.

3              4.2      Based on the terms of the Policy as compared to the facts of the claim, Country

4    Mutual has no duty to defend and no duty to indemnify defendant Evergreen Landing under the

5    Policy against the claims made in the Liability Action for one or more of the following reasons:

6              a.       Application of the Fungi or Bacteria Exclusion precludes coverage;

7              b.       The alleged loss does not fall within the scope of the insuring agreement;

8              c.       The alleged “bodily injury” and/or “property damage” may have been known to

9                       Evergreen Landing prior to the inception of one or more of the policy periods;

10             d.       Application of the Expected or Intended Injury Exclusion precludes coverage;

11             e.       Application of the Pollution Exclusion precludes coverage;

12             f.       Application of the Personal and Advertising Injury Exclusion precludes

13                      coverage; and

14             g.       Application of the Defense Reimbursement Endorsement entitles Country

15                      Mutual to reimbursement of defense costs expended in defending Evergreen

16                      Landing in the Liability Action after the date Country Mutual issued its

17                      reservation of rights.

18                                       IV.     PRAYER FOR RELIEF

19                   WHEREFORE, Country Mutual prays for the following relief:

20             A.       For a declaratory judgment in its favor stating that:

21                      (i)    the Policy provides no coverage to Evergreen Landing for the claims

22   made in the Liability Action;

23

     COMPLAINT FOR DECLARATORY RELIEF – 10                                            SOHA & L ANG, P.S.
                                                                                         ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-5337                                     1325 FOURTH AVENUE, STE 2000
                                                                                   SEATTLE, WASHINGTON 98101
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     1218.00009 md011d305h
           Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 12 of 112



1                    (ii)    Country Mutual has no duty to defend Evergreen Landing under the

2    Policy against the claims made in the Liability Action;

3                    (iii)   Country Mutual may withdraw from the defense of Evergreen Landing

4    in the Liability Action;

5                    (iv)    Country Mutual has no duty to indemnify Evergreen Landing in

6    connection with any settlement or judgment in the Liability Action; and

7                    (v)     Country Mutual is entitled to reimbursement of the defense costs that it

8    expended on Evergreen Landing’s behalf pursuant to the terms of the Policy.

9            B.      For costs and attorney’s fees to the extent permitted by law; and

10           C.      For such other and further relief as this court may deem just and equitable.

11
             DATED this 9th day of April, 2020.
12
                                                   SOHA & LANG, P.S.
13

14
                                                   By:   /s/Misty Edmundson
                                                     Misty Edmundson, WSBA # 29606
15
                                                     Email address edmundson@sohalang.com
16
                                                           /s/Cristin Cavanaugh
                                                      Cristin A. Cavanaugh, WSBA # 53251
17
                                                      Email address cavanaugh@sohalang.com
18                                                    Soha & Lang, P.S.
                                                      1325 Fourth Avenue, Suite 2000
                                                      Seattle, WA 98101-2570
19
                                                      Telephone: 206-624-1800
                                                      Facsimile: 206-624-3585
20
                                                      Attorneys for Plaintiff Country Mutual
                                                      Insurance Company, individually and as
21
                                                      successor in interest to Holyoke Mutual
                                                      Insurance Company in Salem
22

23

     COMPLAINT FOR DECLARATORY RELIEF – 11                                        SOHA & L ANG, P.S.
                                                                                     ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-5337                                 1325 FOURTH AVENUE, STE 2000
                                                                               SEATTLE, WASHINGTON 98101
                                                                            (206) 624-1800/FAX (206) 624-3585
     1218.00009 md011d305h
Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 13 of 112




                  EXHIBIT A
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 14 of WA0200110513-01
                                                                                     Policy Number:
                                                                                                       112
                                                                                                     Prior Pol No:      WA0200110513-00
                                                                                                  Billing Number:             410056949

                                                Holyoke Mutual Insurance Company in Salem
                                                 One Holyoke Square, P.O. Box 2006, Salem, MA 01970-6506

                                                            Businessowners Policy Declarations
Businessowners Policy Declarations




First Named Insured and Mailing Address                                       Agent Name and Address

Evergreen Landing, LLC                                                        HOLYOKE OF SALEM INS AGCY INC
PO Box 3506                                                                   213 CT ST
Lacey, WA 98509-3506                                                          MIDDLETOWN, CT 06457-3346

                                                                              Agency Code 02019         Agency Phone 860-638-5281

Policy Period:                          From: 03/23/2016 To: 03/23/2017 at 12:01 A.M., Standard Time at your mailing address shown above.

Business Description:                          Apartments/WORLDS              Form of Business:      Limited Liability Company
                                               APART

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

Described Premises                                                            See Location and Building Schedule
Limits of Property Insurance and Deductibles                                  See below and Location and Building Schedule

Deductibles

All Peril Deductible   $5,000
Other Deductibles may apply to this policy. For details, see the Location and Building Schedule and any attached
Deductible forms.

Optional Coverages                                                            See page 2

Except for Damage to Premises Rented to You, each paid claim for the following liability coverages reduces the amount of
insurance we provide during the applicable annual period. Please refer to Paragraph D.4 Section II – Liability in the
Businessowners Coverage Form and any attached endorsements.
                                                                                  Limits of Insurance

Liability and Medical Expenses                                                                     $1,000,000    per Occurrence
                                                                                                   $2,000,000    General Aggregate
Medical Expenses                                                                                   $5,000        per Person
Damage to Premises Rented to You                                                                   $300,000      Any one fire or explosion

                                                                                                                                  Premium

                                                                                                   Policy Premium                 $7,251.00
                                                                                                   Tax or Surcharge                   $0.00
                                                                                                   Total Policy Premium           $7,251.00
                                                                                                   Payment Plan                     Monthly

Countersigned:
   Date:                                                           By:
                                                                                            Authorized Representative




                                                 To report a claim after hours, call 1-800-225-2533
AWA DS 03 06 12                                                                                                                  Page 1 of 2
                 Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 15 of WA0200110513-01
                                                                 Policy Number:
                                                                                   112
                                                                                      Prior Pol No:     WA0200110513-00
                                                                                   Billing Number:            410056949

                              Holyoke Mutual Insurance Company in Salem
                               One Holyoke Square, P.O. Box 2006, Salem, MA 01970-6506

                                          Businessowners Policy Declarations

 Named Insured:       Evergreen Landing, LLC

 Agency Name:         HOLYOKE OF SALEM INS AGCY INC                                     Agency Code:                  02019

 Policy Period        From: 03/23/2016 To: 03/23/2017 12:01 A.M., Standard Time

 Optional Coverages                                                                 Limits of Insurance

 WORLDS APART Advantage Endorsement
 Equipment Breakdown
 Building Limit – Automatic Increase 3%
 Employee Dishonesty                                                                             $25,000
 Property Management Agent As An Employee Covered For "Employee
 Dishonesty" Only
 Forgery and Alteration                                                                          $25,000
 Extended Business Income                                                                        90 Days
 Hired Non-Owned Auto Liability                                                               $1,000,000
 Aggregate Limits of Insurance Per Location




 Policy Forms and Endorsements attached at issuance:                                See Schedule of Forms and
                                                                                    Endorsements


If you wish to request a copy of your policy, contact your agent or call our Customer Service Center at 1-800-662-6243.



THIS POLICY DECLARATION TOGETHER WITH THE COVERAGE FORM(S), FORMS AND ENDORSEMENTS, IF ANY,
COMPLETE THE ABOVE NUMBERED POLICY.




                               To report a claim after hours, call 1-800-225-2533
  AWA DS 03 06 12                                                                                               Page 2 of 2
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 16 of 112
                                                                                                 Policy Number: WA0200110513-01
                                                                                     Policy Period: From: 03/23/2016 To: 03/23/2017



                                               Holyoke Mutual Insurance Company in Salem

Named Insured:                             Evergreen Landing, LLC

Agency Name:                               HOLYOKE OF SALEM INS AGCY INC                             Agency Code:             02019

                                                            Schedule of Forms and Endorsements
Schedule of Forms and Endorsements




Form Number                                         Title

BP 06 12                                   11-13    Washington Changes - Defense Costs
PRIV                                       08-11    Privacy Statement
PNWA 01                                    01-15    WORLDS APART Businessowners Program Notice To Policyowners
AWA DS 03                                  06-12    Worlds Apart Declarations
AIL 10 14                                  06-06    Mutual Conditions Holyoke Mutual Insurance Company In Salem
FORM-SCHED                                 06-12    Schedule of Forms and Endorsements
LOC-SUM                                    06-12    Summary of Locations
LOC-BLDG                                   06-12    Location and Building Schedule
AWA 66 14                                  06-12    Worlds Apart Advantage Endorsement
BP 00 03                                   01-10    Businessowners Coverage Form
BP IN 01                                   01-10    Businessowners Coverage Form Index
438 BFU                                    54-2     Lenders Loss Payable Endorsement
AIL 10 01                                  06-06    Lead Liability Exclusion
AIL 10 11                                  06-06    Punitive Damages Exclusion
AIL 10 12                                  06-06    Equipment Breakdown Coverage
AWA 05 15                                  01-16    Disclosure Pursuant To Terrorism Risk Insurance Act
AWA 66 80                                  01-12    Replacement Cost - Building(s)
AWA 68 27                                  01-15    Limitation Of Coverage To Designated Premises With Special Events Exception
BP 01 06                                   08-10    Washington Changes
BP 04 20                                   01-10    Hired Auto And Non-Owned Auto Liability - Washington
BP 04 30                                   01-06    Protective Safeguards
BP 04 39                                   07-02    Abuse or Molestation Exclusion
BP 04 46                                   01-06    Ordinance or Law Coverage
BP 04 60                                   01-10    Washington Employment-Related Practices Exclusion
BP 04 73                                   01-06    Washington Changes - Domestic Abuse
BP 05 01                                   07-02    Calculation of Premium
BP 05 18                                   01-15    Washington - Amendment Of Terrorism Exclusions
BP 05 26                                   01-15    Cap On Losses From Certified Acts Of Terrorism
BP 05 65                                   01-15    Conditional Limitation Of Coverage For Terrorism - Sub-Limit On Annual Aggregate
                                                    Basis (Relating To Disposition Of Federal Terrorism Risk Insurance Act)
BP 06 69                                   01-06    Washington - Fungi or Bacteria Exclusion (Liability)
BP 10 05                                   07-02    Exclusion - Year 2000 Computer-Related and other Electronic Problems




FORM-SCHED 06 12                                                                                                         Page 1 of 1
                    Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 17 of 112
                                                                               Policy Number: WA0200110513-01
                                                                   Policy Period: From: 03/23/2016 To: 03/23/2017



                               Holyoke Mutual Insurance Company in Salem

Named Insured:             Evergreen Landing, LLC

Agency Name:               HOLYOKE OF SALEM INS AGCY INC                          Agency Code:              02019

                                                    Location Summary
Location Summary




Loc #              Complex Name        Street Address                      City                 State    Zip Code
  1                                    1415 Evergreen Park Dr SW           Olympia               WA         98502




LOC-SUM 06 12                                                                                           Page 1 of 1
                Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 18 of 112
                                                                            Policy Number: WA0200110513-01
                                                                Policy Period: From: 03/23/2016 To: 03/23/2017



                             Holyoke Mutual Insurance Company in Salem

Named Insured:           Evergreen Landing, LLC

Agency Name:             HOLYOKE OF SALEM INS AGCY INC                         Agency Code:             02019

                                          Location and Building Schedule


Loc #1
Location 1
                   Olympia, WA 98502

Bldg #1            1415 Evergreen Park Dr SW            Apartment/Office             Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,930,552
Replacement Cost
Business Personal Property                                                                             $2,588
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1

Bldg #2            1419 Evergreen Park Dr SW               Apartment                 Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1

Bldg #3            1421 Evergreen Park Dr SW               Apartment                 Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1




        LOC-BLDG 06 12                                                                             Page 1 of 1
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 19 of WA0200110513-02
                                                                                     Policy Number:
                                                                                                       112
                                                                                                     Prior Pol No:      WA0200110513-01
                                                                                                  Billing Number:             410056949

                                                    COUNTRY Mutual Insurance Company
                                                            Businessowners Policy Declarations
Businessowners Policy Declarations




First Named Insured and Mailing Address                                       Agent Name and Address

Evergreen Landing, LLC                                                        HOLYOKE OF SALEM INS AGCY INC
PO Box 3506                                                                   213 COURT ST
Lacey, WA 98509-3506                                                          MIDDLETOWN, CT 06457-3346

                                                                              Agency Code 02019         Agency Phone 860-638-5281

Policy Period:                          From: 03/23/2017 To: 03/23/2018 at 12:01 A.M., Standard Time at your mailing address shown above.

Business Description:                          Apartments/WORLDS              Form of Business:      Limited Liability Company
                                               APART

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

Described Premises                                                            See Location and Building Schedule
Limits of Property Insurance and Deductibles                                  See below and Location and Building Schedule

Deductibles

All Peril Deductible   $5,000
Other Deductibles may apply to this policy. For details, see the Location and Building Schedule and any attached
Deductible forms.

Optional Coverages                                                            See page 2

Except for Damage to Premises Rented to You, each paid claim for the following liability coverages reduces the amount of
insurance we provide during the applicable annual period. Please refer to Paragraph D.4 Section II – Liability in the
Businessowners Coverage Form and any attached endorsements.
                                                                                  Limits of Insurance

Liability and Medical Expenses                                                                     $1,000,000    per Occurrence
                                                                                                   $2,000,000    General Aggregate
Medical Expenses                                                                                   $5,000        per Person
Damage to Premises Rented to You                                                                   $300,000      Any one fire or explosion

                                                                                                                                  Premium

                                                                                                   Policy Premium                 $7,686.00
                                                                                                   Tax or Surcharge                   $0.00
                                                                                                   Total Policy Premium           $7,686.00
                                                                                                   Payment Plan                     Monthly

Countersigned:
   Date:                                                           By:
                                                                                            Authorized Representative




                                                 To report a claim after hours, call 1-800-225-2533
AWA DS 03 06 12                                                                                                                  Page 1 of 2
                 Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 20 of WA0200110513-02
                                                                 Policy Number:
                                                                                   112
                                                                                      Prior Pol No:     WA0200110513-01
                                                                                   Billing Number:            410056949

                                   COUNTRY Mutual Insurance Company
                                          Businessowners Policy Declarations

 Named Insured:       Evergreen Landing, LLC

 Agency Name:         HOLYOKE OF SALEM INS AGCY INC                                     Agency Code:                  02019

 Policy Period        From: 03/23/2017 To: 03/23/2018 12:01 A.M., Standard Time

 Optional Coverages                                                                 Limits of Insurance

 WORLDS APART Advantage Endorsement
 Equipment Breakdown
 Building Limit – Automatic Increase 3%
 Employee Dishonesty                                                                             $25,000
 Property Management Agent As An Employee Covered For "Employee
 Dishonesty" Only
 Forgery and Alteration                                                                          $25,000
 Extended Business Income                                                                        90 Days
 Hired Non-Owned Auto Liability                                                               $1,000,000
 Aggregate Limits of Insurance Per Location




 Policy Forms and Endorsements attached at issuance:                                See Schedule of Forms and
                                                                                    Endorsements


If you wish to request a copy of your policy, contact your agent or call our Customer Service Center at 1-800-662-6243.



THIS POLICY DECLARATION TOGETHER WITH THE COVERAGE FORM(S), FORMS AND ENDORSEMENTS, IF ANY,
COMPLETE THE ABOVE NUMBERED POLICY.




                               To report a claim after hours, call 1-800-225-2533
  AWA DS 03 06 12                                                                                               Page 2 of 2
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 21 of 112
                                                                                                 Policy Number: WA0200110513-02
                                                                                     Policy Period: From: 03/23/2017 To: 03/23/2018



                                                   COUNTRY Mutual Insurance Company

Named Insured:                             Evergreen Landing, LLC

Agency Name:                               HOLYOKE OF SALEM INS AGCY INC                             Agency Code:             02019

                                                            Schedule of Forms and Endorsements
Schedule of Forms and Endorsements




Form Number                                         Title

BP 06 12                                   11-13    Washington Changes - Defense Costs
PRIV                                       01-17    Privacy Statement
PNWA 01                                    08-16    WORLDS APART Businessowners Program Notice To Policyowners
AWA DS 03                                  06-12    Worlds Apart Declarations
AWA 68 53                                  01-17    COUNTRY Casualty Insurance Company
FORM-SCHED                                 06-12    Schedule of Forms and Endorsements
LOC-SUM                                    06-12    Summary of Locations
LOC-BLDG                                   06-12    Location and Building Schedule
AWA 66 14                                  06-12    Worlds Apart Advantage Endorsement
BP 00 03                                   01-10    Businessowners Coverage Form
BP IN 01                                   01-10    Businessowners Coverage Form Index
438 BFU                                    54-2     Lenders Loss Payable Endorsement
AIL 10 01                                  06-06    Lead Liability Exclusion
AIL 10 11                                  06-06    Punitive Damages Exclusion
AIL 10 12                                  06-06    Equipment Breakdown Coverage
AWA 05 15                                  01-16    Disclosure Pursuant To Terrorism Risk Insurance Act
AWA 66 80                                  01-12    Replacement Cost - Building(s)
AWA 68 27                                  02-16    Limitation Of Coverage To Designated Premises With Special Events Exception
BP 01 06                                   08-10    Washington Changes
BP 04 20                                   01-10    Hired Auto And Non-Owned Auto Liability - Washington
BP 04 30                                   01-06    Protective Safeguards
BP 04 39                                   07-02    Abuse or Molestation Exclusion
AWA 68 40                                  07-15    Ordinance or Law Coverage
BP 04 60                                   01-10    Washington Employment-Related Practices Exclusion
BP 04 73                                   01-06    Washington Changes - Domestic Abuse
BP 05 01                                   07-02    Calculation of Premium
BP 05 18                                   01-15    Washington - Amendment Of Terrorism Exclusions
BP 05 26                                   01-15    Cap On Losses From Certified Acts Of Terrorism
BP 05 65                                   01-15    Conditional Limitation Of Coverage For Terrorism - Sub-Limit On Annual Aggregate
                                                    Basis (Relating To Disposition Of Federal Terrorism Risk Insurance Act)
BP 06 69                                   01-06    Washington - Fungi or Bacteria Exclusion (Liability)
BP 10 05                                   07-02    Exclusion - Year 2000 Computer-Related and other Electronic Problems




FORM-SCHED 06 12                                                                                                         Page 1 of 1
                    Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 22 of 112
                                                                               Policy Number: WA0200110513-02
                                                                   Policy Period: From: 03/23/2017 To: 03/23/2018



                                   COUNTRY Mutual Insurance Company

Named Insured:             Evergreen Landing, LLC

Agency Name:               HOLYOKE OF SALEM INS AGCY INC                          Agency Code:              02019

                                                    Location Summary
Location Summary




Loc #              Complex Name        Street Address                      City                 State    Zip Code
  1                                    1415 Evergreen Park Dr SW           Olympia               WA         98502




LOC-SUM 06 12                                                                                           Page 1 of 1
                Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 23 of 112
                                                                            Policy Number: WA0200110513-02
                                                                Policy Period: From: 03/23/2017 To: 03/23/2018



                                 COUNTRY Mutual Insurance Company

Named Insured:           Evergreen Landing, LLC

Agency Name:             HOLYOKE OF SALEM INS AGCY INC                         Agency Code:             02019

                                          Location and Building Schedule


Loc #1
Location 1
                   Olympia, WA 98502

Bldg #1            1415 Evergreen Park Dr SW            Apartment/Office             Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,998,121
Replacement Cost
Business Personal Property                                                                             $2,679
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1

Bldg #2            1419 Evergreen Park Dr SW               Apartment                 Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1

Bldg #3            1421 Evergreen Park Dr SW               Apartment                 Frame           12 Units
                                                                                                         Limit
Building Coverage                                                                                  $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                             20%
Protective Safeguards Symbol P-1




        LOC-BLDG 06 12                                                                             Page 1 of 1
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 24 of WA0200110513-03
                                                                                     Policy Number:
                                                                                                       112
                                                                                                     Prior Pol No:      WA0200110513-02
                                                                                                  Billing Number:             410056949

                                                    COUNTRY Mutual Insurance Company
                                                            Businessowners Policy Declarations
Businessowners Policy Declarations




First Named Insured and Mailing Address                                       Agent Name and Address

Evergreen Landing, LLC                                                        HOLYOKE OF SALEM INS AGCY INC
PO Box 3506                                                                   213 COURT ST
Lacey, WA 98509-3506                                                          MIDDLETOWN, CT 06457-3346

                                                                              Agency Code 02019         Agency Phone 860--63-8-5281

Policy Period:                          From: 03/23/2018 To: 03/23/2019 at 12:01 A.M., Standard Time at your mailing address shown above.

Business Description:                          Apartments/WORLDS              Form of Business:      Limited Liability Company
                                               APART

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

Described Premises                                                            See Location and Building Schedule
Limits of Property Insurance and Deductibles                                  See below and Location and Building Schedule
Mortgageholder Name and Address                                               See Schedule of Mortgageholder(s)

Deductibles

All Peril Deductible   $5,000
Other Deductibles may apply to this policy. For details, see the Location and Building Schedule and any attached
Deductible forms.


Optional Coverages                                                            See page 2

Except for Damage to Premises Rented to You, each paid claim for the following liability coverages reduces the amount of
insurance we provide during the applicable annual period. Please refer to Paragraph D.4 Section II – Liability in the
Businessowners Coverage Form and any attached endorsements.
                                                                                  Limits of Insurance

Liability and Medical Expenses                                                                     $1,000,000    per Occurrence
                                                                                                   $2,000,000    General Aggregate
Medical Expenses                                                                                   $5,000        per Person
Damage to Premises Rented to You                                                                   $300,000      Any one fire or explosion

                                                                                                                                  Premium

                                                                                                   Policy Premium                 $8,431.00
                                                                                                   Tax or Surcharge                   $0.00
                                                                                                   Total Policy Premium           $8,431.00
                                                                                                   Payment Plan                     Monthly

Countersigned:
   Date:                                                           By:
                                                                                            Authorized Representative




                                                 To report a claim after hours, call 1-800-225-2533
AWA DS 03 06 12                                                                                                                  Page 1 of 2
                 Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20   Page 25 of WA0200110513-03
                                                                 Policy Number:
                                                                                   112
                                                                                      Prior Pol No:     WA0200110513-02
                                                                                   Billing Number:            410056949

                                   COUNTRY Mutual Insurance Company
                                          Businessowners Policy Declarations

 Named Insured:       Evergreen Landing, LLC

 Agency Name:         HOLYOKE OF SALEM INS AGCY INC                                     Agency Code:                  02019

 Policy Period        From: 03/23/2018 To: 03/23/2019 12:01 A.M., Standard Time

 Optional Coverages                                                                 Limits of Insurance

 WORLDS APART Advantage Endorsement
 Equipment Breakdown
 Building Limit – Automatic Increase 3%
 Employee Dishonesty                                                                             $25,000
 Property Management Agent As An Employee Covered For "Employee
 Dishonesty" Only
 Forgery and Alteration                                                                          $25,000
 Extended Business Income                                                                        90 Days
 Hired Non-Owned Auto Liability                                                               $1,000,000
 Aggregate Limits of Insurance Per Location




 Policy Forms and Endorsements attached at issuance:                                See Schedule of Forms and
                                                                                    Endorsements


If you wish to request a copy of your policy, contact your agent or call our Customer Service Center at 1-800-662-6243.



THIS POLICY DECLARATION TOGETHER WITH THE COVERAGE FORM(S), FORMS AND ENDORSEMENTS, IF ANY,
COMPLETE THE ABOVE NUMBERED POLICY.




                               To report a claim after hours, call 1-800-225-2533
  AWA DS 03 06 12                                                                                               Page 2 of 2
                                     Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 26 of 112
                                                                                                 Policy Number: WA0200110513-03
                                                                                     Policy Period: From: 03/23/2018 To: 03/23/2019



                                                   COUNTRY Mutual Insurance Company

Named Insured:                             Evergreen Landing, LLC

Agency Name:                               HOLYOKE OF SALEM INS AGCY INC                             Agency Code:             02019

                                                            Schedule of Forms and Endorsements
Schedule of Forms and Endorsements




Form Number                                         Title

BP 06 12                                   11-13    Washington Changes - Defense Costs
PRIV                                       01-17    Privacy Statement
PNWA 01                                    08-16    WORLDS APART Businessowners Program Notice To Policyowners
AWA DS 03                                  06-12    Worlds Apart Declarations
AWA 68 53                                  01-17    COUNTRY Casualty Insurance Company
FORM-SCHED                                 06-12    Schedule of Forms and Endorsements
LOC-SUM                                    06-12    Summary of Locations
LOC-BLDG                                   06-12    Location and Building Schedule
WA-MORT                                    06-12    Schedule of Mortgageholders
AWA 66 14                                  02-17    Worlds Apart Advantage Endorsement
BP 00 03                                   01-10    Businessowners Coverage Form
BP IN 01                                   01-10    Businessowners Coverage Form Index
372                                        11-50    Mortgagee Clause
AIL 10 01                                  06-06    Lead Liability Exclusion
AIL 10 11                                  06-06    Punitive Damages Exclusion
AIL 10 12                                  06-06    Equipment Breakdown Coverage
AWA 05 15                                  01-16    Disclosure Pursuant To Terrorism Risk Insurance Act
AWA 66 80                                  01-12    Replacement Cost - Building(s)
AWA 68 27                                  02-16    Limitation Of Coverage To Designated Premises With Special Events Exception
BP 01 06                                   08-10    Washington Changes
BP 04 20                                   01-10    Hired Auto And Non-Owned Auto Liability - Washington
BP 04 30                                   01-06    Protective Safeguards
BP 04 39                                   07-02    Abuse or Molestation Exclusion
AWA 68 40                                  07-15    Ordinance or Law Coverage
BP 04 60                                   01-10    Washington Employment-Related Practices Exclusion
BP 04 73                                   01-06    Washington Changes - Domestic Abuse
BP 05 01                                   07-02    Calculation of Premium
BP 05 18                                   01-15    Washington - Amendment Of Terrorism Exclusions
BP 05 26                                   01-15    Cap On Losses From Certified Acts Of Terrorism
BP 05 65                                   01-15    Conditional Limitation Of Coverage For Terrorism - Sub-Limit On Annual Aggregate
                                                    Basis (Relating To Disposition Of Federal Terrorism Risk Insurance Act)
BP 06 69                                   01-06    Washington - Fungi or Bacteria Exclusion (Liability)
BP 10 05                                   07-02    Exclusion - Year 2000 Computer-Related and other Electronic Problems




FORM-SCHED 06 12                                                                                                         Page 1 of 1
                    Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 27 of 112
                                                                               Policy Number: WA0200110513-03
                                                                   Policy Period: From: 03/23/2018 To: 03/23/2019



                                   COUNTRY Mutual Insurance Company

Named Insured:             Evergreen Landing, LLC

Agency Name:               HOLYOKE OF SALEM INS AGCY INC                          Agency Code:              02019

                                                    Location Summary
Location Summary




Loc #              Complex Name        Street Address                      City                 State    Zip Code
  1                                    1415 Evergreen Park Dr SW           Olympia               WA         98502




LOC-SUM 06 12                                                                                           Page 1 of 1
                Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 28 of 112
                                                                           Policy Number: WA0200110513-03
                                                               Policy Period: From: 03/23/2018 To: 03/23/2019



                                 COUNTRY Mutual Insurance Company

Named Insured:           Evergreen Landing, LLC

Agency Name:             HOLYOKE OF SALEM INS AGCY INC                        Agency Code:             02019

                                          Location and Building Schedule


Loc #1
Location 1
                   Olympia, WA 98502

Bldg #1            1415 Evergreen Park Dr SW               Apartment                Frame           12 Units
                                                                                                        Limit
Building Coverage                                                                                 $1,998,121
Replacement Cost
Business Personal Property                                                                            $2,773
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                            20%
Protective Safeguards Symbol P-1

Bldg #2            1419 Evergreen Park Dr SW               Apartment                Frame           12 Units
                                                                                                        Limit
Building Coverage                                                                                 $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                            20%
Protective Safeguards Symbol P-1

Bldg #3            1421 Evergreen Park Dr SW               Apartment                Frame           12 Units
                                                                                                        Limit
Building Coverage                                                                                 $1,952,855
Replacement Cost
Ordinance or Law Coverage 1
Ordinance or Law Coverage 2/3                                                                            20%
Protective Safeguards Symbol P-1




        LOC-BLDG 06 12                                                                            Page 1 of 1
                                Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 29 of 112
                                                                                         Policy Number: WA0200110513-03
                                                                             Policy Period: From: 03/23/2018 To: 03/23/2019



                                              COUNTRY Mutual Insurance Company

Named Insured:                        Evergreen Landing, LLC

Agency Name:                          HOLYOKE OF SALEM INS AGCY INC                         Agency Code:             02019

                                                        Schedule of Mortgageholder(s)
Schedule of Mortgageholder(s)




Mortgageholder Name                                    Mortgageholder Address            Applicable Locations
Anchor Bank ISAOA                                      601 Woodland Sq Loop SE           1
                                                       Lacey, WA 98503




WA-MORT 06 12                                                                                                   Page 1 of 1
          Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 30 of 112


                                                                                            BUSINESSOWNERS
                                                                                                BP 06 12 11 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            WASHINGTON CHANGES – DEFENSE COSTS
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

The following applies to any provision in this Policy,       The right to reimbursement under this provision will
or in any endorsement attached to this Policy, that          only apply to the costs we have incurred after we
sets forth a duty to defend:                                 notify you in writing that there may not be coverage
If we initially defend an insured or pay for an              and that we are reserving our rights to terminate the
insured's defense but later determine that none of           defense or the payment of defense costs and to
the claims, for which we provided a defense or               seek reimbursement for defense costs.
defense costs, are covered under this insurance, we
have the right to reimbursement for the defense
costs we have incurred.




BP 06 12 11 13                        © Insurance Services Office, Inc., 2013                        Page 1 of 1     
             Case 3:20-cv-05337-RJB-TLF Document 3 Filed 04/10/20 Page 31 of 112
                                      COUNTRY Mutual Insurance Company                             AWA 66 14 02 17
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WORLDS APART© ADVANTAGE ENDORSEMENT
This endorsement modifies insurance provided under the following:
        BUSINESSOWNERS COVERAGE FORM
The following is a summary of increased limits of insurance and additional coverage provided by this
endorsement. This endorsement is subject to the provisions of your policy, which means that it is subject to all
terms, limitations and conditions applicable to the Businessowners Coverage Form unless specifically deleted,
replaced or modified herein. This endorsement is applicable only to those premises described in the Declarations.
Coverage for loss of Business Income or Extra Expense does not apply if a loss is covered only as a result of this
endorsement.
No deductible applies to these coverages unless specifically stated in the coverage description.
                                            Endorsement Schedule
 Coverage Description                                                      Limit of Insurance
 SECTION I - PROPERTY
 COVERED PROPERTY
 Expanded Described Premises                                               1,000 Feet
 Expanded Covered Perils for Fences
 ADDITIONAL COVERAGES
 Business Income
        Actual Loss Sustained                                              18-Months
        Extended Business Income                                           90 Days
          Dependent Properties                                             $25,000
          Claims Expense                                                   $5,000
 Computer Fraud                                                            $5,000
 Debris Removal                                                            35%/$25,000
 Fine Arts                                                                 $25,000
 Fire Department Service Charge                                            $25,000
 Fire Extinguisher Systems Recharge Expense                                $10,000
 Lessor’s Leasehold Interest for Mercantile or Office Occupancy            $10,000
 Tenants
 Lock and Key Coverage
        Lost Key Coverage                                                  $10,000
          Electronic Key Systems                                           $25,000
 Money Orders And Counterfeit Money                                        $25,000
 Pollutant Clean Up and Removal                                            $25,000
 Reward                                                                    $15,000
 Tenant Move Back Expenses                                                 $10,000
 COVERAGE EXTENSIONS
 Accounts Receivable
          At the Described Premises                                        $50,000
          Not At the Described Premises                                    $15,000
 Automated External Defibrillators                                         $5,000
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 Computer Equipment                                                             $10,000
 Appurtenant Structures
         Business Personal Property                                             $5,000
 Newly Acquired or Constructed
        Building                                                                $500,000
        Business Income and Extra Expense                                       $250,000
        Period of Coverage                                                      60 Days
 Off-Premises Utility Service Failure
         Direct Damage                                                          $25,000
         Time Element                                                           $25,000
 Outdoor Property                                                               $10,000
 Personal Effects                                                               $5,000
 Valuable Papers and Records
         At the Described Premises                                              $50,000
         Not At the Described Premises                                          $15,000
 OPTIONAL COVERAGES
 Employee Dishonesty, Forgery and Alteration, Designated Property               Shown on the Policy Declarations
 Management Agent
 Money and Securities
         Inside the Premises                                                    $25,000
         Outside the Premises                                                   $25,000
 Outdoor Signs                                                                  $25,000
 SECTION II - LIABILITY
 Broadened Coverage For Damage To Premises Rented To You                        $300,000
 Heating Or Air Conditioning Loss Reimbursement                                 $5,000 per Occurrence
                                                                                $10,000 Annual
 Lock-Out Or Sale, Removal And Disposal Liability                               $5,000
 Per Location Aggregate Limit of Insurance                                      Business Liability Limits of Insurance
                                                                                Per Location
 Tenants’ Property Legal Liability                                     $10,000
Except as otherwise stated in this endorsement, the terms and conditions of the policy apply to the insurance
stated below:
I.   The following change applies to SECTION I - PROPERTY, Paragraph A.1., Covered Property:
     A. Expanded Described Premises
        In paragraphs A.1.a.(6) and A.1.b. 100 feet is revised to 1,000 feet.
II. The following change applies to SECTION I - PROPERTY, Paragraph A.2., Property Not Covered:
     A. Expanded Covered Perils for Fences
        Paragraph A.2.e. is replaced by the following:
            e. Outdoor radio or television antennas (including satellite dishes) and their lead-in wiring, masts or
               towers, signs (other than signs attached to buildings), trees, shrubs or plants, all except as
               provided in the:
                 (1) Outdoor Property Coverage Extension; or
                 (2) Outdoor Signs Optional Coverage;

III. The following changes apply to SECTION I - PROPERTY, Paragraph A.5., Additional Coverages:
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   A. The following changes apply only if Business Income and Extra Expense are covered under this policy:
      1. Business Income
          Paragraph A.5.f.(1)(b) is replaced by the following:
          (b) We will only pay for loss of Business Income that you sustain during the “period of restoration”
              and that occurs within 18 consecutive months after the date of direct physical loss or damage.
              We will only pay for ordinary payroll expenses for 60 days following the date of direct physical
              loss or damage, unless a greater number of days is shown in the Declarations.
      2. Extended Business Income
          Paragraph A.5.f.(2)(a)(ii)ii is replaced by the following:
          ii. 90 consecutive days after the date determined in Paragraph (a)(i) above, unless a greater
              number of consecutive days is shown in the Declarations.
      3. Business Income from Dependent Properties
          Paragraph A.5.m.(1) is replaced by the following:
          (1) We will pay for the actual loss of Business Income you sustain due to physical loss or damage at
              the premises of a dependent property caused by or resulting from any Covered Cause of Loss.
              However, this Additional Coverage does not apply when the only loss to dependent property is
              loss or damage to "electronic data", including destruction or corruption of "electronic data". If the
              dependent property sustains loss or damage to "electronic data" and other property, coverage
              under this Additional Coverage will not continue once the other property is repaired, rebuilt or
              replaced.
              The most we will pay in any one occurrence under this Additional Coverage is $25,000. This Limit
              of Insurance is in addition to any other Limit of Insurance that may be provided by this policy for
              this coverage.
   B. Claims Expense
      The following Additional Coverage is added:
      1. We will reimburse you for reasonable expense you incur in preparing claims data when we require it.
         This includes the cost of taking inventories, making appraisals, preparing income statements and
         preparing other documentation to show the extent of the loss.
          We will not pay for any expenses incurred, directed or billed by or payable to claim adjusters or their
          associates or subsidiaries or any cost as provided by in Paragraph E.2., Appraisal.
      2. The most we will pay in any occurrence under this Additional Coverage is $5,000.
   C. Computer Fraud
      The following Additional Coverage is added:
      We will pay up to $5,000 in any one occurrence for physical loss or damage to “money”, “securities”, and
      any other property having intrinsic value resulting directly from computer “computer fraud”.
      “Computer fraud” means any act of stealing property following and directly relating to the use of any
      computer to fraudulently cause a transfer of that property from inside your premises or from a banking
      institution or similar safe depository, to a person (other than a “messenger”) outside those premises or to
      a place outside those premises.
   D. Debris Removal
      1. The percentage shown in Paragraphs A.5.a.(3)(b) and Paragraph A.5.a.(4)(b) is amended to 35%.
      2. The Limit of Insurance shown in Paragraph A.5.a.(4) is amended from $10,000 to $25,000. This Limit
         of Insurance is in addition to any other Limit of Insurance that may be provided by this policy for this
         coverage.
   E. Fine Arts
      1. The following Additional Coverage is added:
          a. We will pay for direct loss of or damage to “Fine Arts”, whether owned by:
              (1) You; or

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               (2) Others, and in your care, custody or control.
          b. “Fine Arts” includes, but is not limited to, antiques, paintings, etchings, drawings, tapestries,
             sculptures and fragile property such as porcelains, china and marble.
          c. The most we will pay for loss in any one occurrence under this Additional Coverage is $25,000 at
             each described premises. This Limit of Insurance is in addition to any other Limit of Insurance
             that may be provided by this policy for this coverage. Our payment for loss of or damage to
             personal property of others will only be for the account of the owner of the property. The amount
             payable under this Additional Coverage is additional insurance over the insurance available for
             Business Personal Property.
          d. The breakage limitation in Paragraph A.4.b. does not apply to this Additional Coverage.
          e. The following exclusions apply to this Additional Coverage:
               (1) We will not pay for loss or damage caused by or resulting from:
                   (a) Wear and tear, any quality in the property that causes it to damage or destroy itself,
                       gradual deterioration, insects, birds, rodents or other animals;
                   (b) Dampness or dryness of atmosphere, or changes in extremes of temperature;
                   (c) Any repairing, restoration or retouching process; or
                   (d) Faulty packaging.
               (2) No exclusions in Paragraph B., Exclusions apply to this Additional Coverage except for the
                   following:
                   (a) Paragraph B.1.b., Earth Movement;
                   (b) Paragraph B.1.c., Governmental Action;
                   (c) Paragraph B.1.d., Nuclear Hazard;
                   (d) Paragraph B.1.f., War and Military Action;
                   (e) Paragraph B.1.g., Water;
                   (f) Paragraph B.2.k., Neglect; and
                   (g) Paragraph B.2.g., False Pretense
               However, if any exclusions are added by endorsement to this Coverage Form, such exclusions
               will apply to this Additional Coverage.
          f.   The value of “fine arts” will be the least of the following amounts:
               (1) The actual cash value of that property at the time of loss;
               (2) The cost of reasonably restoring that property to its condition immediately before the loss; or
               (3) The cost of replacing that property with substantially identical property.
          g. In the event of loss, the value of property will be determined as of the time of loss.
      2. The following are added to Paragraph E., Property Loss Conditions:
          a. In case of loss to any part of a pair or set we will:
               (1) Repair or replace any part to restore the pair or set to its value before the loss; or
               (2) Pay the difference between the value of the pair or set before and after the loss.
          b. You must arrange for “fine arts” to be packed and unpacked by competent packers.
   F. Fire Department Service Charge
      The Limit of Insurance shown in Paragraph A.5.c. is amended from $2,500 to $25,000.
   G. Fire Extinguisher Systems Recharge Expense
      Paragraph A.5.o.(3) is replaced by the following:
      (3) The most we will pay in any one occurrence under this Additional Coverage is $10,000.




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   H. Forgery and Alteration
        Paragraph A.5.k., Forgery and Alteration, is replaced with the following:
        1. We will pay for loss resulting directly from forgery or alteration of any check, draft, promissory not, bill
           of exchange or similar written promise of payment in “money”, which you or your agent has issued, or
           which was issued by someone who impersonates you or your agent. This includes written
           instruments required in conjunction with any credit, debit, or charge card issued to you or any
           employee for business purposes.
        2. If you are sued for refusing to pay the check, draft, promissory note, bill of exchange or similar written
           promise of payment in “money”, on the basis that it has been forged or altered, and you have our
           written consent to defend against the suit, we will pay for any reasonable legal expenses that you
           incur in that defense.
        3. For the purpose of this coverage, check includes a substitute check as defined in the Check Clearing
           for the 21st Century Act, and will be treated the same as the original it replaced.
        4. The most we will pay in any one occurrence, including legal expenses, under the Additional Coverage
           is $25,000. This Limit of Insurance is in addition to any other Limit of Insurance that may be provided
           by this policy for this coverage.
   I.   Lessor’s Leasehold Interest for Mercantile or Office Occupancy Tenants
        The following Additional Coverage is added:
        We will pay for loss of “Covered Leasehold Interest” you sustain due to the cancellation of lease contracts
        by your mercantile or office occupancy tenants. The cancellation must result from direct physical loss or
        damage to your Covered Property at the premises described in the Declarations caused by or resulting
        from a Covered Cause of Loss during the term of this policy.
        “Covered Leasehold Interest” means the difference between the:
        1. Rent you were collecting at the described premises prior to loss; and
        2. Rental Value of the described premises after loss or damage has been repaired or rebuilt.
        “Covered Leasehold Interest” does not include refunds or rebates of:
        1. Prepaid rent;
        2. Security or other deposits made by your tenants; and
        3. Insurance, taxes or other payments made on your behalf by tenants.
        The most we will pay under this Additional Coverage is the smaller of:
        1. Your “Covered Leasehold Interest” for the next 12 months immediately following the “period of
           restoration” plus 90 days of extended Business Income but ending with the normal expiration date of
           each cancelled lease; or
        2. $10,000 for all “Covered Leasehold Interest” of your mercantile or office occupancy tenants cancelling
           their leases arising out of an occurrence at a described premises.
   J. Lock and Key Coverage
        The following Additional Coverage is added:
        1. Lost Key Coverage
            a. We will pay for consequential loss to keys and locks if a master key or grand master key is lost or
               damaged resulting from a Covered Cause of Loss. We will pay for the actual cost to replace
               keys, adjustment of locks to accept new keys or, if required, new locks, including the cost of their
               installation, resulting from a Covered Cause of Loss.
            b. Loss or damage must be caused by or resulting from a Covered Cause of Loss, including
               mysterious disappearance.
            c. The most we will pay in any once occurrence for loss or damage under this Additional Coverage
               is $10,000 at each described premises.



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      2. Alternative Key Systems
          a. We will pay for loss or damage to, or cost to reprogram, “alternative key systems”, including card
             programmers, card-readers, computers, related alarms, transceivers, power supplies and any
             other electronic or mechanical apparatus needed to make the card keys work. The loss must be
             caused by a Covered Cause of Loss and must take place at a described premises.
          b. “Alternative key systems” means programmable keying systems, such as mechanically or
             electronically coded key cards.
          c. The most we will pay in any one occurrence for loss or damage caused by or resulting from a
             Covered Cause of Loss under this Additional Coverage is $25,000.
   K. Money Orders And "Counterfeit Money"
      Paragraph A.5.j., Money Orders And "Counterfeit Money", is replaced with the following:
      We will pay for loss resulting directly from your having accepted in good faith, in exchange for
      merchandise, “money” or services:
      (1) Money orders issued by any post office, express company or bank that are not paid upon
          presentation; or
      (2) "Counterfeit money" that is acquired during the regular course of business.
      The most we will pay for any loss under this Additional Coverage is $25,000.
   L. Pollutant Removal and Clean Up
      Paragraph A.5.h., Pollutant Clean Up And Removal, is replaced by the following:
      We will pay your expense to extract “pollutants” from land or water at the described premises if the
      discharge, dispersal, seepage, migration, release or escape of the “pollutants” is caused by or results
      from a Covered Cause of Loss that occurs during the policy period. The expenses will be paid only if they
      are reported to us in writing within 180 days of the date on which the Covered Cause of Loss occurs.
      This Additional Coverage does not apply to costs to test for, monitor or assess the existence,
      concentration or effects of "pollutants". But we will pay for testing which is performed in the course of
      extracting the "pollutants" from the land or water.
      The most we will pay for each location under this Additional Coverage is $25,000 for the sum of all such
      expenses arising out of Covered Causes of Loss occurring during each separate 12 month period of this
      policy.
   M. Reward
      The following Additional Coverage is added:
      1. If covered property sustains direct physical loss or damage caused by or resulting from a Covered
         Cause of Loss, and the origin such loss is determined to be the criminal acts of an individual or
         individuals, we will pay a reward to the person or persons who provide information that leads to the
         arrest and conviction of the individual or individuals responsible for the loss.
      2. The most we will pay under in any one occurrence for this Additional Coverage is $15,000, regardless
         of the number of persons providing information that leads to the arrest and conviction of the individual
         or individuals responsible for such loss.
   N. Tenant Move Back Expenses
      The following Additional Coverage is added:
      1. We will reimburse you for expenses you pay for “covered move back costs” that your tenant(s) incurs
         in order to temporarily vacate a portion of the building at the described premises due to the direct
         physical loss or damage to your Covered Property caused by or resulting from a Covered Cause of
         Loss.
          The move back must take place within 60 days after the portion of the building rented to your
          tenant(s) has been repaired or rebuilt and is ready for occupancy.
      2. “Covered move back costs” means only documented, reasonable and necessary costs to:
          a. Pack, insure and transport property owned by the tenant;

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           b. Re-establish electric utility and communication services, less refunds from discontinued services;
           c. Assemble and set up fixtures and equipment; and
           d. Unpack and re-shelve stock and supplies if the tenant is a commercial operation.
       3. If your tenants have valid and collectible insurance for “covered move back costs”, we will pay only for
          the amount of the “covered move back costs” in excess of the amount payable from such other
          insurance.
       4. The most we will pay in any one occurrence at each described location under this Additional
          Coverage is $10,000 regardless of the number of tenants incurring “covered move back costs”.
IV. The following changes apply to SECTION I - PROPERTY, Paragraph A.6., Coverage Extensions:
   A. Accounts Receivable
       Paragraph A.6.f.(2) is replaced by the following:
       (2) The most we will pay under this Coverage for loss or damage in any one occurrence at the described
           premises is $50,000.
           For Accounts Receivable not at the described premises, the most we will pay is $15,000.
           The Limits of Insurance provided under this provision are in addition to any other Limit of Insurance
           that may be provided under this policy for this coverage.
   B. Automated External Defibrillators
       The following Coverage Extension is added:
       If this policy covers Business Personal Property, you may extend that insurance to apply to your
       Automated External Defibrillators.
       The most we will pay in any one occurrence for physical loss or damage to your Automated External
       Defibrillators is $5,000, which is in addition to the Business Personal Property Limit of Insurance stated in
       the Declarations.
   C. Computer Equipment
       The following Coverage Extension is added:
       1. If Business Personal Property is provided under this policy you may extend insurance to apply to your
          “computer(s)” for the following:
           a. The Causes of Loss as respects this Coverage Extension is revised to include:
               Loss or damage to Covered Property caused by or resulting from the necessary and reasonable
               expenses you actually incur to extract computer virus from Covered Property. Computer virus
               means intrusive codes or programs that are entered into your computer system and interrupt your
               data processing operation or cause loss to Covered Property.
           b. The most we will pay for loss or damage under this Coverage Extension in any one occurrence is
              $10,000 as respects computer equipment and software at a described location.
           c. The deductible provision as respects this Coverage Extension does not apply to loss or damage
              to surge protection devices, if there is no loss or damage to other Computer Equipment.
       2. If Business Personal Property is provided under this policy you may extend insurance to apply to
          “portable computer equipment” located anywhere in the world including while in transit. The most we
          will pay for loss or damage to “portable computer equipment” in any one occurrence is $10,000.
           “Portable computer equipment” means any laptop, netbook, palmtop and similar portable computer
           equipment, personal digital assistants (PDAs), smart phones and accessories.
   D. Appurtenant Structures
       The following Coverage Extension is added:
       1. You may extend the insurance that applies to Business Personal Property to apply to property located
          in garages, storage buildings or other appurtenant structures at the described premises.
           The most we will pay in any one occurrence for direct physical loss or damage under this Extension is
           $5,000 at each described premises.
       Payments made under this Extension are in addition to the applicable Limit of Insurance.
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   E. Newly Acquired or Constructed Property
      1. Paragraph A.6.a.(1) is amended as follows:
          The most we will pay in Subparagraph (1) is increased from $250,000 to $500,000.
      2. The following is added to Paragraph A.6.a.:
          (4) Business Income and Extra Expense
              You may extend the insurance that applies to Business Income and Extra Expense to apply to
              property any location you acquire by purchase or lease (other than at fairs or exhibitions).
              The most we will pay in any one occurrence under this Extension is $250,000.
      3. Paragraph A.6.a.(3)(b) is replaced by the following:
          (b) 60 days expire after you acquire the property or begin construction of that part of the building that
              would qualify as covered property; or
   F. Off-Premises Utility Services
      The following Coverage Extension is added:
      1. Direct Damage
          The most we will pay in any one occurrence for loss of or damage to Covered Property, caused by
          the interruption of service to the described premises is $25,000. The interruption must result from the
          direct physical loss or damage by a Covered Cause of Loss to the property described in Paragraph 3.
          below. This Limit of Insurance is part of, not in addition to, the Limit of Insurance stated in the
          Declarations as applicable to Covered Property. However, this Limit of Insurance is in addition to any
          other Limit of Insurance that may be provided by this policy for this coverage.
      2. Time Element
          The following applies only if Business Income or Extra Expense is covered under this policy:
          The most we will pay in any one occurrence for loss of Business Income or Extra Expense at the
          described premises caused by the interruption of service to the described premises is $25,000. The
          interruption must result from direct physical loss or damage by a Covered Cause of Loss to the
          property described in Paragraph 3. below. However, this Limit of Insurance is in addition to any other
          Limit of Insurance that may be provided by this policy for this coverage.
      3. Utility Services
          a. Water Supply Services, meaning the following types of property supplying water to the described
             premises:
              (1) Pumping stations; and
              (2) Water mains.
          b. Communication Supply Services, meaning property supplying communication services, including
             telephone, radio, microwave or television services to the described premises, such as:
              (1) Communication transmission lines, including optic fiber transmission lines;
              (2) Coaxial cables; or
              (3) Microwave radio relays except satellites.
              It does not include overhead transmission lines.
          c. Power Supply Services, meaning the following types of property supplying electricity, steam or
             gas to the described premises:
              (1) Utility generating plants;
              (2) Switching stations;
              (3) Substations;
              (4) Transformers; and
              (5) Transmission lines.
              This does not include overhead transmission lines.

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   G. Outdoor Property
        Paragraph A.6.c., Outdoor Property, is amended as follows:
        You may extend the insurance provided by this policy to apply to your outdoor fences, radio and
        television antennas (including satellite dishes), signs (other than signs attached to buildings), trees,
        shrubs and plants, including debris removal expense. Loss or damage must be caused by or result from
        any of the following causes of loss:
        (1) Fire;
        (2) Lightning;
        (3) Explosion;
        (4) Riot or Civil Commotion;
        (5) Aircraft; or
        (6) Automobile
        The most we will pay in any one occurrence for loss or damage under this Extension is $10,000, but not
        more than $1,000 for any one tree, shrub or plant. This Limit of Insurance is in addition to any other Limit
        of Insurance that may be provided by this policy for this coverage, including II.A. Expanded Covered
        Perils for Fences above.
   H. Personal Effects
        Paragraph A.6.d., Personal Effects, is amended as follows:
        You may extend the insurance that applies to Business Personal Property to apply to personal effects
        owned by you, your officers, your partners or your employees. This extension does not apply to:
        1. Tools or Equipment used in your business; or
        2. Loss or damage by theft.
        The most we will pay for loss or damage under this Extension is $5,000 at each described location.
   I.   Valuable Papers and Records
        Paragraph A.6.e.(3) is replaced by the following:
        (3) The most we will pay under this Coverage Extension for loss or damage to “valuable papers and
            records” in any one occurrence at the described premises is $50,000.
              For “valuable papers and records” not at the described premises, the most we will pay is $15,000.
              The Limits of Insurance shown above is in addition to any other Limit of Insurance that may be
              provided by this policy for this coverage.
V. The following changes apply to SECTION I - PROPERTY, Paragraph G., Optional Coverages:
   A. Employee Dishonesty
        The following is added to Paragraph G.3., Employee Dishonesty:
        j.    With respect to the Employee Dishonesty Optional Coverage in Paragraph G.3., employee means:
              (1) Any natural person:
                  (a) While in your service for 30 days after termination of service;
                  (b) Who you compensate directly by salary, wages or commissions; and
                  (c) Who you have the right to direct and control while performing services for you;
              (2) Any natural person who is furnished temporarily to you to:
                  (a) Substitute for a permanent employee as defined in Paragraph (1) above, who is on leave; or
                  (b) Meet seasonal or short-term work load conditions;
              (3) Any natural person who is leased to you under a written agreement between you and a labor
                  leasing form, to perform duties related to the conduct of your business, but does not mean a
                  temporary employee as defined in Paragraph (2) above;


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           (4) Any natural person who is a former employee, director, partner, member, manager,
               representative or trustee retained as a consultant while performing services for you;
           (5) Any natural person who is a guest student or intern pursuing studies or duties, excluding
               however, any such person while having care and custody of property outside any building you
               occupy in conducting your business;
           (6) Any natural person, partnership or corporation you appoint in writing to act as your Property
               Management Agent while acting on your behalf or while in possession of Covered Property.
               These natural persons, partnerships or corporations are not covered for faithful performance of
               duty.
           Each such agent and the partners, officers and employees of that agent are considered to be
           collectively one employee for the purpose of this insurance. However, Employee Dishonesty
           Coverage Paragraph f. applies individually to each of them.
       But employee does not mean:
           (1) Any agent, broker, factor, commission merchant, consignee, independent contractor or
               representative of the same general character except as provided in Paragraph (6) above; or
           (2) Any “manager”, director or trustee except while performing acts coming within the usual duties of
               an employee.
       Coverage provided under this endorsement does not increase the Limit of Insurance shown on the
       Schedule for this coverage.
   B. Money and Securities
       Paragraph G.2.c. is replaced by the following:
       c. The most we will pay for loss in any one occurrence is:
           (1) $25,000 for Inside the Premises for “money” and “securities’ while:
               (a) In or on the described premises; or
               (b) Within a bank or savings institution; and
           (2) $25,000 for Outside the Premises for “money” and “securities” while anywhere else.
   C. Outdoor Signs
       Paragraph G.1.d. is replaced by the following:
       d. The most we will pay for loss or damage in any one occurrence is $25,000. This Limit of Insurance is
          in addition to any other Limit of Insurance that may be provided by this policy for this coverage.
VI. The following changes apply to SECTION II - LIABILITY:
   A. Broadened Coverage For Damage To Premises Rented To You
       Section II – Liability is amended as follows:
       1. The final paragraph of B.1. Exclusions – Applicable To Business Liability Coverage is replaced
          by the following:
           With respect to the premises shown in the Schedule of Locations which are rented to you or
           temporarily occupied by you with the permission of the owner, Exclusions c., d., e., g., h., k., l., m., n.
           and o. do not apply to "property damage".
       2. Paragraph D.2. Liability And Medical Expenses Limits Of Insurance is replaced by the following
          with respect to damage to the premises shown in the Schedule of Locations:
           The most we will pay under this endorsement for the sum of all damages because of all "property
           damage" to premises while rented to you or temporarily occupied by you with the permission of the
           owner is $300,000.
       3. Paragraph D.3. is deleted.
   B. Heating Or Air Conditioning Loss Reimbursement
       The following is added to Paragraph A., Coverages:

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                                  COUNTRY Mutual Insurance Company                             AWA 66 14 02 17
      1. We will reimburse you for payments you make voluntarily or because of a demand for a per diem
         remuneration of rent from a tenant as a result of the complete loss of heat or air conditioning to a
         tenant’s leased unit or apartment due to mechanical breakdown or electrical failure of the heating or
         air conditioning system at the described premises.
          The amount of such reimbursement is limited as described in Paragraph A.5. below.             No other
          obligation or liability to pay sums or perform acts or services is covered.
      2. This coverage applies only if:
          a. The mechanical breakdown or electrical failure of the heating or air conditioning system at the
             described premises occurred during the policy period; and
          b. You have received a notarized notification of a demand for a per diem remuneration of rent from
             a tenant within 90 days after the mechanical breakdown or electrical failure of the heating or air
             conditioning system at the described premises; or
          c. You reasonably determine that a voluntary payment to the tenant is necessary to prevent “bodily
             injury” or “property damage”.
      3. We shall have no duty nor obligation to defend the Insured or perform acts or services.
      4. This coverage does not apply to:
          a. Expenses incurred by you to repair or replace the heating or air conditioning system at the
             described premises.
          b. “Bodily injury”, “property damage” and “personal and advertising injury”.
      5. The most we will reimburse you for the sum of all voluntary payments and demands for per diem
         reimbursement by tenants under the Heating Or Air Conditioning Loss Reimbursement is $5,000 as
         the result of any one mechanical breakdown or electrical failure of the heating or air conditioning
         system at the described premises and $10,000 in any annual period starting with the beginning of the
         policy period shown in the Declarations.
      6. The following condition replaces the Duties In The Event Of Occurrence, Offense, Claim Or Suit
         Condition under Paragraph E., Liability And Medical Expenses General Conditions of Section II -
         Liability for the Heating Or Air Conditioning Loss Reimbursement coverage.
          Duties In The Event Of A Heating Or Air Conditioning System Failure
          a. You must notify us as soon as possible of a demand for remuneration from a tenant or of a
             payment you make voluntarily. The notice should include:
              (1) A notarized letter from the tenant of the demand for remuneration;
              (2) A written description by you of how, when and where the mechanical breakdown or electrical
                  failure of the heating or air conditioning system occurred;
              (3) The name and address of the affected tenant; and
              (4) A cancelled check or money order written to the tenant.
          b. At our request, give us complete information as to:
              (1) The cause of the mechanical breakdown or electrical failure of the heating or air conditioning
                  system; and
              (2) The actions you took to have the heating or air conditioning system repaired or replaced by a
                  competent technician as soon as possible.
          c. Cooperate with us in the review of the reimbursement.
   C. Lock-Out Or Sale, Removal And Disposal
      1. We will pay those sums that the insured becomes legally obligated to pay as damages because of
         acts or omissions arising out of a “lock-out”, or the sale, removal or disposal of “tenants’ property” in
         the course of “sale and disposal operations”. We will have the right and duty to defend the Insured
         against any “suit” seeking those damages. However, we will have no duty to defend the Insured
         against any “suit” seeking damages for acts or omissions to which this insurance does not apply. We
         may, at our discretion, investigate the circumstances of any act or omission and settle any claim or
         “suit” that may result. But:

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                                  COUNTRY Mutual Insurance Company                               AWA 66 14 02 17
          a. The amount we will pay for damages is limited as described in Paragraph 5. below.
          b. Our right and duty to defend end when we have used up the applicable Limit of Insurance in the
             payment of judgments or settlements under this Lock-Out or Sale, Removal And Disposal Liability
             Coverage.
          No other obligation or liability to pay sums or perform acts or services is covered unless explicitly
          provided for under that Supplementary Payments provision.
      2. This coverage applies only to an act or omission which takes place in the “coverage territory” and
         during the policy period.
      3. This coverage does not apply to:
          a. Liability for damages which the insured is obligated to pay by reason of the assumption of liability
             in a contract or agreement. This exclusion does not apply to liability for damages that the insured
             would have in the absence of the contract or agreement.
          b. Liability arising out of dishonest or criminal acts by you, your “employees” or any other person to
             whom you may entrust such property.
      4. The Supplementary Payments provision applicable to the Bodily Injury, Property Damage Liability and
         Personal And Advertising Injury Liability coverages also applies to this Lock-Out Or Sale, Removal
         And Disposal coverage.
      5. The most we will pay for the sum of all damages because of all acts or omissions arising out of a
         “lock-out” or sale, removal or disposal of “tenants’ property” under the Lock-Out Or Sale, Removal
         And Disposal coverage is $5,000 in any annual period starting with the beginning of the policy period
         shown in the Declarations. This limit applies separately to each premises described in the
         Declarations.
      6. The following condition replaces the Duties In The Event Of Occurrence, Offense, Claim Or Suit
         Condition under Paragraph E., Liability And Medical Expenses General Conditions of Section II -
         Liability for the Lock-Out Or Sale, Removal And Disposal Liability coverage:
          Duties In The Event Of Claim Or Suit As A Result Of A Lock-Out Or Sale, Removal Or Disposal
          Of Tenants’ Property
          a. You must see to it that we are notified as soon as possible of a “lock-out” or sale, removal or
             disposal of “tenants’ property” which may result in a claim. To the extent possible, notice should
             include how, when and where the “lock-out” or sale, removal or disposal of “tenants’ property”
             took place.
          b. If a claim is made or “suit” is brought against any insured as a result of a “lock-out” or sale,
             removal or disposal of “tenants’ property”, you must:
              (1) Immediately record the specifics of the claim or “suit” and the date received; and
              (2) Notify us as soon as practicable.
              You must see to it that we receive written notice of the claim or “suit” as soon as practicable.
          c. You and any other involved insured must:
              (1) Immediately send us copies of any demands, notices, summonses or legal papers received
                  in connection with the claim or “suit”;
              (2) Authorize us to obtain records and other information;
              (3) Cooperate with us in our investigation or settlement of the claim or defense against the “suit”;
                  and
              (4) Assist us, upon our request, in the enforcement of any right against any person or
                  organization which may be liable to the insured because of an action to which this insurance
                  may apply.
          d. No Insured will, except at that insured’s own cost, voluntarily make a payment, assume any
             obligation or incur any expense without our consent.
      7. For coverage provided under this endorsement the following definitions are added to Paragraph F.,
         Liability And Medical Expenses Definitions under Section II Liability:


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          a. “Lock-out” means denying a tenant access to the “tenants’ property” or the occupancy of an
             apartment the tenant is renting, leasing or otherwise occupying.
          b. “Sale and disposal operations” means all activities you conduct to reclaim an apartment or
             storage space when a tenant’s rent is delinquent or unpaid.
          c. “Tenants’ property” means tangible property having intrinsic value that belongs to your tenants
             other than money or securities.
   D. Per Location Aggregate Limit of Insurance
      The following is added to Paragraph D.4.b., Liability And Medical Expenses Limits Of Insurance:
      The aggregate limit for all “bodily injury” and “property damage” other than “bodily injury” or “property
      damage” included in the “products-completed operations hazard” applies separately to each location
      owned by or rented to you. A separate aggregate will apply to each location at premises owned by or
      rented to you.
   E. Tenants’ Property Legal Liability
      1. We will pay those sums that the insured becomes legally obligated to pay as damages because of
         “property damage” to which this insurance applies to a “tenant’s property” (or the property of others
         for which the tenant is legally liable) only while the property is in your care, custody or control inside
         your leased unit, apartment or storage at the premises described in the Declarations. We will have
         the right and duty to defend the insured against any “suit” seeking those damages. However, we will
         have no duty to defend the insured against any “suit” seeking damages for “property damage” to
         which this insurance does not apply. We may, at our discretion, investigate any “occurrence” and
         settle any claim or “suit” that may result. But:
          a. The amount we will pay for damages is limited as described in Paragraph 5. below;
          b. We will not pay for loss or damage in any one occurrence until the amount of loss or damage
             exceeds $250. We will then pay the amount of loss or damage in excess of $250 up to the
             applicable Limit of Insurance for this coverage; and
          c. Our right and duty to defend end when we have used up the applicable Limit of Insurance in the
             payment of judgments or settlements under the Tenants’ Property Legal Liability coverage.
          No other obligation or liability to pay sums or perform acts or services is covered unless explicitly
          provided for under that Supplementary Payments provision.
      2. This coverage applies to “property damage” only if:
          a. The “property damage” is caused by an “occurrence” that takes place in the “coverage territory”;
             and
          b. The “property damage” occurs during the policy period.
      3. This coverage does not apply to:
          a. “Property damage” to any land motor vehicle, trailer or semi-trailer stored by a tenant at the
             described premises.
          b. The “property damage” for which the insured is obligated to pay damages by reason of the
             assumption of liability in a contract or agreement. This exclusion does not apply to liability for
             damages that the insured would have in the absence of the contract or agreement.
          c. Liability arising out of intentional “property damage” or dishonest or criminal acts by you, your
             “employees” or any other person to whom you may entrust such property.
          d. Liability arising out of your “sale and disposal operations”.
          e. Any loss covered under Section I - Property.
      4. The Supplementary Payments provision applicable to the Bodily Injury, Property Damage Liability and
         Personal And Advertising Injury Liability coverages also applies to this Tenants’ Property Legal
         Liability Coverage.
      5. The most we will pay for the sum of all damages under Tenants’ Property Legal Liability because of
         “property damage” to “tenants’ property” in any one “occurrence” is $10,000. This limit applies
         separately to each premises described in the Declarations.


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      6. The Duties In The Event Of Occurrence, Offense, Claim or Suit Condition under the Paragraph E.,
         Liability And Medical Expenses General Conditions of Section II -Liability applies to Tenants’
         Property Legal Liability.
      7. For coverage provided under this endorsement the following definitions are added to Paragraph F.,
         Liability And Medical Expenses Definitions under Section II Liability:
          a. “Tenants’ property” means tangible property having intrinsic value that belongs to your tenants
             other than money or securities.




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                                                                                              BUSINESSOWNERS
                                                                                                  BP 00 03 01 10

                   BUSINESSOWNERS COVERAGE FORM
Various provisions in this policy restrict coverage.                 (5) Personal property owned by you that is
Read the entire policy carefully to determine rights,                     used to maintain or service the buildings
duties and what is and is not covered.                                    or structures or the premises, including:
Throughout this Coverage Form the words "you" and                        (a) Fire extinguishing equipment;
"your" refer to the Named Insured shown in the Decla-                    (b) Outdoor furniture;
rations. The words "we", "us" and "our" refer to the
Company providing this insurance.                                        (c) Floor coverings; and
In Section II – Liability, the word "insured" means any                  (d) Appliances used for refrigerating,
person or organization qualifying as such under Para-                         ventilating, cooking, dishwashing or
graph C. Who Is An Insured.                                                   laundering;
Other words and phrases that appear in quotation                     (6) If not covered by other insurance:
marks have special meaning. Refer to Paragraph H.                        (a) Additions under construction, altera-
Property Definitions in Section I – Property and Para-                        tions and repairs to the buildings or
graph F. Liability And Medical Expenses Definitions in                        structures;
Section II – Liability.
                                                                         (b) Materials, equipment, supplies and
SECTION I – PROPERTY                                                          temporary structures, on or within
A. Coverage                                                                   100 feet of the described premises,
                                                                              used for making additions, altera-
    We will pay for direct physical loss of or damage to                      tions or repairs to the buildings or
    Covered Property at the premises described in the                         structures.
    Declarations caused by or resulting from any Cov-
    ered Cause of Loss.                                            b. Business Personal Property located in or on
                                                                      the buildings at the described premises or
    1. Covered Property                                               in the open (or in a vehicle) within 100 feet
       Covered Property includes Buildings as de-                     of the described premises, including:
       scribed under Paragraph a. below, Business                    (1) Property you own that is used in your
       Personal Property as described under Para-                         business;
       graph b. below, or both, depending on whether
       a Limit of Insurance is shown in the Declara-                 (2) Property of others that is in your care,
       tions for that type of property. Regardless of                     custody or control, except as otherwise
       whether coverage is shown in the Declarations                      provided in Loss Payment Property Loss
       for Buildings, Business Personal Property, or                      Condition Paragraph E.5.d.(3)(b);
       both, there is no coverage for property de-                   (3) Tenant's improvements and better-
       scribed under Paragraph 2. Property Not Cov-                       ments. Improvements and betterments
       ered.                                                              are fixtures, alterations, installations or
       a. Buildings, meaning the buildings and struc-                     additions:
           tures at the premises described in the Dec-                   (a) Made a part of the building or struc-
           larations, including:                                              ture you occupy but do not own; and
          (1) Completed additions;                                       (b) You acquired or made at your ex-
          (2) Fixtures, including outdoor fixtures;                           pense but cannot legally remove;
          (3) Permanently installed:                                 (4) Leased personal property which you
                                                                          have a contractual responsibility to in-
              (a) Machinery; and                                          sure, unless otherwise provided for un-
              (b) Equipment;                                              der Paragraph 1.b.(2); and
          (4) Your personal property in apartments,                  (5) Exterior building glass, if you are a ten-
               rooms or common areas furnished by                         ant and no Limit of Insurance is shown
               you as landlord;                                           in the Declarations for Building property.
                                                                          The glass must be owned by you or in
                                                                          your care, custody or control.




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   2. Property Not Covered                                      4. Limitations
      Covered Property does not include:                           a. We will not pay for loss of or damage to:
      a. Aircraft, automobiles, motortrucks and other                (1) Steam boilers, steam pipes, steam en-
          vehicles subject to motor vehicle registra-                      gines or steam turbines caused by or
          tion;                                                            resulting from any condition or event in-
      b. "Money" or "securities" except as provided                        side such equipment. But we will pay for
          in the:                                                          loss of or damage to such equipment
                                                                           caused by or resulting from an explosion
         (1) Money And Securities Optional Cover-                          of gases or fuel within the furnace of any
               age; or                                                     fired vessel or within the flues or pas-
         (2) Employee Dishonesty Optional Cover-                           sages through which the gases of com-
               age;                                                        bustion pass.
      c. Contraband, or property in the course of                    (2) Hot water boilers or other water heating
          illegal transportation or trade;                                 equipment caused by or resulting from
      d. Land (including land on which the property                        any condition or event inside such boil-
          is located), water, growing crops or lawns;                      ers or equipment, other than an explo-
                                                                           sion.
      e. Outdoor fences, radio or television anten-
          nas (including satellite dishes) and their                 (3) Property that is missing, where the only
          lead-in wiring, masts or towers, signs (other                    evidence of the loss or damage is a
          than signs attached to buildings), trees,                        shortage disclosed on taking inventory,
          shrubs or plants, all except as provided in                      or other instances where there is no
          the:                                                             physical evidence to show what hap-
                                                                           pened to the property. This limitation
         (1) Outdoor Property Coverage Extension;                          does not apply to the Optional Coverage
               or                                                          for Money and Securities.
         (2) Outdoor Signs Optional Coverage;                        (4) Property that has been transferred to a
      f. Watercraft (including motors, equipment                           person or to a place outside the de-
          and accessories) while afloat;                                   scribed premises on the basis of unau-
                                                                           thorized instructions.
      g. Accounts, bills, food stamps, other evi-
          dences of debt, accounts receivable or                     (5) The interior of any building or structure
          "valuable papers and records"; except as                         caused by or resulting from rain, snow,
          otherwise provided in this policy;                               sleet, ice, sand or dust, whether driven
                                                                           by wind or not, unless:
      h. "Computer(s)" which are permanently in-
          stalled or designed to be permanently in-                       (a) The building or structure first sus-
          stalled in any aircraft, watercraft, motortruck                      tains damage by a Covered Cause
          or other vehicle subject to motor vehicle                            of Loss to its roof or walls through
          registration. This paragraph does not apply                          which the rain, snow, sleet, ice, sand
          to "computer(s)" while held as "stock";                              or dust enters; or
       i. "Electronic data", except as provided under                    (b) The loss or damage is caused by or
          Additional Coverages – Electronic Data.                              results from thawing of snow, sleet
          This Paragraph i. does not apply to your                             or ice on the building or structure.
          "stock" of prepackaged software.                         b. We will not pay for loss of or damage to the
       j. Animals, unless owned by others and                         following types of property unless caused
          boarded by you, or if owned by you, only as                 by the "specified causes of loss" or building
          "stock" while inside of buildings.                          glass breakage:
   3. Covered Causes Of Loss                                         (1) Animals, and then only if they are killed
                                                                           or their destruction is made necessary.
      Risks of direct physical loss unless the loss is:
                                                                     (2) Fragile articles such as glassware,
      a. Excluded in Paragraph B. Exclusions in
                                                                           statuary, marble, chinaware and porce-
          Section I; or
                                                                           lain, if broken. This restriction does not
      b. Limited in Paragraph 4. Limitations in Sec-                       apply to:
          tion I.
                                                                          (a) Glass that is part of the exterior or
                                                                               interior of a building or structure;




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            (b) Containers of property held for sale;               (4) We will pay up to an additional $10,000
                 or                                                     for debris removal expense, for each lo-
            (c) Photographic or scientific instrument                   cation, in any one occurrence of physi-
                 lenses.                                                cal loss or damage to Covered Property,
                                                                        if one or both of the following circum-
      c. For loss or damage by theft, the following                     stances apply:
         types of property are covered only up to the
         limits shown:                                                 (a) The total of the actual debris removal
                                                                            expense plus the amount we pay for
        (1) $2,500 for furs, fur garments and gar-                          direct physical loss or damage ex-
             ments trimmed with fur.                                        ceeds the Limit of Insurance on the
        (2) $2,500 for jewelry, watches, watch                              Covered Property that has sustained
             movements, jewels, pearls, precious                            loss or damage.
             and semiprecious stones, bullion, gold,                   (b) The actual debris removal expense
             silver, platinum and other precious al-                        exceeds 25% of the sum of the de-
             loys or metals. This limit does not apply                      ductible plus the amount that we pay
             to jewelry and watches worth $100 or                           for direct physical loss or damage to
             less per item.                                                 the Covered Property that has sus-
        (3) $2,500 for patterns, dies, molds and                            tained loss or damage.
             forms.                                                     Therefore, if Paragraphs (4)(a) and/or
   5. Additional Coverages                                              (4)(b) apply, our total payment for direct
      a. Debris Removal                                                 physical loss or damage and debris re-
                                                                        moval expense may reach but will never
        (1) Subject to Paragraphs (3) and (4), we                       exceed the Limit of Insurance on the
             will pay your expense to remove debris                     Covered Property that has sustained
             of Covered Property caused by or re-                       loss or damage, plus $10,000.
             sulting from a Covered Cause of Loss
             that occurs during the policy period. The              (5) Examples
             expenses will be paid only if they are                     Example #1
             reported to us in writing within 180 days                   Limit of Insurance             $ 90,000
             of the date of direct physical loss or
                                                                         Amount of Deductible           $     500
             damage.
                                                                         Amount of Loss                 $ 50,000
        (2) Debris Removal does not apply to costs
             to:                                                         Amount of Loss Payable         $ 49,500
            (a) Extract "pollutants" from land or                                                ($50,000 – $500)
                 water; or                                               Debris Removal Expense         $ 10,000
            (b) Remove, restore or replace polluted                      Debris Removal Expense
                 land or water.                                          Payable                        $ 10,000
        (3) Subject to the exceptions in Paragraph                       ($10,000 is 20% of $50,000)
             (4), the following provisions apply:                       The debris removal expense is less than
            (a) The most that we will pay for the                       25% of the sum of the loss payable plus
                 total of direct physical loss or dam-                  the deductible. The sum of the loss pay-
                 age plus debris removal expense is                     able and the debris removal expense
                 the Limit of Insurance applicable to                   ($49,500 + $10,000 = $59,500) is less
                 the Covered Property that has sus-                     than the Limit of Insurance. Therefore
                 tained loss or damage.                                 the full amount of debris removal ex-
            (b) Subject to Paragraph (a) above, the                     pense is payable in accordance with the
                 amount we will pay for debris re-                      terms of Paragraph (3).
                 moval expense is limited to 25% of
                 the sum of the deductible plus the
                 amount that we pay for direct physi-
                 cal loss or damage to the Covered
                 Property that has sustained loss or
                 damage.




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              Example #2                                          c. Fire Department Service Charge
               Limit of Insurance              $ 90,000              When the fire department is called to save
               Amount of Deductible            $     500             or protect Covered Property from a Cov-
               Amount of Loss                  $ 80,000              ered Cause of Loss, we will pay up to
                                                                     $2,500, unless a different limit is shown in
               Amount of Loss Payable          $ 79,500              the Declarations, for your liability for fire
                                      ($80,000 – $500)               department service charges:
               Debris Removal Expense          $ 30,000             (1) Assumed by contract or agreement prior
               Debris Removal Expense                                    to loss; or
               Payable                                              (2) Required by local ordinance.
                       Basic Amount            $ 10,500           d. Collapse
                       Additional Amount       $ 10,000              The coverage provided under this Addi-
              The basic amount payable for debris                    tional Coverage – Collapse applies only to
              removal expense under the terms of                     an abrupt collapse as described and limited
              Paragraph (3) is calculated as follows:                in Paragraphs d.(1) through d.(7).
              $80,000 ($79,500 + $500) x .25 =                      (1) For the purpose of this Additional Cov-
              $20,000; capped at $10,500). The cap                       erage – Collapse, abrupt collapse
              applies because the sum of the loss                        means an abrupt falling down or caving
              payable ($79,500) and the basic amount                     in of a building or any part of a building
              payable for debris removal expense                         with the result that the building or part of
              ($10,500) cannot exceed the Limit of In-                   the building cannot be occupied for its
              surance ($90,000).                                         intended purpose.
              The additional amount payable for de-                 (2) We will pay for direct physical loss or
              bris removal expense is provided in ac-                    damage to Covered Property, caused by
              cordance with the terms of Paragraph                       abrupt collapse of a building or any part
              (4), because the debris removal ex-                        of a building that is insured under this
              pense ($30,000) exceeds 25% of the                         policy or that contains Covered Property
              loss payable plus the deductible                           insured under this policy, if such col-
              ($30,000 is 37.5% of $80,000), and be-                     lapse is caused by one or more of the
              cause the sum of the loss payable and                      following:
              debris removal expense ($79,500 +
                                                                        (a) Building decay that is hidden from
              $30,000 = $109,500) would exceed the
                                                                              view, unless the presence of such
              Limit of Insurance ($90,000). The addi-
                                                                              decay is known to an insured prior to
              tional amount of covered debris removal
                                                                              collapse;
              expense is $10,000, the maximum pay-
              able under Paragraph (4). Thus the total                  (b) Insect or vermin damage that is
              payable for debris removal expense in                           hidden from view, unless the pres-
              this example is $20,500; $9,500 of the                          ence of such damage is known to an
              debris removal expense is not covered.                          insured prior to collapse;
      b. Preservation Of Property                                       (c) Use of defective material or methods
                                                                              in construction, remodeling or reno-
         If it is necessary to move Covered Property
                                                                              vation if the abrupt collapse occurs
         from the described premises to preserve it
                                                                              during the course of the construction,
         from loss or damage by a Covered Cause
                                                                              remodeling or renovation.
         of Loss, we will pay for any direct physical
         loss of or damage to that property:                            (d) Use of defective material or methods
                                                                              in construction, remodeling or reno-
        (1) While it is being moved or while tempo-
                                                                              vation if the abrupt collapse occurs
              rarily stored at another location; and
                                                                              after the construction, remodeling or
        (2) Only if the loss or damage occurs within                          renovation is complete, but only if
              30 days after the property is first moved.                      the collapse is caused in part by:
                                                                              (i) A cause of loss listed in Para-
                                                                                  graph (2)(a) or (2)(b);
                                                                             (ii) One or more of the "specified
                                                                                  causes of loss";
                                                                           (iii) Breakage of building glass;




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              (iv) Weight of people or personal                         The coverage stated in this Paragraph
                    property; or                                        (5) does not apply to personal property if
               (v) Weight of rain that collects on a                    marring and/or scratching is the only
                    roof.                                               damage to that personal property
                                                                        caused by the collapse.
        (3) This Additional Coverage – Collapse
            does not apply to:                                     (6) This Additional Coverage – Collapse
                                                                        does not apply to personal property that
           (a) A building or any part of a building                     has not abruptly fallen down or caved in,
                that is in danger of falling down or                    even if the personal property shows evi-
                caving in;                                              dence of cracking, bulging, sagging,
           (b) A part of a building that is standing,                   bending, leaning, settling, shrinkage or
                even if it has separated from another                   expansion.
                part of the building; or                           (7) This Additional Coverage – Collapse will
           (c) A building that is standing or any part                  not increase the Limits of Insurance pro-
                of a building that is standing, even if                 vided in this policy.
                it shows evidence of cracking, bulg-               (8) The term Covered Cause of Loss in-
                ing, sagging, bending, leaning, set-                    cludes the Additional Coverage – Col-
                tling, shrinkage or expansion.                          lapse as described and limited in Para-
        (4) With respect to the following property:                     graphs d.(1) through d.(7).
           (a)  Awnings;                                         e. Water Damage, Other Liquids, Powder
           (b)  Gutters and downspouts;                             Or Molten Material Damage
           (c)  Yard fixtures;                                      If loss or damage caused by or resulting
                                                                    from covered water or other liquid, powder
           (d)  Outdoor swimming pools;                             or molten material occurs, we will also pay
           (e)  Piers, wharves and docks;                           the cost to tear out and replace any part of
                                                                    the building or structure to repair damage to
            (f) Beach or diving platforms or appur-
                                                                    the system or appliance from which the wa-
                tenances;
                                                                    ter or other substance escapes.
           (g) Retaining walls; and
                                                                     We will not pay the cost to repair any defect
           (h) Walks, roadways and other paved                       that caused the loss or damage; but we will
                surfaces;                                            pay the cost to repair or replace damaged
            if an abrupt collapse is caused by a                     parts of fire extinguishing equipment if the
            cause of loss listed in Paragraphs (2)(a)                damage:
            through (2)(d), we will pay for loss or                 (1) Results in discharge of any substance
            damage to that property only if such loss                    from an automatic fire protection sys-
            or damage is a direct result of the abrupt                   tem; or
            collapse of a building insured under this
                                                                    (2) Is directly caused by freezing.
            policy and the property is Covered
            Property under this policy.                           f. Business Income
        (5) If personal property abruptly falls down                (1) Business Income
            or caves in and such collapse is not the                    (a) We will pay for the actual loss of
            result of abrupt collapse of a building,                        Business Income you sustain due to
            we will pay for loss or damage to Cov-                          the necessary suspension of your
            ered Property caused by such collapse                           "operations" during the "period of
            of personal property only if:                                   restoration". The suspension must
           (a) The collapse of personal property                            be caused by direct physical loss of
                was caused by a cause of loss listed                        or damage to property at the de-
                in Paragraphs (2)(a) through (2)(d)                         scribed premises. The loss or dam-
                of this Additional Coverage;                                age must be caused by or result
                                                                            from a Covered Cause of Loss. With
           (b) The personal property which col-
                                                                            respect to loss of or damage to per-
                lapses is inside a building; and
                                                                            sonal property in the open or per-
           (c) The property which collapses is not                          sonal property in a vehicle, the de-
                of a kind listed in Paragraph (4), re-                      scribed premises include the area
                gardless of whether that kind of                            within 100 feet of the site at which
                property is considered to be personal                       the described premises are located.
                property or real property.




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               With respect to the requirements set                             ii. Employee benefits, if directly
               forth in the preceding paragraph, if                                 related to payroll;
               you occupy only part of the site at                             iii. FICA payments you pay;
               which the described premises are lo-
               cated, your premises means:                                     iv. Union dues you pay; and
               (i) The portion of the building which                            v. Workers' compensation pre-
                    you rent, lease or occupy; and                                  miums.
              (ii) Any area within the building or on               (2) Extended Business Income
                    the site at which the described                    (a) If the necessary suspension of your
                    premises are located, if that area                     "operations" produces a Business
                    services, or is used to gain ac-                       Income loss payable under this pol-
                    cess to, the described premises.                       icy, we will pay for the actual loss of
           (b) We will only pay for loss of Business                       Business Income you incur during
               Income that you sustain during the                          the period that:
               "period of restoration" and that oc-                        (i) Begins on the date property ex-
               curs within 12 consecutive months                                cept finished stock is actually re-
               after the date of direct physical loss                           paired, rebuilt or replaced and
               or damage. We will only pay for ordi-                            "operations" are resumed; and
               nary payroll expenses for 60 days
                                                                           (ii) Ends on the earlier of:
               following the date of direct physical
               loss or damage, unless a greater                                  i. The date you could restore
               number of days is shown in the Dec-                                  your "operations", with rea-
               larations.                                                           sonable speed, to the level
                                                                                    which would generate the
           (c) Business Income means the:
                                                                                    Business Income amount that
               (i) Net Income (Net Profit or Loss                                   would have existed if no direct
                    before income taxes) that would                                 physical loss or damage had
                    have been earned or incurred if                                 occurred; or
                    no physical loss or damage had
                                                                                ii. 30 consecutive days after the
                    occurred, but not including any
                                                                                    date determined in Paragraph
                    Net Income that would likely have
                                                                                    (a)(i) above, unless a greater
                    been earned as a result of an in-
                                                                                    number of consecutive days is
                    crease in the volume of business
                                                                                    shown in the Declarations.
                    due to favorable business condi-
                    tions caused by the impact of the                       However, Extended Business In-
                    Covered Cause of Loss on cus-                           come does not apply to loss of Busi-
                    tomers or on other businesses;                          ness Income incurred as a result of
                    and                                                     unfavorable business conditions
                                                                            caused by the impact of the Covered
              (ii) Continuing normal operating
                                                                            Cause of Loss in the area where the
                    expenses incurred, including pay-
                                                                            described premises are located.
                    roll.
                                                                       (b) Loss of Business Income must be
           (d) Ordinary payroll expenses:
                                                                            caused by direct physical loss or
               (i) Means payroll expenses for all                           damage at the described premises
                    your employees except:                                  caused by or resulting from any Cov-
                     i. Officers;                                           ered Cause of Loss.
                    ii. Executives;                                 (3) With respect to the coverage provided in
                                                                        this Additional Coverage, suspension
                   iii. Department Managers;                            means:
                   iv. Employees under contract;                       (a) The partial slowdown or complete
                         and                                                cessation of your business activities;
                    v. Additional Exemptions shown                          or
                         in the Declarations as:                       (b) That a part or all of the described
                          z Job Classifications; or                         premises is rendered untenantable, if
                        z Employees.                                        coverage for Business Income ap-
                                                                            plies.
               (ii) Include:
                     i. Payroll;



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        (4) This Additional Coverage is not subject                (3) With respect to the coverage provided in
            to the Limits of Insurance of Section I –                   this Additional Coverage, suspension
            Property.                                                   means:
      g. Extra Expense                                                 (a) The partial slowdown or complete
        (1) We will pay necessary Extra Expense                             cessation of your business activities;
            you incur during the "period of restora-                        or
            tion" that you would not have incurred if                  (b) That a part or all of the described
            there had been no direct physical loss or                       premises is rendered untenantable, if
            damage to property at the described                             coverage for Business Income ap-
            premises. The loss or damage must be                            plies.
            caused by or result from a Covered                     (4) We will only pay for Extra Expense that
            Cause of Loss. With respect to loss of or                   occurs within 12 consecutive months af-
            damage to personal property in the                          ter the date of direct physical loss or
            open or personal property in a vehicle,                     damage. This Additional Coverage is
            the described premises include the area                     not subject to the Limits of Insurance of
            within 100 feet of the site at which the                    Section I – Property.
            described premises are located.
                                                                 h. Pollutant Clean-up And Removal
            With respect to the requirements set
            forth in the preceding paragraph, if you                We will pay your expense to extract "pollut-
            occupy only part of the site at which the               ants" from land or water at the described
            described premises are located, your                    premises if the discharge, dispersal, seep-
            premises means:                                         age, migration, release or escape of the
                                                                    "pollutants" is caused by or results from a
           (a) The portion of the building which you                Covered Cause of Loss that occurs during
                rent, lease or occupy; and                          the policy period. The expenses will be paid
           (b) Any area within the building or on the               only if they are reported to us in writing
                site at which the described premises                within 180 days of the date on which the
                are located, if that area services, or              Covered Cause of Loss occurs.
                is used to gain access to, the de-                   This Additional Coverage does not apply to
                scribed premises.                                    costs to test for, monitor or assess the exis-
        (2) Extra Expense means expense in-                          tence, concentration or effects of "pollut-
            curred:                                                  ants". But we will pay for testing which is
           (a) To avoid or minimize the suspension                   performed in the course of extracting the
                of business and to continue "opera-                  "pollutants" from the land or water.
                tions":                                              The most we will pay for each location un-
                (i) At the described premises; or                    der this Additional Coverage is $10,000 for
                                                                     the sum of all such expenses arising out of
               (ii) At replacement premises or at                    Covered Causes of Loss occurring during
                    temporary locations, including re-               each separate 12-month period of this pol-
                    location expenses, and costs to                  icy.
                    equip and operate the replace-
                    ment or temporary locations.                  i. Civil Authority
           (b) To minimize the suspension of busi-                   When a Covered Cause of Loss causes
                ness if you cannot continue "opera-                  damage to property other than property at
                tions".                                              the described premises, we will pay for the
                                                                     actual loss of Business Income you sustain
           (c) To:                                                   and necessary Extra Expense caused by
                (i) Repair or replace any property; or               action of civil authority that prohibits access
               (ii) Research, replace or restore the                 to the described premises, provided that
                    lost information on damaged                      both of the following apply:
                    "valuable papers and records";                  (1) Access to the area immediately sur-
                to the extent it reduces the amount                      rounding the damaged property is pro-
                of loss that otherwise would have                        hibited by civil authority as a result of
                been payable under this Additional                       the damage, and the described prem-
                Coverage or Additional Coverage f.                       ises are within that area but are not
                Business Income.                                         more than one mile from the damaged
                                                                         property; and




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         (2) The action of civil authority is taken in                  (2) If you are sued for refusing to pay the
              response to dangerous physical condi-                          check, draft, promissory note, bill of ex-
              tions resulting from the damage or con-                        change or similar written promise of
              tinuation of the Covered Cause of Loss                         payment in "money", on the basis that it
              that caused the damage, or the action is                       has been forged or altered, and you
              taken to enable a civil authority to have                      have our written consent to defend
              unimpeded access to the damaged                                against the suit, we will pay for any rea-
              property.                                                      sonable legal expenses that you incur in
          Civil Authority coverage for Business In-                          that defense.
          come will begin 72 hours after the time of                    (3) For the purpose of this coverage, check
          the first action of civil authority that prohibits                 includes a substitute check as defined in
          access to the described premises and will                          the Check Clearing for the 21st Century
          apply for a period of up to four consecutive                       Act, and will be treated the same as the
          weeks from the date on which such cover-                           original it replaced.
          age began.                                                    (4) The most we will pay for any loss, in-
          Civil Authority coverage for necessary Extra                       cluding legal expenses, under this Addi-
          Expense will begin immediately after the                           tional Coverage is $2,500, unless a
          time of the first action of civil authority that                   higher Limit of Insurance is shown in the
          prohibits access to the described premises                         Declarations.
          and will end:                                               l. Increased Cost Of Construction
         (1) Four consecutive weeks after the date                      (1) This Additional Coverage applies only to
              of that action; or                                             buildings insured on a replacement cost
         (2) When your Civil Authority coverage for                          basis.
              Business Income ends;                                     (2) In the event of damage by a Covered
          whichever is later.                                                Cause of Loss to a building that is Cov-
          The definitions of Business Income and Ex-                         ered Property, we will pay the increased
          tra Expense contained in the Business In-                          costs incurred to comply with enforce-
          come and Extra Expense Additional Cover-                           ment of an ordinance or law in the
          ages also apply to this Civil Authority                            course of repair, rebuilding or replace-
          Additional Coverage. The Civil Authority                           ment of damaged parts of that property,
          Additional Coverage is not subject to the                          subject to the limitations stated in Para-
          Limits of Insurance of Section I – Property.                       graphs (3) through (9) of this Additional
                                                                             Coverage.
       j. Money Orders And "Counterfeit Money"
                                                                        (3) The ordinance or law referred to in
          We will pay for loss resulting directly from                       Paragraph (2) of this Additional Cover-
          your having accepted in good faith, in ex-                         age is an ordinance or law that regu-
          change for merchandise, "money" or ser-                            lates the construction or repair of build-
          vices:                                                             ings or establishes zoning or land use
         (1) Money orders issued by any post office,                         requirements at the described premises,
              express company or bank that are not                           and is in force at the time of loss.
              paid upon presentation; or                                (4) Under this Additional Coverage, we will
         (2) "Counterfeit money" that is acquired                            not pay any costs due to an ordinance
              during the regular course of business.                         or law that:
          The most we will pay for any loss under this                      (a) You were required to comply with
          Additional Coverage is $1,000.                                         before the loss, even when the build-
                                                                                 ing was undamaged; and
      k. Forgery Or Alteration
                                                                           (b) You failed to comply with.
         (1) We will pay for loss resulting directly
              from forgery or alteration of, any check,
              draft, promissory note, bill of exchange
              or similar written promise of payment in
              "money", that you or your agent has is-
              sued, or that was issued by someone
              who impersonates you or your agent.




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        (5) Under this Additional Coverage, we will               (8) This Additional Coverage is not subject
            not pay for:                                              to the terms of the Ordinance Or Law
           (a) The enforcement of any ordinance or                    Exclusion, to the extent that such Exclu-
                law which requires demolition, repair,                sion would conflict with the provisions of
                replacement, reconstruction, remod-                   this Additional Coverage.
                eling or remediation of property due              (9) The costs addressed in the Loss Pay-
                to contamination by "pollutants" or                   ment Property Loss Condition in Section
                due to the presence, growth, prolif-                  I – Property do not include the increased
                eration, spread or any activity of                    cost attributable to enforcement of an
                "fungi", wet rot or dry rot; or                       ordinance or law. The amount payable
           (b) Any costs associated with the en-                      under this Additional Coverage, as
                forcement of an ordinance or law                      stated in Paragraph (6) of this Additional
                which requires any insured or others                  Coverage, is not subject to such limita-
                to test for, monitor, clean up, re-                   tion.
                move, contain, treat, detoxify or neu-          m. Business Income From Dependent
                tralize, or in any way respond to or               Properties
                assess the effects of "pollutants",               (1) We will pay for the actual loss of Busi-
                "fungi", wet rot or dry rot.                          ness Income you sustain due to physical
        (6) The most we will pay under this Addi-                     loss or damage at the premises of a de-
            tional Coverage, for each described                       pendent property caused by or resulting
            building insured under Section I – Prop-                  from any Covered Cause of Loss.
            erty, is $10,000. If a damaged build-                     However, this Additional Coverage does
            ing(s) is covered under a blanket Limit                   not apply when the only loss to depend-
            of Insurance which applies to more than                   ent property is loss or damage to "elec-
            one building or item of property, then the                tronic data", including destruction or cor-
            most we will pay under this Additional                    ruption of "electronic data". If the
            Coverage, for each damaged building, is                   dependent property sustains loss or
            $10,000.                                                  damage to "electronic data" and other
            The amount payable under this Addi-                       property, coverage under this Additional
            tional Coverage is additional insurance.                  Coverage will not continue once the
        (7) With respect to this Additional Cover-                    other property is repaired, rebuilt or re-
            age:                                                      placed.
           (a) We will not pay for the Increased                      The most we will pay under this Addi-
                Cost of Construction:                                 tional Coverage is $5,000 unless a
                                                                      higher Limit of Insurance is indicated in
                (i) Until the property is actually re-                the Declarations.
                    paired or replaced, at the same
                    or another premises; and                      (2) We will reduce the amount of your Busi-
                                                                      ness Income loss, other than Extra Ex-
               (ii) Unless the repairs or replace-                    pense, to the extent you can resume
                    ment are made as soon as rea-                     "operations", in whole or in part, by us-
                    sonably possible after the loss or                ing any other available:
                    damage, not to exceed two
                    years. We may extend this period                 (a) Source of materials; or
                    in writing during the two years.                 (b) Outlet for your products.
           (b) If the building is repaired or replaced            (3) If you do not resume "operations", or do
                at the same premises, or if you elect                 not resume "operations" as quickly as
                to rebuild at another premises, the                   possible, we will pay based on the
                most we will pay for the Increased                    length of time it would have taken to re-
                Cost of Construction is the increased                 sume "operations" as quickly as possi-
                cost of construction at the same                      ble.
                premises.
           (c) If the ordinance or law requires relo-
                cation to another premises, the most
                we will pay for the Increased Cost of
                Construction is the increased cost of
                construction at the new premises.




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        (4) Dependent property means property                       (2) We will pay for expenses incurred to
            owned by others whom you depend on                           remove or replace obstructions when
            to:                                                          repairing or replacing glass that is part
           (a) Deliver materials or services to you,                     of a building. This does not include re-
                or to others for your account. But                       moving or replacing window displays.
                services does not mean water,                     o. Fire Extinguisher Systems Recharge
                communication or power supply ser-                   Expense
                vices;                                              (1) We will pay:
           (b) Accept your products or services;                        (a) The cost of recharging or replacing,
           (c) Manufacture your products for deliv-                          whichever is less, your fire extin-
                ery to your customers under contract                         guishers and fire extinguishing sys-
                for sale; or                                                 tems (including hydrostatic testing if
           (d) Attract customers to your business.                           needed) if they are discharged on or
                                                                             within 100 feet of the described
            The dependent property must be located                           premises; and
            in the coverage territory of this policy.
                                                                        (b) For loss or damage to Covered
        (5) The coverage period for Business In-                             Property if such loss or damage is
            come under this Additional Coverage:                             the result of an accidental discharge
           (a) Begins 72 hours after the time of                             of chemicals from a fire extinguisher
                direct physical loss or damage                               or a fire extinguishing system.
                caused by or resulting from any Cov-                (2) No coverage will apply if the fire extin-
                ered Cause of Loss at the premises                       guishing system is discharged during in-
                of the dependent property; and                           stallation or testing.
           (b) Ends on the date when the property                   (3) The most we will pay under this Addi-
                at the premises of the dependent                         tional Coverage is $5,000 in any one
                property should be repaired, rebuilt                     occurrence.
                or replaced with reasonable speed
                and similar quality.                              p. Electronic Data
        (6) The Business Income coverage period,                    (1) Subject to the provisions of this Addi-
            as stated in Paragraph (5), does not in-                     tional Coverage, we will pay for the cost
            clude any increased period required due                      to replace or restore "electronic data"
            to the enforcement of any ordinance or                       which has been destroyed or corrupted
            law that:                                                    by a Covered Cause of Loss. To the ex-
                                                                         tent that "electronic data" is not replaced
           (a) Regulates the construction, use or                        or restored, the loss will be valued at the
                repair, or requires the tearing down                     cost of replacement of the media on
                of any property; or                                      which the "electronic data" was stored,
           (b) Requires any insured or others to                         with blank media of substantially identi-
                test for, monitor, clean up, remove,                     cal type.
                contain, treat, detoxify or neutralize,             (2) The Covered Causes of Loss applicable
                or in any way respond to, or assess                      to Business Personal Property include a
                the effects of "pollutants".                             computer virus, harmful code or similar
            The expiration date of this policy will not                  instruction introduced into or enacted on
            reduce the Business Income coverage                          a computer system (including "electronic
            period.                                                      data") or a network to which it is con-
        (7) The definition of Business Income con-                       nected, designed to damage or destroy
            tained in the Business Income Addi-                          any part of the system or disrupt its
            tional Coverage also applies to this                         normal operation. But there is no cover-
            Business Income From Dependent                               age for loss or damage caused by or re-
            Properties Additional Coverage.                              sulting from manipulation of a computer
                                                                         system (including "electronic data") by
      n. Glass Expenses                                                  any employee, including a temporary or
        (1) We will pay for expenses incurred to put                     leased employee, or by an entity re-
            up temporary plates or board up open-                        tained by you, or for you, to inspect, de-
            ings if repair or replacement of damaged                     sign, install, modify, maintain, repair or
            glass is delayed.                                            replace that system.




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        (3) The most we will pay under this Addi-                        (c) The Covered Causes of Loss include
             tional Coverage – Electronic Data for all                        a computer virus, harmful code or
             loss or damage sustained in any one                              similar instruction introduced into or
             policy year, regardless of the number of                         enacted on a computer system (in-
             occurrences of loss or damage or the                             cluding "electronic data") or a net-
             number of premises, locations or com-                            work to which it is connected, de-
             puter systems involved, is $10,000,                              signed to damage or destroy any
             unless a higher Limit of Insurance is                            part of the system or disrupt its nor-
             shown in the Declarations. If loss pay-                          mal operation. But there is no cover-
             ment on the first occurrence does not                            age for an interruption related to ma-
             exhaust this amount, then the balance is                         nipulation of a computer system
             available for subsequent loss or damage                          (including "electronic data") by any
             sustained in, but not after, that policy                         employee, including a temporary or
             year. With respect to an occurrence                              leased employee, or by an entity re-
             which begins in one policy year and                              tained by you, or for you, to inspect,
             continues or results in additional loss or                       design, install, modify, maintain, re-
             damage in a subsequent policy year(s),                           pair or replace that system.
             all loss or damage is deemed to be sus-                  (3) The most we will pay under this Addi-
             tained in the policy year in which the oc-                   tional Coverage – Interruption Of Com-
             currence began.                                              puter Operations for all loss sustained
      q. Interruption Of Computer Operations                              and expense incurred in any one policy
        (1) Subject to all provisions of this Addi-                       year, regardless of the number of inter-
             tional Coverage, you may extend the in-                      ruptions or the number of premises, lo-
             surance that applies to Business Income                      cations or computer systems involved, is
             and Extra Expense to apply to a sus-                         $10,000 unless a higher Limit of Insur-
             pension of "operations" caused by an in-                     ance is shown in the Declarations. If
             terruption in computer operations due to                     loss payment relating to the first inter-
             destruction or corruption of "electronic                     ruption does not exhaust this amount,
             data" due to a Covered Cause of Loss.                        then the balance is available for loss or
                                                                          expense sustained or incurred as a re-
        (2) With respect to the coverage provided                         sult of subsequent interruptions in that
             under this Additional Coverage, the                          policy year. A balance remaining at the
             Covered Causes of Loss are subject to                        end of a policy year does not increase
             the following:                                               the amount of insurance in the next pol-
            (a) Coverage under this Additional Cov-                       icy year. With respect to any interruption
                  erage – Interruption Of Computer                        which begins in one policy year and
                  Operations is limited to the "specified                 continues or results in additional loss or
                  causes of loss" and Collapse.                           expense in a subsequent policy year(s),
            (b) If the Businessowners Coverage                            all loss and expense is deemed to be
                  Form is endorsed to add a Covered                       sustained or incurred in the policy year
                  Cause of Loss, the additional Cov-                      in which the interruption began.
                  ered Cause of Loss does not apply                   (4) This Additional Coverage – Interruption
                  to the coverage provided under this                     Of Computer Operations does not apply
                  Additional Coverage.                                    to loss sustained or expense incurred
                                                                          after the end of the "period of restora-
                                                                          tion", even if the amount of insurance
                                                                          stated in (3) above has not been ex-
                                                                          hausted.
                                                                      (5) Coverage for Business Income does not
                                                                          apply when a suspension of "operations"
                                                                          is caused by destruction or corruption of
                                                                          "electronic data", or any loss or damage
                                                                          to "electronic data", except as provided
                                                                          under Paragraphs (1) through (4) of this
                                                                          Additional Coverage.




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        (6) Coverage for Extra Expense does not                       (4) The coverage provided under this Lim-
            apply when action is taken to avoid or                        ited Coverage does not increase the
            minimize a suspension of "operations"                         applicable Limit of Insurance on any
            caused by destruction or corruption of                        Covered Property. If a particular occur-
            "electronic data", or any loss or damage                      rence results in loss or damage by
            to "electronic data", except as provided                      "fungi", wet rot or dry rot, and other loss
            under Paragraphs (1) through (4) of this                      or damage, we will not pay more, for the
            Additional Coverage.                                          total of all loss or damage, than the ap-
      r. Limited Coverage For "Fungi", Wet Rot                            plicable Limit of Insurance on the af-
         Or Dry Rot                                                       fected Covered Property.
        (1) The coverage described in Paragraphs                          If there is covered loss or damage to
            r.(2) and r.(6) only applies when the                         Covered Property, not caused by
            "fungi", wet rot or dry rot are the result of                 "fungi", wet rot or dry rot, loss payment
            a "specified cause of loss" other than                        will not be limited by the terms of this
            fire or lightning that occurs during the                      Limited Coverage, except to the extent
            policy period and only if all reasonable                      that "fungi", wet rot or dry rot causes an
            means were used to save and preserve                          increase in the loss. Any such increase
            the property from further damage at the                       in the loss will be subject to the terms of
            time of and after that occurrence.                            this Limited Coverage.
        (2) We will pay for loss or damage by                         (5) The terms of this Limited Coverage do
            "fungi", wet rot or dry rot. As used in this                  not increase or reduce the coverage
            Limited Coverage, the term loss or                            provided under the Water Damage,
            damage means:                                                 Other Liquids, Powder Or Molten Mate-
                                                                          rial Damage or Collapse Additional Cov-
           (a) Direct physical loss or damage to                          erages.
                Covered Property caused by "fungi",
                wet rot or dry rot, including the cost                (6) The following applies only if Business
                of removal of the "fungi", wet rot or                     Income and/or Extra Expense Coverage
                dry rot;                                                  applies to the described premises and
                                                                          only if the suspension of "operations"
           (b) The cost to tear out and replace any                       satisfies all the terms and conditions of
                part of the building or other property                    the applicable Business Income and/or
                as needed to gain access to the                           Extra Expense Additional Coverage.
                "fungi", wet rot or dry rot; and
                                                                         (a) If the loss which resulted in "fungi",
           (c) The cost of testing performed after                             wet rot or dry rot does not in itself
                removal, repair, replacement or res-                           necessitate a suspension of "opera-
                toration of the damaged property is                            tions", but such suspension is nec-
                completed, provided there is a rea-                            essary due to loss or damage to
                son to believe that "fungi", wet rot or                        property caused by "fungi", wet rot or
                dry rot are present.                                           dry rot, then our payment under the
        (3) The coverage described under this                                  Business Income and/or Extra Ex-
            Limited Coverage is limited to $15,000.                            pense is limited to the amount of loss
            Regardless of the number of claims, this                           and/or expense sustained in a period
            limit is the most we will pay for the total                        of not more than 30 days. The days
            of all loss or damage arising out of all                           need not be consecutive.
            occurrences of "specified causes of                          (b) If a covered suspension of "opera-
            loss" (other than fire or lightning) which                         tions" was caused by loss or damage
            take place in a 12-month period (starting                          other than "fungi", wet rot or dry rot,
            with the beginning of the present annual                           but remediation of "fungi", wet rot or
            policy period). With respect to a particu-                         dry rot prolongs the "period of resto-
            lar occurrence of loss which results in                            ration", we will pay for loss and/or
            "fungi", wet rot or dry rot, we will not pay                       expense sustained during the delay
            more than the total of $15,000 even if                             (regardless of when such a delay
            the "fungi", wet rot or dry rot continues                          occurs during the "period of restora-
            to be present or active, or recurs, in a                           tion"), but such coverage is limited to
            later policy period.                                               30 days. The days need not be con-
                                                                               secutive.




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   6. Coverage Extensions                                           (3) Period Of Coverage
      In addition to the Limits of Insurance of Section                  With respect to insurance on or at each
      I – Property, you may extend the insurance                         newly acquired or constructed property,
      provided by this policy as provided below.                         coverage will end when any of the fol-
      Except as otherwise provided, the following Ex-                    lowing first occurs:
      tensions apply to property located in or on the                   (a) This policy expires;
      building described in the Declarations or in the                  (b) 30 days expire after you acquire the
      open (or in a vehicle) within 100 feet of the de-                      property or begin construction of that
      scribed premises.                                                      part of the building that would qualify
      a. Newly Acquired Or Constructed                                       as covered property; or
          Property                                                      (c) You report values to us.
         (1) Buildings                                                   We will charge you additional premium
              If this policy covers Buildings, you may                   for values reported from the date you
              extend that insurance to apply to:                         acquire the property or begin construc-
             (a) Your new buildings while being built                    tion of that part of the building that would
                   on the described premises; and                        qualify as covered property.
             (b) Buildings you acquire at premises                b. Personal Property Off-premises
                   other than the one described, in-                 You may extend the insurance provided by
                   tended for:                                       this policy to apply to your Covered Prop-
                   (i) Similar use as the building de-               erty, other than "money" and "securities",
                       scribed in the Declarations; or               "valuable papers and records" or accounts
                                                                     receivable, while it is in the course of transit
                  (ii) Use as a warehouse.                           or at a premises you do not own, lease or
              The most we will pay for loss or damage                operate. The most we will pay for loss or
              under this Extension is $250,000 at                    damage under this Extension is $10,000.
              each building.                                      c. Outdoor Property
         (2) Business Personal Property                               You may extend the insurance provided by
              If this policy covers Business Personal                 this policy to apply to your outdoor fences,
              Property, you may extend that insurance                 radio and television antennas (including
              to apply to:                                            satellite dishes), signs (other than signs at-
                  (a) Business Personal Property,                     tached to buildings), trees, shrubs and
                       including such property that you               plants, including debris removal expense.
                       newly acquire, at any location                 Loss or damage must be caused by or re-
                       you acquire;                                   sult from any of the following causes of
                                                                      loss:
                  (b) Business Personal Property,
                       including such property that you              (1) Fire;
                       newly acquire, located at your                (2) Lightning;
                       newly constructed or acquired                 (3) Explosion;
                       buildings at the location de-
                       scribed in the Declarations; or               (4) Riot or Civil Commotion; or
                  (c) Business Personal Property that                (5) Aircraft.
                       you newly acquire, located at the              The most we will pay for loss or damage
                       described premises.                            under this Extension is $2,500, unless a
              This Extension does not apply to per-                   higher Limit of Insurance for Outdoor Prop-
              sonal property that you temporarily ac-                 erty is shown in the Declarations, but not
              quire in the course of installing or per-               more than $1,000 for any one tree, shrub or
              forming work on such property or your                   plant.
              wholesale activities.
              The most we will pay for loss or damage
              under this Extension is $100,000 at
              each building.




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      d. Personal Effects                                               (b) Paragraph B.1.d., Nuclear Hazard;
         You may extend the insurance that applies                      (c) Paragraph B.1.f., War And Military
         to Business Personal Property to apply to                           Action;
         personal effects owned by you, your offi-                      (d) Paragraph B.2.f., Dishonesty;
         cers, your partners or "members", your
         "managers" or your employees. This exten-                      (e) Paragraph B.2.g., False Pretense;
         sion does not apply to:                                         (f) Paragraph B.2.m.(2), Errors Or
        (1) Tools or equipment used in your busi-                            Omissions; and
             ness; or                                                   (g) Paragraph B.3.
        (2) Loss or damage by theft.                               f. Accounts Receivable
         The most we will pay for loss or damage                     (1) You may extend the insurance that
         under this Extension is $2,500 at each de-                      applies to Business Personal Property
         scribed premises.                                               to apply to accounts receivable. We will
      e. Valuable Papers And Records                                     pay:
        (1) You may extend the insurance that                           (a) All amounts due from your custom-
             applies to Business Personal Property                           ers that you are unable to collect;
             to apply to direct physical loss or dam-                   (b) Interest charges on any loan re-
             age to "valuable papers and records"                            quired to offset amounts you are un-
             that you own, or that are in your care,                         able to collect pending our payment
             custody or control caused by or resulting                       of these amounts;
             from a Covered Cause of Loss. This                         (c) Collection expenses in excess of
             Coverage Extension includes the cost to                         your normal collection expenses that
             research, replace or restore the lost in-                       are made necessary by loss or dam-
             formation on "valuable papers and re-                           age; and
             cords" for which duplicates do not exist.
                                                                        (d) Other reasonable expenses that you
        (2) This Coverage Extension does not apply                           incur to reestablish your records of
             to:                                                             accounts receivable;
            (a) Property held as samples or for                          that result from direct physical loss or
                 delivery after sale; and                                damage by any Covered Cause of Loss
            (b) Property in storage away from the                        to your records of accounts receivable.
                 premises shown in the Declarations.                 (2) The most we will pay under this Cover-
        (3) The most we will pay under this Cover-                       age Extension for loss or damage in any
             age Extension for loss or damage to                         one occurrence at the described prem-
             "valuable papers and records" in any                        ises is $10,000, unless a higher Limit of
             one occurrence at the described prem-                       Insurance for accounts receivable is
             ises is $10,000, unless a higher Limit of                   shown in the Declarations.
             Insurance for "valuable papers and re-                      For accounts receivable not at the de-
             cords" is shown in the Declarations.                        scribed premises, the most we will pay
             For "valuable papers and records" not at                    is $5,000.
             the described premises, the most we will                (3) Paragraph B. Exclusions in Section I –
             pay is $5,000.                                              Property does not apply to this Cover-
        (4) Loss or damage to "valuable papers and                       age Extension except for:
             records" will be valued at the cost of res-                (a) Paragraph B.1.c., Governmental
             toration or replacement of the lost or
                                                                             Action;
             damaged information. To the extent that
             the contents of the "valuable papers and                   (b) Paragraph B.1.d., Nuclear Hazard;
             records" are not restored, the "valuable                   (c) Paragraph B.1.f., War And Military
             papers and records" will be valued at                           Action;
             the cost of replacement with blank mate-
             rials of substantially identical type.                     (d) Paragraph B.2.f., Dishonesty;
        (5) Paragraph B. Exclusions in Section I –                      (e) Paragraph B.2.g., False Pretense;
             Property does not apply to this Cover-                      (f) Paragraph B.3.; and
             age Extension except for:                                  (g) Paragraph B.6., Accounts Receiv-
            (a) Paragraph B.1.c., Governmental                               able Exclusion.
                 Action;



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B. Exclusions                                                          (5) Volcanic eruption, explosion or effusion.
   1. We will not pay for loss or damage caused                            But if volcanic eruption, explosion or ef-
      directly or indirectly by any of the following.                      fusion results in fire, building glass
      Such loss or damage is excluded regardless of                        breakage or volcanic action, we will pay
      any other cause or event that contributes con-                       for the loss or damage caused by that
      currently or in any sequence to the loss. These                      fire, building glass breakage or volcanic
      exclusions apply whether or not the loss event                       action.
      results in widespread damage or affects a sub-                       Volcanic action means direct loss or
      stantial area.                                                       damage resulting from the eruption of a
      a. Ordinance Or Law                                                  volcano when the loss or damage is
                                                                           caused by:
         (1) The enforcement of any ordinance or
               law:                                                       (a) Airborne volcanic blast or airborne
                                                                               shock waves;
              (a) Regulating the construction, use or
                   repair of any property; or                             (b) Ash, dust or particulate matter; or
             (b) Requiring the tearing down of any                        (c) Lava flow.
                   property, including the cost of remov-                  All volcanic eruptions that occur within
                   ing its debris.                                         any 168-hour period will constitute a sin-
         (2) This exclusion, Ordinance Or Law, ap-                         gle occurrence.
               plies whether the loss results from:                        Volcanic action does not include the
              (a) An ordinance or law that is enforced                     cost to remove ash, dust or particulate
                   even if the property has not been                       matter that does not cause direct physi-
                   damaged; or                                             cal loss of or damage to Covered Prop-
                                                                           erty.
             (b) The increased costs incurred to
                   comply with an ordinance or law in               c. Governmental Action
                   the course of construction, repair,                 Seizure or destruction of property by order
                   renovation, remodeling or demolition                of governmental authority.
                   of property or removal of its debris,               But we will pay for loss or damage caused
                   following a physical loss to that prop-             by or resulting from acts of destruction or-
                   erty.                                               dered by governmental authority and taken
      b. Earth Movement                                                at the time of a fire to prevent its spread, if
         (1) Earthquake, including any earth sinking,                  the fire would be covered under this policy.
               rising or shifting related to such event;            d. Nuclear Hazard
         (2) Landslide, including any earth sinking,                   Nuclear reaction or radiation, or radioactive
               rising or shifting related to such event;               contamination, however caused.
         (3) Mine subsidence, meaning subsidence                       But if nuclear reaction or radiation, or radio-
               of a man-made mine, whether or not                      active contamination, results in fire, we will
               mining activity has ceased;                             pay for the loss or damage caused by that
         (4) Earth sinking (other than sinkhole col-                   fire.
               lapse), rising or shifting including soil            e. Utility Services
               conditions which cause settling, crack-                 The failure of power, communication, water
               ing or other disarrangement of founda-                  or other utility service supplied to the de-
               tions or other parts of realty. Soil condi-             scribed premises, however caused, if the
               tions include contraction, expansion,                   failure:
               freezing, thawing, erosion, improperly
               compacted soil and the action of water                  (1) Originates away from the described
               under the ground surface.                                   premises; or
          But if Earth Movement, as described in                       (2) Originates at the described premises,
          Paragraphs (1) through (4) above, results in                     but only if such failure involves equip-
          fire or explosion, we will pay for the loss or                   ment used to supply the utility service to
          damage caused by that fire or explosion.                         the described premises from a source
                                                                           away from the described premises.
                                                                       Failure of any utility service includes lack of
                                                                       sufficient capacity and reduction in supply.




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         Loss or damage caused by a surge of                          This exclusion applies regardless of
         power is also excluded, if the surge would                   whether any of the above, in Paragraphs
         not have occurred but for an event causing                   (1) through (5), is caused by an act of na-
         a failure of power.                                          ture or is otherwise caused. An example of
         But if the failure or surge of power, or the                 a situation to which this exclusion applies is
         failure of communication, water or other util-               the situation where a dam, levee, seawall or
         ity service, results in a Covered Cause of                   other boundary or containment system fails
         Loss, we will pay for the loss or damage                     in whole or in part, for any reason, to con-
         caused by that Covered Cause of Loss.                        tain the water.
         Communication services include but are not                   But if any of the above, in Paragraphs (1)
         limited to service relating to Internet access               through (5), results in fire, explosion or
         or access to any electronic, cellular or satel-              sprinkler leakage, we will pay for the loss or
         lite network.                                                damage caused by that fire, explosion or
                                                                      sprinkler leakage.
         This exclusion does not apply to loss or
         damage to "computer(s)" and "electronic                   h. Certain Computer-related Losses
         data".                                                      (1) The failure, malfunction or inadequacy
      f. War And Military Action                                          of:
        (1) War, including undeclared or civil war;                      (a) Any of the following, whether belong-
                                                                               ing to any insured or to others:
        (2) Warlike action by a military force, includ-
              ing action in hindering or defending                             (i) "Computer" hardware, including
              against an actual or expected attack, by                             microprocessors or other elec-
              any government, sovereign or other au-                               tronic data processing equipment
              thority using military personnel or other                            as may be described elsewhere
              agents; or                                                           in this policy;
        (3) Insurrection,       rebellion,    revolution,                     (ii) "Computer" application software
              usurped power, or action taken by gov-                               or other "electronic data" as may
              ernmental authority in hindering or de-                              be described elsewhere in this
              fending against any of these.                                        policy;
      g. Water                                                              (iii) "Computer" operating systems
                                                                                   and related software;
        (1) Flood, surface water, waves (including
              tidal wave and tsunami), tides, tidal wa-                     (iv) "Computer" networks;
              ter, overflow of any body of water, or                          (v) Microprocessors         ("computer"
              spray from any of these, all whether or                              chips) not part of any "computer"
              not driven by wind (including storm                                  system; or
              surge);                                                       (vi) Any other computerized or elec-
        (2) Mudslide or mudflow;                                                   tronic equipment or components;
        (3) Water that backs up or overflows or is                                 or
              otherwise discharged from a sewer,                         (b) Any other products, and any ser-
              drain, sump, sump pump or related                                vices, data or functions that directly
              equipment;                                                       or indirectly use or rely upon, in any
        (4) Water under the ground surface press-                              manner, any of the items listed in
              ing on, or flowing or seeping through:                           Paragraph (a) above;
             (a) Foundations, walls, floors or paved                      due to the inability to correctly recog-
                  surfaces;                                               nize, distinguish, interpret or accept one
                                                                          or more dates or times. An example is
             (b) Basements, whether paved or not; or                      the inability of computer software to rec-
             (c) Doors, windows or other openings;                        ognize the year 2000.
                  or                                                 (2) Any advice, consultation, design,
        (5) Waterborne material carried or other-                         evaluation, inspection, installation, main-
              wise moved by any of the water referred                     tenance, repair, replacement or supervi-
              to in Paragraph (1), (3) or (4), or mate-                   sion provided or done by you or for you
              rial carried or otherwise moved by mud-                     to determine, rectify or test for, any po-
              slide or mudflow.                                           tential or actual problems described in
                                                                          Paragraph (1) above.




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          However, if excluded loss or damage, as                      For the purpose of this exclusion, electrical,
          described in Paragraph (1) above results in                  magnetic or electromagnetic energy in-
          a "specified cause of loss" under Section I –                cludes but is not limited to:
          Property, we will pay only for the loss or                  (1) Electrical current, including arcing;
          damage caused by such "specified cause
          of loss".                                                   (2) Electrical charge produced or conducted
                                                                           by a magnetic or electromagnetic field;
          We will not pay for repair, replacement or
          modification of any items in Paragraph                      (3) Pulse of electromagnetic energy; or
          (1)(a) or (1)(b) to correct any deficiencies or             (4) Electromagnetic waves or microwaves.
          change any features.
                                                                       But if fire results, we will pay for the loss or
       i. "Fungi", Wet Rot Or Dry Rot                                  damage caused by fire.
          Presence, growth, proliferation, spread or                   We will pay for loss or damage to "com-
          any activity of "fungi", wet rot or dry rot.                 puter(s)" due to artificially generated elec-
          But if "fungi", wet rot or dry rot result in a               trical, magnetic or electromagnetic energy if
          "specified cause of loss", we will pay for the               such loss or damage is caused by or results
          loss or damage caused by that "specified                     from:
          cause of loss".                                             (1) An occurrence that took place within
          This exclusion does not apply:                                   100 feet of the described premises; or
         (1) When "fungi", wet rot or dry rot result                 (2) Interruption of electric power supply,
              from fire or lightning; or                                  power surge, blackout or brownout if the
                                                                          cause of such occurrence took place
         (2) To the extent that coverage is provided                      within 100 feet of the described prem-
              in the Limited Coverage For "Fungi",                        ises.
              Wet Rot Or Dry Rot Additional Cover-
              age, with respect to loss or damage by a             b. Consequential Losses
              cause of loss other than fire or lightning.             Delay, loss of use or loss of market.
       j. Virus Or Bacteria                                        c. Smoke, Vapor, Gas
         (1) Any virus, bacterium or other microor-                   Smoke, vapor or gas from agricultural
              ganism that induces or is capable of in-                smudging or industrial operations.
              ducing physical distress, illness or dis-
                                                                   d. Steam Apparatus
              ease.
                                                                      Explosion of steam boilers, steam pipes,
         (2) However, the exclusion in Paragraph (1)
                                                                      steam engines or steam turbines owned or
              does not apply to loss or damage
                                                                      leased by you, or operated under your con-
              caused by or resulting from "fungi", wet
                                                                      trol. But if explosion of steam boilers, steam
              rot or dry rot. Such loss or damage is
                                                                      pipes, steam engines or steam turbines re-
              addressed in Exclusion i.;
                                                                      sults in fire or combustion explosion, we will
         (3) With respect to any loss or damage                       pay for the loss or damage caused by that
              subject to the exclusion in Paragraph                   fire or combustion explosion. We will also
              (1), such exclusion supersedes any ex-                  pay for loss or damage caused by or result-
              clusion relating to "pollutants".                       ing from the explosion of gases or fuel
   2. We will not pay for loss or damage caused by                    within the furnace of any fired vessel or
      or resulting from any of the following:                         within the flues or passages through which
                                                                      the gases of combustion pass.
      a. Electrical Apparatus
                                                                   e. Frozen Plumbing
          Artificially generated electrical, magnetic or
          electromagnetic energy that damages, dis-                   Water, other liquids, powder or molten ma-
          turbs, disrupts or otherwise interferes with                terial that leaks or flows from plumbing,
          any:                                                        heating, air conditioning or other equipment
                                                                      (except fire protective systems) caused by
         (1) Electrical or electronic wire, device,                   or resulting from freezing, unless:
              appliance, system or network; or
                                                                     (1) You do your best to maintain heat in the
         (2) Device, appliance, system or network                         building or structure; or
              utilizing cellular or satellite technology.
                                                                      (2) You drain the equipment and shut off
                                                                          the supply if the heat is not maintained.




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      f. Dishonesty                                                        (b) To collapse caused by one or more
          Dishonest or criminal acts by you, anyone                              of the following:
          else with an interest in the property, or any                          (i) The "specified causes of loss";
          of your or their partners, "members", offi-                           (ii) Breakage of building glass;
          cers, "managers", employees, directors,
          trustees, authorized representatives or any-                         (iii) Weight of rain that collects on a
          one to whom you entrust the property for                                   roof; or
          any purpose:                                                         (iv) Weight of people or personal
         (1) Acting alone or in collusion with others;                               property.
              or                                                     j. Pollution
         (2) Whether or not occurring during the                        We will not pay for loss or damage caused
              hours of employment.                                      by or resulting from the discharge, disper-
          This exclusion does not apply to acts of de-                  sal, seepage, migration, release or escape
          struction by your employees; but theft by                     of "pollutants" unless the discharge, disper-
          employees is not covered.                                     sal, seepage, migration, release or escape
                                                                        is itself caused by any of the "specified
          With respect to accounts receivable and                       causes of loss". But if the discharge, dis-
          "valuable papers and records", this exclu-                    persal, seepage, migration, release or es-
          sion does not apply to carriers for hire.                     cape of "pollutants" results in a "specified
          This exclusion does not apply to coverage                     cause of loss", we will pay for the loss or
          that is provided under the Employee Dis-                      damage caused by that "specified cause of
          honesty Optional Coverage.                                    loss".
      g. False Pretense                                             k. Neglect
          Voluntary parting with any property by you                    Neglect of an insured to use all reasonable
          or anyone else to whom you have entrusted                     means to save and preserve property from
          the property if induced to do so by any                       further damage at and after the time of loss.
          fraudulent scheme, trick, device or false                  l. Other Types Of Loss
          pretense.
                                                                       (1) Wear and tear;
      h. Exposed Property
                                                                       (2) Rust or other corrosion, decay, deterio-
          Rain, snow, ice or sleet to personal prop-                         ration, hidden or latent defect or any
          erty in the open.                                                  quality in property that causes it to dam-
       i. Collapse                                                           age or destroy itself;
         (1) Collapse, including any of the following                  (3) Smog;
              conditions of property or any part of the                (4) Settling, cracking, shrinking or expan-
              property:                                                      sion;
             (a) An abrupt falling down or caving in;                  (5) Nesting or infestation, or discharge or
             (b) Loss of structural integrity, including                     release of waste products or secretions,
                  separation of parts of the property or                     by insects, birds, rodents or other ani-
                  property in danger of falling down or                      mals;
                  caving in; or                                        (6) Mechanical breakdown, including rup-
             (c) Any cracking, bulging, sagging,                            ture or bursting caused by centrifugal
                  bending, leaning, settling, shrinkage                     force.
                  or expansion as such condition re-                        This exclusion does not apply with re-
                  lates to Paragraph i.(1)(a) or i.(1)(b).                  spect to the breakdown of "com-
          But if collapse results in a Covered Cause                        puter(s)";
          of Loss at the described premises, we will                   (7) The following causes of loss to personal
          pay for the loss or damage caused by that                          property:
          Covered Cause of Loss.
                                                                           (a) Dampness or dryness of atmos-
         (2) This Exclusion i., does not apply:                                  phere;
             (a) To the extent that coverage is pro-                       (b) Changes in or extremes of tempera-
                  vided under the Additional Coverage                            ture; or
                  – Collapse; or
                                                                           (c) Marring or scratching.




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          But if an excluded cause of loss that is                b. Acts Or Decisions
          listed in Paragraphs (1) through (7) above                  Acts or decisions, including the failure to act
          results in a "specified cause of loss" or                   or decide, of any person, group, organiza-
          building glass breakage, we will pay for the                tion or governmental body.
          loss or damage caused by that "specified
          cause of loss" or building glass breakage.              c. Negligent Work
      m. Errors Or Omissions                                          Faulty, inadequate or defective:
          Errors or omissions in:                                    (1) Planning, zoning, development, survey-
                                                                          ing, siting;
         (1) Programming, processing or storing
              data, as described under "electronic                   (2) Design, specifications, workmanship,
              data" or in any "computer" operations; or                   repair, construction, renovation, remod-
                                                                          eling, grading, compaction;
         (2) Processing or copying "valuable papers
              and records".                                          (3) Materials used in repair, construction,
                                                                          renovation or remodeling; or
          However, we will pay for direct physical loss
          or damage caused by resulting fire or ex-                  (4) Maintenance;
          plosion if these causes of loss would be                    of part or all of any property on or off the
          covered by this coverage form.                              described premises.
      n. Installation, Testing, Repair                         4. Additional Exclusion
          Errors or deficiency in design, installation,           The following applies only to the property
          testing, maintenance, modification or repair            specified in this Additional Exclusion.
          of your "computer" system including "elec-              Loss Or Damage To Products
          tronic data".
                                                                  We will not pay for loss or damage to any mer-
          However, we will pay for direct physical loss           chandise, goods or other product caused by or
          or damage caused by resulting fire or ex-               resulting from error or omission by any person
          plosion if these causes of loss would be                or entity (including those having possession
          covered by this coverage form.                          under an arrangement where work or a portion
      o. Electrical Disturbance                                   of the work is outsourced) in any stage of the
          Electrical or magnetic injury, disturbance or           development, production or use of the product,
          erasure of "electronic data", except as pro-            including planning, testing, processing, pack-
          vided for under the Additional Coverages of             aging, installation, maintenance or repair. This
          Section I – Property.                                   exclusion applies to any effect that compro-
                                                                  mises the form, substance or quality of the
          However, we will pay for direct loss or dam-            product. But if such error or omission results in
          age caused by lightning.                                a Covered Cause of Loss, we will pay for the
      p. Continuous Or Repeated Seepage Or                        loss or damage caused by that Covered Cause
          Leakage Of Water                                        of Loss.
          Continuous or repeated seepage or leak-              5. Business Income And Extra Expense
          age of water, or the presence or condensa-              Exclusions
          tion of humidity, moisture or vapor, that oc-           a. We will not pay for:
          curs over a period of 14 days or more.
                                                                     (1) Any Extra Expense, or increase of Busi-
   3. We will not pay for loss or damage caused by                        ness Income loss, caused by or result-
      or resulting from any of the following Para-                        ing from:
      graphs a. through c. But if an excluded cause
      of loss that is listed in Paragraphs a. through c.                 (a) Delay in rebuilding, repairing or
      results in a Covered Cause of Loss, we will pay                         replacing the property or resuming
      for the loss or damage caused by that Covered                           "operations", due to interference at
      Cause of Loss.                                                          the location of the rebuilding, repair
                                                                              or replacement by strikers or other
      a. Weather Conditions                                                   persons; or
          Weather conditions. But this exclusion only
          applies if weather conditions contribute in
          any way with a cause or event excluded in
          Paragraph B.1. above to produce the loss
          or damage.




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            (b) Suspension, lapse or cancellation of               d. Business Income From Dependent Proper-
                 any license, lease or contract. But if               ties;
                 the suspension, lapse or cancellation             e. Electronic Data; and
                 is directly caused by the suspension
                 of "operations", we will cover such               f. Interruption Of Computer Operations.
                 loss that affects your Business In-            4. Building Limit – Automatic Increase
                 come during the "period of restora-
                                                                   a. In accordance with Paragraph C.4.b., the
                 tion" and any extension of the "pe-
                                                                      Limit of Insurance for Buildings will auto-
                 riod of restoration" in accordance
                                                                      matically increase by 8%, unless a different
                 with the terms of the Extended Busi-
                                                                      percentage of annual increase is shown in
                 ness Income Additional Coverage.
                                                                      the Declarations.
         (2) Any other consequential loss.
                                                                   b. The amount of increase is calculated as
      b. With respect to this exclusion, suspension                   follows:
          means:
                                                                     (1) Multiply the Building limit that applied on
         (1) The partial slowdown or complete ces-                         the most recent of the policy inception
             sation of your business activities; and                       date, the policy anniversary date, or any
         (2) That a part or all of the described prem-                     other policy change amending the Build-
             ises is rendered untenantable, if cover-                      ing limit by:
             age for Business Income applies.                             (a) The percentage of annual increase
   6. Accounts Receivable Exclusion                                            shown in the Declarations, ex-
                                                                               pressed as a decimal (example: 7%
      The following additional exclusion applies to                            is .07); or
      the Accounts Receivable Coverage Extension:
                                                                         (b) .08, if no percentage of annual in-
      We will not pay for:                                                     crease is shown in the Declarations;
      a. Loss or damage caused by or resulting                                 and
          from alteration, falsification, concealment or             (2) Multiply the number calculated in accor-
          destruction of records of accounts receiv-                       dance with b.(1) by the number of days
          able done to conceal the wrongful giving,                        since the beginning of the current policy
          taking or withholding of "money", "securi-                       year, or the effective date of the most
          ties" or other property.                                         recent policy change amending the
          This exclusion applies only to the extent of                     Building limit, divided by 365.
          the wrongful giving, taking or withholding.                      Example:
      b. Loss or damage caused by or resulting                             If:
          from bookkeeping, accounting or billing er-
          rors or omissions.                                               The applicable Building limit is
                                                                           $100,000. The annual percentage in-
      c. Any loss or damage that requires any audit                        crease is 8%. The number of days since
          of records or any inventory computation to                       the beginning of the policy year (or last
          prove its factual existence.                                     policy change) is 146.
C. Limits Of Insurance                                                     The amount of increase is
   1. The most we will pay for loss or damage in any                       $100,000 x .08 x 146  365 = $3,200.
      one occurrence is the applicable Limits of In-
      surance of Section I – Property shown in the              5. Business Personal Property Limit –
      Declarations.                                                Seasonal Increase
   2. The most we will pay for loss of or damage to                a. Subject to Paragraph 5.b., the Limit of
      outdoor signs attached to buildings is $1,000                   Insurance for Business Personal Property is
      per sign in any one occurrence.                                 automatically increased by:
   3. The amounts of insurance applicable to the                     (1) The Business Personal Property – Sea-
      Coverage Extensions and the following Addi-                          sonal Increase percentage shown in the
      tional Coverages apply in accordance with the                        Declarations; or
      terms of such coverages and are in addition to                 (2) 25% if no Business Personal Property –
      the Limits of Insurance of Section I – Property:                     Seasonal Increase percentage is shown
      a. Fire Department Service Charge;                                   in the Declarations;
      b. Pollutant Clean-up And Removal;                              to provide for seasonal variances.
       c. Increased Cost Of Construction;




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      b. The increase described in Paragraph 5.a                2. Appraisal
          will apply only if the Limit of Insurance                If we and you disagree on the amount of loss,
          shown for Business Personal Property in                  either may make written demand for an ap-
          the Declarations is at least 100% of your                praisal of the loss. In this event, each party will
          average monthly values during the lesser                 select a competent and impartial appraiser.
          of:                                                      The two appraisers will select an umpire. If
         (1) The 12 months immediately preceding                   they cannot agree, either may request that se-
              the date the loss or damage occurs; or               lection be made by a judge of a court having
         (2) The period of time you have been in                   jurisdiction. The appraisers will state separately
              business as of the date the loss or dam-             the amount of loss. If they fail to agree, they
              age occurs.                                          will submit their differences to the umpire. A
                                                                   decision agreed to by any two will be binding.
D. Deductibles                                                     Each party will:
   1. We will not pay for loss or damage in any one                a. Pay its chosen appraiser; and
      occurrence until the amount of loss or damage
      exceeds the Deductible shown in the Declara-                 b. Bear the other expenses of the appraisal
      tions. We will then pay the amount of loss or                     and umpire equally.
      damage in excess of the Deductible up to the                 If there is an appraisal, we will still retain our
      applicable Limit of Insurance of Section I –                 right to deny the claim.
      Property.                                                 3. Duties In The Event Of Loss Or Damage
   2. Regardless of the amount of the Deductible,                  a. You must see that the following are done in
      the most we will deduct from any loss or dam-                     the event of loss or damage to Covered
      age under all of the following Optional Cover-                    Property:
      ages in any one occurrence is the Optional
      Coverage Deductible shown in the Declara-                        (1) Notify the police if a law may have been
      tions:                                                               broken.
      a. Money and Securities;                                         (2) Give us prompt notice of the loss or
                                                                           damage. Include a description of the
      b. Employee Dishonesty;                                              property involved.
      c. Outdoor Signs; and                                            (3) As soon as possible, give us a descrip-
      d. Forgery or Alteration.                                            tion of how, when and where the loss or
      But this Optional Coverage Deductible will not                       damage occurred.
      increase the Deductible shown in the Declara-                    (4) Take all reasonable steps to protect the
      tions. This Deductible will be used to satisfy the                   Covered Property from further damage,
      requirements of the Deductible in the Declara-                       and keep a record of your expenses
      tions.                                                               necessary to protect the Covered Prop-
   3. No deductible applies to the following Addi-                         erty, for consideration in the settlement
      tional Coverages:                                                    of the claim. This will not increase the
                                                                           Limits of Insurance of Section I – Prop-
      a. Fire Department Service Charge;                                   erty. However, we will not pay for any
      b. Business Income;                                                  subsequent loss or damage resulting
      c. Extra Expense;                                                    from a cause of loss that is not a Cov-
                                                                           ered Cause of Loss. Also, if feasible, set
      d. Civil Authority; and                                              the damaged property aside and in the
      e. Fire Extinguisher Systems Recharge Ex-                            best possible order for examination.
          pense.                                                       (5) At our request, give us complete inven-
E. Property Loss Conditions                                                tories of the damaged and undamaged
                                                                           property. Include quantities, costs, val-
   1. Abandonment
                                                                           ues and amount of loss claimed.
      There can be no abandonment of any property
                                                                       (6) As often as may be reasonably required,
      to us.
                                                                           permit us to inspect the property proving
                                                                           the loss or damage and examine your
                                                                           books and records.




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              Also permit us to take samples of dam-              d. Except as provided in Paragraphs (2)
              aged and undamaged property for in-                    through (7) below, we will determine the
              spection, testing and analysis, and per-               value of Covered Property as follows:
              mit us to make copies from your books                 (1) At replacement cost without deduction
              and records.                                               for depreciation, subject to the following:
         (7) Send us a signed, sworn proof of loss                      (a) If, at the time of loss, the Limit of
              containing the information we request to                       Insurance on the lost or damaged
              investigate the claim. You must do this                        property is 80% or more of the full
              within 60 days after our request. We will                      replacement cost of the property
              supply you with the necessary forms.                           immediately before the loss, we will
         (8) Cooperate with us in the investigation or                       pay the cost to repair or replace, af-
              settlement of the claim.                                       ter application of the deductible and
         (9) Resume all or part of your "operations"                         without deduction for depreciation,
              as quickly as possible.                                        but not more than the least of the fol-
                                                                             lowing amounts:
      b. We may examine any insured under oath,
          while not in the presence of any other in-                         (i) The Limit of Insurance under
          sured and at such times as may be rea-                                 Section I – Property that applies
          sonably required, about any matter relating                            to the lost or damaged property;
          to this insurance or the claim, including an                      (ii) The cost to replace, on the same
          insured's books and records. In the event of                           premises, the lost or damaged
          an examination, an insured's answers must                              property with other property:
          be signed.                                                              i. Of comparable material and
   4. Legal Action Against Us                                                        quality; and
      No one may bring a legal action against us un-                             ii. Used for the same purpose;
      der this insurance unless:                                                     or
      a. There has been full compliance with all of                        (iii) The amount that you actually
          the terms of this insurance; and                                       spend that is necessary to repair
      b. The action is brought within two years after                            or replace the lost or damaged
          the date on which the direct physical loss or                          property.
          damage occurred.                                                   If a building is rebuilt at a new prem-
   5. Loss Payment                                                           ises, the cost is limited to the cost
                                                                             which would have been incurred had
      In the event of loss or damage covered by this                         the building been built at the original
      policy:                                                                premises.
      a. At our option, we will either:                                 (b) If, at the time of loss, the Limit of
         (1) Pay the value of lost or damaged prop-                          Insurance applicable to the lost or
              erty;                                                          damaged property is less than 80%
         (2) Pay the cost of repairing or replacing the                      of the full replacement cost of the
              lost or damaged property;                                      property immediately before the loss,
                                                                             we will pay the greater of the follow-
         (3) Take all or any part of the property at an                      ing amounts, but not more than the
              agreed or appraised value; or                                  Limit of Insurance that applies to the
         (4) Repair, rebuild or replace the property                         property:
              with other property of like kind and qual-                     (i) The actual cash value of the lost
              ity, subject to Paragraph d.(1)(e) below.                          or damaged property; or
      b. We will give notice of our intentions within                       (ii) A proportion of the cost to repair
          30 days after we receive the sworn proof of                            or replace the lost or damaged
          loss.                                                                  property, after application of the
      c. We will not pay you more than your finan-                               deductible and without deduction
          cial interest in the Covered Property.                                 for depreciation. This proportion
                                                                                 will equal the ratio of the applica-
                                                                                 ble Limit of Insurance to 80% of
                                                                                 the cost of repair or replacement.




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           (c) You may make a claim for loss or                         (c) Household contents, except personal
                damage covered by this insurance                             property in apartments or rooms fur-
                on an actual cash value basis in-                            nished by you as landlord;
                stead of on a replacement cost ba-                      (d) Manuscripts; and
                sis. In the event you elect to have
                loss or damage settled on an actual                     (e) Works of art, antiques or rare arti-
                cash value basis, you may still make                         cles, including etchings, pictures,
                a claim on a replacement cost basis                          statuary, marble, bronzes, porcelain
                if you notify us of your intent to do so                     and bric-a-brac.
                within 180 days after the loss or                    (4) Glass at the cost of replacement with
                damage.                                                  safety glazing material if required by
           (d) We will not pay on a replacement                          law.
                cost basis for any loss or damage:                   (5) Tenants' Improvements and Better-
                (i) Until the lost or damaged prop-                      ments at:
                    erty is actually repaired or re-                    (a) Replacement cost if you make re-
                    placed; and                                              pairs promptly.
               (ii) Unless the repairs or replace-                      (b) A proportion of your original cost if
                    ment are made as soon as rea-                            you do not make repairs promptly.
                    sonably possible after the loss or                       We will determine the proportionate
                    damage.                                                  value as follows:
                However, if the cost to repair or re-                        (i) Multiply the original cost by the
                place the damaged building property                              number of days from the loss or
                is $2,500 or less, we will settle the                            damage to the expiration of the
                loss according to the provisions of                              lease; and
                Paragraphs d.(1)(a) and d.(1)(b)
                                                                            (ii) Divide the amount determined in
                above whether or not the actual re-
                                                                                 (i) above by the number of days
                pair or replacement is complete.
                                                                                 from the installation of improve-
           (e) The cost to repair, rebuild or replace                            ments to the expiration of the
                does not include the increased cost                              lease.
                attributable to enforcement of any
                                                                             If your lease contains a renewal op-
                ordinance or law regulating the con-
                                                                             tion, the expiration of the renewal op-
                struction, use or repair of any prop-
                                                                             tion period will replace the expiration
                erty.
                                                                             of the lease in this procedure.
        (2) If the Actual Cash Value – Buildings
                                                                        (c) Nothing if others pay for repairs or
            option applies, as shown in the Declara-
                                                                             replacement.
            tions, Paragraph (1) above does not ap-
            ply to Buildings. Instead, we will deter-                (6) Applicable only to the Optional Cover-
            mine the value of Buildings at actual                        ages:
            cash value.                                                 (a) "Money" at its face value; and
        (3) The following property at actual cash                       (b) "Securities" at their value at the close
            value:                                                           of business on the day the loss is
           (a) Used or secondhand merchandise                                discovered.
                held in storage or for sale;                         (7) Applicable only to Accounts Receivable:
           (b) Property of others. However, if an                       (a) If you cannot accurately establish the
                item(s) of personal property of others                       amount of accounts receivable out-
                is subject to a written contract which                       standing as of the time of loss or
                governs your liability for loss or dam-                      damage:
                age to that item(s), then valuation of
                that item(s) will be based on the                            (i) We will determine the total of the
                amount for which you are liable un-                              average monthly amounts of ac-
                der such contract, but not to exceed                             counts receivable for the 12
                the lesser of the replacement cost of                            months immediately preceding
                the property or the applicable Limit of                          the month in which the loss or
                Insurance;                                                       damage occurs; and




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                (ii) We will adjust that total for any            h. A party wall is a wall that separates and is
                     normal fluctuations in the amount                common to adjoining buildings that are
                     of accounts receivable for the                   owned by different parties. In settling cov-
                     month in which the loss or dam-                  ered losses involving a party wall, we will
                     age occurred or for any demon-                   pay a proportion of the loss to the party wall
                     strated variance from the average                based on your interest in the wall in propor-
                     for that month.                                  tion to the interest of the owner of the ad-
            (b) The following will be deducted from                   joining building. However, if you elect to re-
                 the total amount of accounts receiv-                 pair or replace your building and the owner
                 able, however that amount is estab-                  of the adjoining building elects not to repair
                 lished:                                              or replace that building, we will pay you the
                                                                      full value of the loss to the party wall, sub-
                 (i) The amount of the accounts for                   ject to all applicable policy provisions in-
                     which there is no loss or damage;                cluding Limits of Insurance and all other
                (ii) The amount of the accounts that                  provisions of this Loss Payment Condition.
                     you are able to reestablish or col-              Our payment under the provisions of this
                     lect;                                            paragraph does not alter any right of subro-
               (iii) An amount to allow for probable                  gation we may have against any entity, in-
                     bad debts that you are normally                  cluding the owner or insurer of the adjoining
                     unable to collect; and                           building, and does not alter the terms of the
                                                                      Transfer Of Rights Of Recovery Against
               (iv) All unearned interest and service                 Others To Us Condition in this policy.
                     charges.
                                                               6. Recovered Property
      e. Our payment for loss of or damage to per-
         sonal property of others will only be for the            If either you or we recover any property after
         account of the owners of the property. We                loss settlement, that party must give the other
         may adjust losses with the owners of lost or             prompt notice. At your option, you may retain
         damaged property if other than you. If we                the property. But then you must return to us the
         pay the owners, such payments will satisfy               amount we paid to you for the property. We will
         your claims against us for the owners' prop-             pay recovery expenses and the expenses to
         erty. We will not pay the owners more than               repair the recovered property, subject to the
         their financial interest in the Covered Prop-            Limits of Insurance of Section I – Property.
         erty.                                                 7. Resumption Of Operations
      f. We may elect to defend you against suits                 We will reduce the amount of your:
         arising from claims of owners of property.               a. Business Income loss, other than Extra
         We will do this at our expense.                              Expense, to the extent you can resume
      g. We will pay for covered loss or damage                       your "operations", in whole or in part, by us-
         within 30 days after we receive the sworn                    ing damaged or undamaged property (in-
         proof of loss, provided you have complied                    cluding merchandise or stock) at the de-
         with all of the terms of this policy; and                    scribed premises or elsewhere.
        (1) We have reached agreement with you                    b. Extra Expense loss to the extent you can
             on the amount of loss; or                                return "operations" to normal and discon-
        (2) An appraisal award has been made.                         tinue such Extra Expense.




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   8. Vacancy                                              F. Property General Conditions
      a. Description Of Terms                                 1. Control Of Property
        (1) As used in this Vacancy Condition, the               Any act or neglect of any person other than
              term building and the term vacant have             you beyond your direction or control will not af-
              the meanings set forth in Paragraphs (a)           fect this insurance.
              and (b) below:                                     The breach of any condition of this Coverage
             (a) When this policy is issued to a ten-            Form at any one or more locations will not af-
                  ant, and with respect to that tenant's         fect coverage at any location where, at the time
                  interest in Covered Property, building         of loss or damage, the breach of condition
                  means the unit or suite rented or              does not exist.
                  leased to the tenant. Such building is      2. Mortgageholders
                  vacant when it does not contain
                  enough business personal property              a. The term "mortgageholder" includes trus-
                  to conduct customary operations.                   tee.
             (b) When this policy is issued to the               b. We will pay for covered loss of or damage
                  owner or general lessee of a build-                to buildings or structures to each mort-
                  ing, building means the entire build-              gageholder shown in the Declarations in
                  ing. Such building is vacant unless at             their order of precedence, as interests may
                  least 31% of its total square footage              appear.
                  is:                                            c. The mortgageholder has the right to receive
                  (i) Rented to a lessee or sublessee                loss payment even if the mortgageholder
                      and used by the lessee or sub-                 has started foreclosure or similar action on
                      lessee to conduct its customary                the building or structure.
                      operations; and/or                         d. If we deny your claim because of your acts
                 (ii) Used by the building owner to                  or because you have failed to comply with
                      conduct customary operations.                  the terms of this policy, the mortgageholder
                                                                     will still have the right to receive loss pay-
        (2) Buildings under construction or renova-                  ment if the mortgageholder:
              tion are not considered vacant.
                                                                    (1) Pays any premium due under this policy
      b. Vacancy Provisions                                              at our request if you have failed to do
         If the building where loss or damage occurs                     so;
         has been vacant for more than 60 consecu-                  (2) Submits a signed, sworn proof of loss
         tive days before that loss or damage oc-                        within 60 days after receiving notice
         curs:                                                           from us of your failure to do so; and
        (1) We will not pay for any loss or damage                  (3) Has notified us of any change in owner-
              caused by any of the following even if                     ship, occupancy or substantial change
              they are Covered Causes of Loss:                           in risk known to the mortgageholder.
             (a) Vandalism;                                          All of the terms of this policy will then apply
             (b) Sprinkler leakage, unless you have                  directly to the mortgageholder.
                  protected the system against freez-             e. If we pay the mortgageholder for any loss
                  ing;                                               or damage and deny payment to you be-
             (c) Building glass breakage;                            cause of your acts or because you have
             (d) Water damage;                                       failed to comply with the terms of this pol-
                                                                     icy:
             (e) Theft; or
                                                                    (1) The mortgageholder's rights under the
              (f) Attempted theft.                                        mortgage will be transferred to us to the
        (2) With respect to Covered Causes of Loss                        extent of the amount we pay; and
              other than those listed in Paragraphs                 (2) The mortgageholder's right to recover
              (1)(a) through (1)(f) above, we will re-                    the full amount of the mortgageholder's
              duce the amount we would otherwise                          claim will not be impaired.
              pay for the loss or damage by 15%.




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          At our option, we may pay to the mortgage-                b. Paragraph A.3., Covered Causes Of Loss,
          holder the whole principal on the mortgage                   and Paragraph B., Exclusions in Section I –
          plus any accrued interest. In this event,                    Property, do not apply to this Optional Cov-
          your mortgage and note will be transferred                   erage, except for:
          to us and you will pay your remaining mort-                 (1) Paragraph B.1.c., Governmental Action;
          gage debt to us.
                                                                      (2) Paragraph B.1.d., Nuclear Hazard; and
       f. If we cancel this policy, we will give written
          notice to the mortgageholder at least:                      (3) Paragraph B.1.f., War And Military Ac-
                                                                           tion.
         (1) 10 days before the effective date of
              cancellation if we cancel for your non-               c. We will not pay for loss or damage caused
              payment of premium; or                                   by or resulting from:
         (2) 30 days before the effective date of                     (1) Wear and tear;
              cancellation if we cancel for any other                 (2) Hidden or latent defect;
              reason.
                                                                      (3) Rust;
       g. If we elect not to renew this policy, we will
                                                                      (4) Corrosion; or
          give written notice to the mortgageholder at
          least 10 days before the expiration date of                 (5) Mechanical breakdown.
          this policy.                                              d. The most we will pay for loss or damage in
   3. No Benefit To Bailee                                             any one occurrence is the Limit of Insur-
                                                                       ance for Outdoor Signs shown in the Decla-
       No person or organization, other than you, hav-
                                                                       rations.
       ing custody of Covered Property will benefit
       from this insurance.                                         e. The provisions of this Optional Coverage
                                                                       supersede all other references to outdoor
   4. Policy Period, Coverage Territory
                                                                       signs in this policy.
       Under Section I – Property:
                                                                 2. Money And Securities
       a. We cover loss or damage commencing:
                                                                    a. We will pay for loss of "money" and "securi-
          (1) During the policy period shown in the                    ties" used in your business while at a bank
               Declarations; and                                       or savings institution, within your living
          (2) Within the coverage territory or, with                   quarters or the living quarters of your part-
               respect to property in transit, while it is             ners or any employee having use and cus-
               between points in the coverage territory.               tody of the property, at the described prem-
                                                                       ises, or in transit between any of these
       b. The coverage territory is:                                   places, resulting directly from:
          (1) The United States of America (including                 (1) Theft, meaning any act of stealing;
               its territories and possessions);
                                                                      (2) Disappearance; or
          (2) Puerto Rico; and
                                                                      (3) Destruction.
          (3) Canada.
                                                                    b. In addition to the Limitations and Exclusions
G. Optional Coverages                                                  applicable to Section I – Property, we will
   If shown as applicable in the Declarations, the fol-                not pay for loss:
   lowing Optional Coverages also apply. These cov-                   (1) Resulting from accounting or arithmeti-
   erages are subject to the terms and conditions ap-                      cal errors or omissions;
   plicable to property coverage in this policy, except
   as provided below.                                                 (2) Due to the giving or surrendering of
                                                                           property in any exchange or purchase;
   1. Outdoor Signs                                                        or
       a. We will pay for direct physical loss of or                  (3) Of property contained in any "money"-
           damage to all outdoor signs at the de-                          operated device unless the amount of
           scribed premises:                                               "money" deposited in it is recorded by a
          (1) Owned by you; or                                             continuous recording instrument in the
          (2) Owned by others but in your care, cus-                       device.
               tody or control.




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      c. The most we will pay for loss in any one                   (3) The only proof of which as to its exis-
         occurrence is:                                                   tence or amount is:
        (1) The limit shown in the Declarations for                      (a) An inventory computation; or
              Inside the Premises for "money" and                        (b) A profit and loss computation.
              "securities" while:
                                                                  c. The most we will pay for loss or damage in
            (a) In or on the described premises; or                  any one occurrence is the Limit of Insur-
            (b) Within a bank or savings institution;                ance for Employee Dishonesty shown in the
                  and                                                Declarations.
        (2) The limit shown in the Declarations for               d. All loss or damage:
              Outside the Premises for "money" and                  (1) Caused by one or more persons; or
              "securities" while anywhere else.
                                                                    (2) Involving a single act or series of acts;
      d. All loss:
                                                                     is considered one occurrence.
        (1) Caused by one or more persons; or
                                                                  e. If any loss is covered:
        (2) Involving a single act or series of related
              acts;                                                 (1) Partly by this insurance; and
         is considered one occurrence.                              (2) Partly by any prior cancelled or termi-
                                                                          nated insurance that we or any affiliate
      e. You must keep records of all "money" and                         had issued to you or any predecessor in
         "securities" so we can verify the amount of                      interest;
         any loss or damage.
                                                                     the most we will pay is the larger of the
   3. Employee Dishonesty                                            amount recoverable under this insurance or
      a. We will pay for direct loss of or damage to                 the prior insurance.
         Business Personal Property and "money"                      We will pay only for loss or damage you
         and "securities" resulting from dishonest                   sustain through acts committed or events
         acts committed by any of your employees                     occurring during the policy period. Regard-
         acting alone or in collusion with other per-                less of the number of years this policy re-
         sons (except you or your partner) with the                  mains in force or the number of premiums
         manifest intent to:                                         paid, no Limit of Insurance cumulates from
        (1) Cause you to sustain loss or damage;                     year to year or period to period.
              and also                                            f. This Optional Coverage is cancelled as to
        (2) Obtain financial benefit (other than sala-               any employee immediately upon discovery
              ries, commissions, fees, bonuses, pro-                 by:
              motions, awards, profit sharing, pen-                 (1) You; or
              sions or other employee benefits earned
              in the normal course of employment) for:              (2) Any of your partners, "members", "man-
                                                                          agers", officers or directors not in collu-
            (a) Any employee; or                                          sion with the employee;
            (b) Any other person or organization.                    of any dishonest act committed by that em-
      b. We will not pay for loss or damage:                         ployee before or after being hired by you.
        (1) Resulting from any dishonest or criminal              g. We will pay only for covered loss or dam-
              act that you or any of your partners or                age sustained during the policy period and
              "members" commit whether acting alone                  discovered no later than one year from the
              or in collusion with other persons.                    end of the policy period.
        (2) Resulting from any dishonest act com-                 h. If you (or any predecessor in interest) sus-
              mitted by any of your employees (except                tained loss or damage during the policy pe-
              as provided in Paragraph a.), "manag-                  riod of any prior insurance that you could
              ers" or directors:                                     have recovered under that insurance ex-
            (a) Whether acting alone or in collusion                 cept that the time within which to discover
                  with other persons; or                             loss or damage had expired, we will pay for
                                                                     it under this Optional Coverage, provided:
            (b) While performing services for you or
                  otherwise.                                        (1) This Optional Coverage became effec-
                                                                          tive at the time of cancellation or termi-
                                                                          nation of the prior insurance; and




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        (2) The loss or damage would have been                        But employee does not mean:
             covered by this Optional Coverage had                   (1) Any agent, broker, factor, commission
             it been in effect when the acts or events                     merchant, consignee, independent con-
             causing the loss or damage were com-                          tractor or representative of the same
             mitted or occurred.                                           general character; or
      i. The insurance under Paragraph h. above is                   (2) Any "manager", director or trustee ex-
         part of, not in addition to, the Limit of Insur-                  cept while performing acts coming within
         ance applying to this Optional Coverage                           the usual duties of an employee.
         and is limited to the lesser of the amount
         recoverable under:                                     4. Equipment Breakdown Protection Coverage
        (1) This Optional Coverage as of its effec-                a. We will pay for direct loss of or damage to
             tive date; or                                            Covered Property caused by or resulting
                                                                      from a mechanical breakdown or electrical
        (2) The prior insurance had it remained in                    failure to pressure, mechanical or electrical
             effect.                                                  machinery and equipment.
      j. With respect to the Employee Dishonesty                      Mechanical breakdown or electrical failure
         Optional Coverage in Paragraph G.3., em-                     to pressure, mechanical or electrical ma-
         ployee means:                                                chinery and equipment does not mean any:
        (1) Any natural person:                                      (1) Malfunction including but not limited to
            (a) While in your service or for 30 days                       adjustment,     alignment,     calibration,
                 after termination of service;                             cleaning or modification;
            (b) Who you compensate directly by                       (2) Leakage at any valve, fitting, shaft seal,
                 salary, wages or commissions; and                         gland packing, joint or connection;
            (c) Who you have the right to direct and                 (3) Damage to any vacuum tube, gas tube,
                 control while performing services for                     or brush; or
                 you;                                                (4) The functioning of any safety or protec-
        (2) Any natural person who is furnished                            tive device.
             temporarily to you:                                   b. Paragraphs A.4.a.(1) and A.4.a.(2), Limita-
            (a) To substitute for a permanent em-                     tions, do not apply to this Optional Cover-
                 ployee as defined in Paragraph (1)                   age.
                 above, who is on leave; or                        c. With respect to the coverage provided by
            (b) To meet seasonal or short-term                        this Optional Coverage, the following exclu-
                 workload conditions;                                 sions in Paragraph B. Exclusions do not
        (3) Any natural person who is leased to you                   apply:
             under a written agreement between you                   (1) Paragraph B.2.a. Electrical Apparatus;
             and a labor leasing firm, to perform du-                (2) Paragraph B.2.d. Steam Apparatus;
             ties related to the conduct of your busi-                     and
             ness, but does not mean a temporary
             employee as defined in Paragraph (2)                    (3) Paragraph B.2.l.(6) Mechanical Break-
             above;                                                        down.
        (4) Any natural person who is a former                     d. With respect to the coverage provided by
             employee, director, partner, member,                     this      Optional   Coverage,      Paragraph
             manager, representative or trustee re-                   G.1.c.(5) of the Outdoor Sign Optional
             tained as a consultant while performing                  Coverage does not apply.
             services for you; or                                  e. If a dollar deductible is shown in the Decla-
        (5) Any natural person who is a guest stu-                    rations for this Optional Coverage, we will
             dent or intern pursuing studies or duties,               first subtract the applicable deductible
             excluding, however, any such person                      amount from any loss we would otherwise
             while having care and custody of prop-                   pay. We will then pay the amount of loss in
             erty outside any building you occupy in                  excess of the applicable deductible up to
             conducting your business.                                the applicable limit for this coverage.
                                                                      If no optional deductible is chosen for this
                                                                      Optional Coverage, the Property Deductible
                                                                      shown in the Declarations applies.




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      f. With respect to Additional Coverages 5.f.                  We may suspend or reinstate this Optional
         Business Income and 5.g. Extra Ex-                         coverage by mailing or delivering a written
         pense, if the 72-hour time period in the                   notification regarding the suspension or re-
         definition of "period of restoration" (herein-             instatement to:
         after referred to as time deductible) is                  (1) Your last known address; or
         amended for this Optional Coverage as
         shown in the Declarations, we will not pay                (2) The address where the pressure, me-
         for any Business Income loss that occurs                       chanical or electrical machinery and
         during the consecutive number of hours                         equipment is located.
         shown as the time deductible in the Decla-                 This notification will indicate the effective
         rations immediately following a mechanical                 date of the suspension or reinstatement.
         breakdown or electrical failure. If a time de-
                                                                    If the coverage provided by this Optional
         ductible is shown in days, each day shall
                                                                    Coverage is not reinstated, you will get a
         mean 24 consecutive hours.
                                                                    pro rata refund of premium. But the sus-
         As respects the coverage provided by this                  pension will be effective even if we have not
         Optional Coverage, any time deductible                     yet made or offered a refund.
         shown in the Declarations for Equipment
                                                          H. Property Definitions
         Breakdown Protection Coverage super-
         sedes any time deductible otherwise appli-          1. "Computer" means:
         cable to the Business Income coverage                  a. Programmable electronic equipment that is
         provided by this policy.                                   used to store, retrieve and process data;
      g. With respect to the coverage provided by                   and
         this Optional Coverage, Paragraph H.                   b. Associated peripheral equipment that pro-
         Property Definitions is amended as fol-                    vides communication, including input and
         lows:                                                      output functions such as printing and auxil-
         1. "Computer" means:                                       iary functions such as data transmission.
             a. Programmable electronic equipment               "Computer" does not include those used to op-
                 that is used to store, retrieve and            erate production type machinery or equipment.
                 process data; and                           2. "Counterfeit money" means an imitation of
             b. Associated peripheral equipment                 "money" that is intended to deceive and to be
                 that provides communication, includ-           taken as genuine.
                 ing input and output functions such         3. "Electronic data" means information, facts or
                 as printing and auxiliary functions            computer programs stored as or on, created or
                 such as data transmission.                     used on, or transmitted to or from computer
         "Computer" includes those used to operate              software (including systems and applications
         production type machinery or equipment.                software), on hard or floppy disks, CD-ROMs,
                                                                tapes, drives, cells, data processing devices or
      h. Whenever any covered pressure, mechani-
                                                                any other repositories of computer software
         cal or electrical machinery and equipment is
                                                                which are used with electronically controlled
         found to be in, or exposed to, a dangerous
                                                                equipment. The term computer programs, re-
         condition, any of our representatives may
                                                                ferred to in the foregoing description of elec-
         suspend coverage provided by this Optional
                                                                tronic data, means a set of related electronic
         Coverage for loss from a mechanical
                                                                instructions which direct the operations and
         breakdown or electrical failure to that pres-
                                                                functions of a "computer" or device connected
         sure, mechanical or electrical machinery
                                                                to it, which enable the "computer" or device to
         and equipment.
                                                                receive, process, store, retrieve or send data.
         However, coverage provided by this Op-
                                                             4. "Fungi" means any type or form of fungus,
         tional Coverage may be reinstated for loss
                                                                including mold or mildew, and any mycotoxins,
         from a mechanical breakdown or electrical
                                                                spores, scents or by-products produced or re-
         failure to that pressure, mechanical or elec-
                                                                leased by fungi.
         trical machinery and equipment if the rea-
         sons for the suspension are found by any of         5. "Manager" means a person serving in a direc-
         our representatives to no longer exist.                torial capacity for a limited liability company.
                                                             6. "Member" means an owner of a limited liability
                                                                company represented by its membership inter-
                                                                est, who also may serve as a "manager".




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   7. "Money" means:                                             b. Evidences of debt issued in connection with
      a. Currency, coins and bank notes in current                    credit or charge cards, which cards are not
          use and having a face value; and                            issued by you;
      b. Travelers checks, register checks and                   but does not include "money".
          money orders held for sale to the public.          12. "Specified causes of loss" means the following:
   8. "Operations" means your business activities                Fire; lightning; explosion; windstorm or hail;
      occurring at the described premises.                       smoke; aircraft or vehicles; riot or civil commo-
   9. "Period of restoration":                                   tion; vandalism; leakage from fire extinguishing
                                                                 equipment; sinkhole collapse; volcanic action;
      a. Means the period of time that:                          falling objects; weight of snow, ice or sleet; wa-
         (1) Begins:                                             ter damage.
             (a) 72 hours after the time of direct               a. Sinkhole collapse means the sudden sink-
                  physical loss or damage for Busi-                   ing or collapse of land into underground
                  ness Income Coverage; or                            empty spaces created by the action of wa-
             (b) Immediately after the time of direct                 ter on limestone or dolomite. This cause of
                  physical loss or damage for Extra                   loss does not include:
                  Expense Coverage;                                  (1) The cost of filling sinkholes; or
              caused by or resulting from any Covered                (2) Sinking or collapse of land into man-
              Cause of Loss at the described prem-                        made underground cavities.
              ises; and                                          b. Falling objects does not include loss of or
         (2) Ends on the earlier of:                                  damage to:
             (a) The date when the property at the                   (1) Personal property in the open; or
                  described premises should be re-                   (2) The interior of a building or structure, or
                  paired, rebuilt or replaced with rea-                   property inside a building or structure,
                  sonable speed and similar quality; or                   unless the roof or an outside wall of the
             (b) The date when business is resumed                        building or structure is first damaged by
                  at a new permanent location.                            a falling object.
      b. Does not include any increased period                   c. Water damage means accidental discharge
          required due to the enforcement of any or-                  or leakage of water or steam as the direct
          dinance or law that:                                        result of the breaking apart or cracking of
         (1) Regulates the construction, use or re-                   any part of a system or appliance (other
              pair, or requires the tearing down of any               than a sump system including its related
              property; or                                            equipment and parts) containing water or
                                                                      steam.
         (2) Requires any insured or others to test
              for, monitor, clean up, remove, contain,       13. "Stock" means merchandise held in storage or
              treat, detoxify or neutralize, or in any           for sale, raw materials and in-process or fin-
              way respond to or assess the effects of            ished goods, including supplies used in their
              "pollutants".                                      packing or shipping.
      The expiration date of this policy will not cut        14. "Valuable papers and records" means in-
      short the "period of restoration".                         scribed, printed or written:
  10. "Pollutants" means any solid, liquid, gaseous or                a. Documents;
      thermal irritant or contaminant, including                      b. Manuscripts; and
      smoke, vapor, soot, fumes, acids, alkalis,                      c. Records;
      chemicals and waste. Waste includes materials
      to be recycled, reconditioned or reclaimed.                     including abstracts, books, deeds, draw-
                                                                      ings, films, maps or mortgages.
  11. "Securities" means negotiable and non-
      negotiable instruments or contracts represent-             But "valuable papers and records" does not
      ing either "money" or other property and in-               mean "money" or "securities".
      cludes:
      a. Tokens, tickets, revenue and other stamps
          (whether represented by actual stamps or
          unused value in a meter) in current use;
          and




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SECTION II – LIABILITY                                                    (c) Prior to the policy period, no insured
A. Coverages                                                                  listed under Paragraph C.1. Who Is
                                                                              An Insured and no "employee" au-
   1. Business Liability                                                      thorized by you to give or receive no-
      a. We will pay those sums that the insured                              tice of an "occurrence" or claim,
         becomes legally obligated to pay as dam-                             knew that the "bodily injury" or "prop-
         ages because of "bodily injury", "property                           erty damage" had occurred, in whole
         damage" or "personal and advertising in-                             or in part. If such a listed insured or
         jury" to which this insurance applies. We                            authorized "employee" knew, prior to
         will have the right and duty to defend the                           the policy period, that the "bodily in-
         insured against any "suit" seeking those                             jury" or "property damage" occurred,
         damages. However, we will have no duty to                            then any continuation, change or re-
         defend the insured against any "suit" seek-                          sumption of such "bodily injury" or
         ing damages for "bodily injury", "property                           "property damage" during or after the
         damage" or "personal and advertising in-                             policy period will be deemed to have
         jury" to which this insurance does not apply.                        been known before the policy period.
         We may, at our discretion, investigate any                  (2) To "personal and advertising injury"
         "occurrence" or any offense and settle any                        caused by an offense arising out of your
         claim or "suit" that may result. But:                             business, but only if the offense was
        (1) The amount we will pay for damages is                          committed in the "coverage territory"
             limited as described in Paragraph D. –                        during the policy period.
             Liability And Medical Expenses Limits                 c. "Bodily injury" or "property damage" which
             Of Insurance in Section II – Liability; and              occurs during the policy period and was
        (2) Our right and duty to defend end when                     not, prior to the policy period, known to
             we have used up the applicable Limit of                  have occurred by any insured listed under
             Insurance in the payment of judgments                    Paragraph C.1. Who Is An Insured or any
             or settlements or medical expenses.                      "employee" authorized by you to give or re-
                                                                      ceive notice of an "occurrence" or claim, in-
         No other obligation or liability to pay sums
                                                                      cludes any continuation, change or resump-
         or perform acts or services is covered
                                                                      tion of "bodily injury" or "property damage"
         unless explicitly provided for under Para-
                                                                      after the end of the policy period.
         graph f. Coverage Extension – Supplemen-
         tary Payments.                                            d. "Bodily injury" or "property damage" will be
                                                                      deemed to have been known to have oc-
      b. This insurance applies:
                                                                      curred at the earliest time when any insured
        (1) To "bodily injury" and "property damage"                  listed under Paragraph C.1. Who Is An In-
             only if:                                                 sured or any "employee" authorized by you
            (a) The "bodily injury" or "property dam-                 to give or receive notice of an "occurrence"
                 age" is caused by an "occurrence"                    or claim:
                 that takes place in the "coverage ter-               (1) Reports all, or any part, of the "bodily
                 ritory";                                                 injury" or "property damage" to us or any
            (b) The "bodily injury" or "property dam-                     other insurer;
                 age" occurs during the policy period;                (2) Receives a written or verbal demand or
                 and                                                      claim for damages because of the "bod-
                                                                          ily injury" or "property damage"; or
                                                                      (3) Becomes aware by any other means
                                                                          that "bodily injury" or "property damage"
                                                                          has occurred or has begun to occur.




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      e. Damages because of "bodily injury" include                    (2) If we defend an insured against a "suit"
         damages claimed by any person or organi-                          and an indemnitee of the insured is also
         zation for care, loss of services or death re-                    named as a party to the "suit", we will
         sulting at any time from the "bodily injury".                     defend that indemnitee if all of the fol-
      f. Coverage Extension – Supplementary                                lowing conditions are met:
         Payments                                                         (a) The "suit" against the indemnitee
        (1) We will pay, with respect to any claim                             seeks damages for which the in-
             we investigate or settle, or any "suit"                           sured has assumed the liability of the
             against an insured we defend:                                     indemnitee in a contract or agree-
                                                                               ment that is an "insured contract";
            (a) All expenses we incur.
                                                                          (b) This insurance applies to such liabil-
           (b) Up to $250 for cost of bail bonds                               ity assumed by the insured;
                  required because of accidents or
                  traffic law violations arising out of the               (c) The obligation to defend, or the cost
                  use of any vehicle to which Business                         of the defense of, that indemnitee,
                  Liability Coverage for "bodily injury"                       has also been assumed by the in-
                  applies. We do not have to furnish                           sured in the same "insured contract";
                  these bonds.                                            (d) The allegations in the "suit" and the
            (c) The cost of bonds to release attach-                           information we know about the "oc-
                  ments, but only for bond amounts                             currence" are such that no conflict
                  within our Limit of Insurance. We do                         appears to exist between the inter-
                  not have to furnish these bonds.                             ests of the insured and the interests
                                                                               of the indemnitee;
           (d) All reasonable expenses incurred by
                  the insured at our request to assist                    (e) The indemnitee and the insured ask
                  us in the investigation or defense of                        us to conduct and control the de-
                  the claim or "suit", including actual                        fense of that indemnitee against
                  loss of earnings up to $250 a day                            such "suit" and agree that we can
                  because of time off from work.                               assign the same counsel to defend
                                                                               the insured and the indemnitee; and
            (e) All court costs taxed against the in-
                  sured in the "suit". However, these                      (f) The indemnitee:
                  payments do not include attorneys'                           (i) Agrees in writing to:
                  fees or attorneys' expenses taxed                                  i. Cooperate with us in the in-
                  against the insured.                                                  vestigation, settlement or de-
             (f) Prejudgment          interest    awarded                               fense of the "suit";
                  against the insured on that part of                               ii. Immediately send us copies of
                  the judgment we pay. If we make an                                    any demands, notices, sum-
                  offer to pay the Limit of Insurance,                                  monses or legal papers re-
                  we will not pay any prejudgment in-                                   ceived in connection with the
                  terest based on that period of time                                   "suit";
                  after the offer.
                                                                                   iii. Notify any other insurer
           (g) All interest on the full amount of any                                   whose coverage is available
                  judgment that accrues after entry of                                  to the indemnitee; and
                  the judgment and before we have
                  paid, offered to pay, or deposited in                            iv. Cooperate with us with re-
                  court the part of the judgment that is                                spect to coordinating other
                  within our Limit of Insurance.                                        applicable insurance available
                                                                                        to the indemnitee; and
             These payments will not reduce the limit
             of liability.                                                    (ii) Provides us with written authori-
                                                                                    zation to:
                                                                                     i. Obtain records and other
                                                                                        information related to the
                                                                                        "suit"; and
                                                                                    ii. Conduct and control the de-
                                                                                        fense of the indemnitee in
                                                                                        such "suit".




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        (3) So long as the conditions in Paragraph                 (3) Necessary ambulance, hospital, profes-
             (2) are met, attorneys' fees incurred by                    sional nursing and funeral services.
             us in the defense of that indemnitee,         B. Exclusions
             necessary litigation expenses incurred
             by us and necessary litigation expenses          1. Applicable To Business Liability Coverage
             incurred by the indemnitee at our re-               This insurance does not apply to:
             quest will be paid as Supplementary
                                                                 a. Expected Or Intended Injury
             Payments. Notwithstanding the provi-
             sions of Paragraph B.1.b.(2) Exclusions                "Bodily injury" or "property damage" ex-
             in Section II – Liability, such payments               pected or intended from the standpoint of
             will not be deemed to be damages for                   the insured. This exclusion does not apply
             "bodily injury" and "property damage"                  to "bodily injury" resulting from the use of
             and will not reduce the Limits of Insur-               reasonable force to protect persons or
             ance.                                                  property.
             Our obligation to defend an insured's in-           b. Contractual Liability
             demnitee and to pay for attorneys' fees                "Bodily injury" or "property damage" for
             and necessary litigation expenses as                   which the insured is obligated to pay dam-
             Supplementary Payments ends when:                      ages by reason of the assumption of liability
            (a) We have used up the applicable                      in a contract or agreement. This exclusion
                 Limit of Insurance in the payment of               does not apply to liability for damages:
                 judgments or settlements; or                      (1) That the insured would have in the ab-
            (b) The conditions set forth above, or                       sence of the contract or agreement; or
                 the terms of the agreement de-                    (2) Assumed in a contract or agreement
                 scribed in Paragraph (2)(f) above are                   that is an "insured contract", provided
                 no longer met.                                          the "bodily injury" or "property damage"
   2. Medical Expenses                                                   occurs subsequent to the execution of
                                                                         the contract or agreement. Solely for the
      a. We will pay medical expenses as described
                                                                         purposes of liability assumed in an "in-
         below for "bodily injury" caused by an acci-
                                                                         sured contract", reasonable attorney
         dent:
                                                                         fees and necessary litigation expenses
        (1) On premises you own or rent;                                 incurred by or for a party other than an
        (2) On ways next to premises you own or                          insured are deemed to be damages be-
             rent; or                                                    cause of "bodily injury" or "property
                                                                         damage", provided:
        (3) Because of your operations;
                                                                        (a) Liability to such party for, or for the
         provided that:                                                      cost of, that party's defense has also
            (a) The accident takes place in the                              been assumed in the same "insured
                 "coverage territory" and during the                         contract"; and
                 policy period;                                        (b) Such attorney fees and litigation
            (b) The expenses are incurred and re-                            expenses are for defense of that
                 ported to us within one year of the                         party against a civil or alternative
                 date of the accident; and                                   dispute resolution proceeding in
            (c) The injured person submits to ex-                            which damages to which this insur-
                 amination, at our expense, by physi-                        ance applies are alleged.
                 cians of our choice as often as we              c. Liquor Liability
                 reasonably require.                                "Bodily injury" or "property damage" for
      b. We will make these payments regardless of                  which any insured may be held liable by
         fault. These payments will not exceed the                  reason of:
         Limits of Insurance of Section II – Liability.            (1) Causing or contributing to the intoxica-
         We will pay reasonable expenses for:                            tion of any person;
        (1) First aid administered at the time of an               (2) The furnishing of alcoholic beverages to
             accident;                                                   a person under the legal drinking age or
        (2) Necessary medical, surgical, x-ray and                       under the influence of alcohol; or
             dental services, including prosthetic de-
             vices; and




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        (3) Any statute, ordinance or regulation                   f. Pollution
            relating to the sale, gift, distribution or              (1) "Bodily injury" or "property damage"
            use of alcoholic beverages.                                  arising out of the actual, alleged or
         This exclusion applies only if you are in the                   threatened discharge, dispersal, seep-
         business of manufacturing, distributing, sell-                  age, migration, release or escape of
         ing, serving or furnishing alcoholic bever-                     "pollutants":
         ages.                                                          (a) At or from any premises, site or
      d. Workers' Compensation And Similar                                   location which is or was at any time
         Laws                                                                owned or occupied by, or rented or
         Any obligation of the insured under a work-                         loaned to, any insured. However, this
         ers' compensation, disability benefits or un-                       subparagraph does not apply to:
         employment compensation law or any simi-                            (i) "Bodily injury" if sustained within
         lar law.                                                                a building and caused by smoke,
      e. Employer's Liability                                                    fumes, vapor or soot produced by
                                                                                 or originating from equipment that
         "Bodily injury" to:                                                     is used to heat, cool or dehumid-
        (1) An "employee" of the insured arising out                             ify the building, or equipment that
             of and in the course of:                                            is used to heat water for personal
            (a) Employment by the insured; or                                    use, by the building's occupants
                                                                                 or their guests;
            (b) Performing duties related to the
                 conduct of the insured's business; or                      (ii) "Bodily injury" or "property dam-
                                                                                 age" for which you may be held
        (2) The spouse, child, parent, brother or                                liable, if you are a contractor and
             sister of that "employee" as a conse-                               the owner or lessee of such
             quence of Paragraph (1) above.                                      premises, site or location has
         This exclusion applies:                                                 been added to your policy as an
                                                                                 additional insured with respect to
        (1) Whether the insured may be liable as an
                                                                                 your ongoing operations per-
             employer or in any other capacity; and
                                                                                 formed for that additional insured
        (2) To any obligation to share damages with                              at that premises, site or location
             or repay someone else who must pay                                  and such premises, site or loca-
             damages because of the injury.                                      tion is not and never was owned
         This exclusion does not apply to liability as-                          or occupied by, or rented or
         sumed by the insured under an "insured                                  loaned to, any insured, other than
         contract".                                                              that additional insured; or
                                                                           (iii) "Bodily injury" or "property dam-
                                                                                 age" arising out of heat, smoke or
                                                                                 fumes from a "hostile fire";




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           (b) At or from any premises, site or                             (ii) "Bodily injury" or "property dam-
               location which is or was at any time                              age" sustained within a building
               used by or for any insured or others                              and caused by the release of
               for the handling, storage, disposal,                              gases, fumes or vapors from ma-
               processing or treatment of waste;                                 terials brought into that building in
           (c) Which are or were at any time trans-                              connection with operations being
               ported, handled, stored, treated, dis-                            performed by you or on your be-
               posed of, or processed as waste by                                half by a contractor or subcon-
               or for:                                                           tractor; or
               (i) Any insured; or                                         (iii) "Bodily injury" or "property dam-
                                                                                 age" arising out of heat, smoke or
              (ii) Any person or organization for                                fumes from a "hostile fire".
                   whom you may be legally re-
                   sponsible; or                                        (e) At or from any premises, site or
                                                                             location on which any insured or any
           (d) At or from any premises, site or                              contractors or subcontractors work-
               location on which any insured or any                          ing directly or indirectly on any in-
               contractors or subcontractors work-                           sured's behalf are performing opera-
               ing directly or indirectly on any in-                         tions if the operations are to test for,
               sured's behalf are performing opera-                          monitor, clean up, remove, contain,
               tions if the "pollutants" are brought                         treat, detoxify or neutralize, or in any
               on or to the premises, site or location                       way respond to, or assess the ef-
               in connection with such operations                            fects of, "pollutants".
               by such insured, contractor or sub-
               contractor. However, this subpara-                   (2) Any loss, cost or expense arising out of
               graph does not apply to:                                  any:
               (i) "Bodily injury" or "property dam-                    (a) Request, demand, order or statutory
                   age" arising out of the escape of                         or regulatory requirement that any
                   fuels, lubricants or other operat-                        insured or others test for, monitor,
                   ing fluids which are needed to                            clean up, remove, contain, treat, de-
                   perform the normal electrical, hy-                        toxify or neutralize, or in any way re-
                   draulic or mechanical functions                           spond to, or assess the effects of,
                   necessary for the operation of                            "pollutants"; or
                   "mobile equipment" or its parts, if                  (b) Claim or "suit" by or on behalf of a
                   such fuels, lubricants or other                           governmental authority for damages
                   operating fluids escape from a                            because of testing for, monitoring,
                   vehicle part designed to hold,                            cleaning up, removing, containing,
                   store or receive them. This ex-                           treating, detoxifying or neutralizing,
                   ception does not apply if the                             or in any way responding to, or as-
                   "bodily injury" or "property dam-                         sessing the effects of, "pollutants".
                   age" arises out of the intentional                    However, this paragraph does not apply
                   discharge, dispersal or release of                    to liability for damages because of
                   the fuels, lubricants or other op-                    "property damage" that the insured
                   erating fluids, or if such fuels, lu-                 would have in the absence of such re-
                   bricants or other operating fluids                    quest, demand, order or statutory or
                   are brought on or to the prem-                        regulatory requirement or such claim or
                   ises, site or location with the in-                   "suit" by or on behalf of a governmental
                   tent that they be discharged, dis-                    authority.
                   persed or released as part of the
                   operations being performed by                  g. Aircraft, Auto Or Watercraft
                   such insured, contractor or sub-                  "Bodily injury" or "property damage" arising
                   contractor;                                       out of the ownership, maintenance, use or
                                                                     entrustment to others of any aircraft, "auto"
                                                                     or watercraft owned or operated by or
                                                                     rented or loaned to any insured. Use in-
                                                                     cludes operation and "loading or unload-
                                                                     ing".




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         This exclusion applies even if the claims al-               (2) The use of "mobile equipment" in, or
         lege negligence or other wrongdoing in the                       while in practice for, or while being pre-
         supervision, hiring, employment, training or                     pared for, any prearranged racing,
         monitoring of others by an insured, if the                       speed, demolition or stunting activity.
         "occurrence" which caused the "bodily in-                 i. War
         jury" or "property damage" involved the
         ownership, maintenance, use or entrust-                      "Bodily injury", "property damage" or "per-
         ment to others of any aircraft, "auto" or wa-                sonal and advertising injury", however
         tercraft that is owned or operated by or                     caused, arising, directly or indirectly, out of:
         rented or loaned to any insured.                            (1) War, including undeclared civil war;
         This exclusion does not apply to:                           (2) Warlike action by a military force, includ-
        (1) A watercraft while ashore on premises                         ing action in hindering or defending
             you own or rent;                                             against an actual or expected attack, by
                                                                          any government, sovereign or other au-
        (2) A watercraft you do not own that is:                          thority using military personnel or other
            (a) Less than 51 feet long; and                               agents; or
            (b) Not being used to carry persons or                   (3) Insurrection,       rebellion,   revolution,
                 property for a charge;                                   usurped power, or action taken by gov-
        (3) Parking an "auto" on, or on the ways                          ernment authority in hindering or de-
             next to, premises you own or rent, pro-                      fending against any of these.
             vided the "auto" is not owned by or                   j. Professional Services
             rented or loaned to you or the insured;                  "Bodily injury", "property damage" or "per-
        (4) Liability assumed under any "insured                      sonal and advertising injury" caused by the
             contract" for the ownership, mainte-                     rendering or failure to render any profes-
             nance or use of aircraft or watercraft; or               sional service. This includes but is not lim-
        (5) "Bodily injury" or "property damage"                      ited to:
             arising out of:                                         (1) Legal, accounting or advertising ser-
            (a) The operation of machinery or                             vices;
                 equipment that is attached to, or part              (2) Preparing, approving, or failing to pre-
                 of, a land vehicle that would qualify                    pare or approve maps, drawings, opin-
                 under the definition of "mobile                          ions, reports, surveys, change orders,
                 equipment" if it were not subject to a                   designs or specifications;
                 compulsory or financial responsibility              (3) Supervisory, inspection or engineering
                 law or other motor vehicle insurance                     services;
                 or motor vehicle registration law
                 where it is licensed or principally ga-             (4) Medical, surgical, dental, x-ray or nurs-
                 raged; or                                                ing services treatment, advice or instruc-
                                                                          tion;
            (b) The operation of any of the following
                 machinery or equipment:                             (5) Any health or therapeutic service treat-
                                                                          ment, advice or instruction;
                 (i) Cherry pickers and similar de-
                     vices mounted on automobile or                  (6) Any service, treatment, advice or in-
                     truck chassis and used to raise or                   struction for the purpose of appearance
                     lower workers; and                                   or skin enhancement, hair removal or
                                                                          replacement or personal grooming;
                (ii) Air compressors, pumps and
                     generators, including spraying,                 (7) Optometry or optical or hearing aid ser-
                     welding, building cleaning, geo-                     vices     including     the    prescribing,
                     physical exploration, lighting and                   preparation, fitting, demonstration or dis-
                     well servicing equipment.                            tribution of ophthalmic lenses and simi-
                                                                          lar products or hearing aid devices;
      h. Mobile Equipment
                                                                     (8) Body piercing services; and
         "Bodily injury" or "property damage" arising
         out of:                                                     (9) Services in the practice of pharmacy.
        (1) The transportation of "mobile equip-
             ment" by an "auto" owned or operated
             by or rented or loaned to any insured; or




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         This exclusion applies even if the claims al-            l. Damage To Your Product
         lege negligence or other wrongdoing in the                  "Property damage" to "your product" arising
         supervision, hiring, employment, training or                out of it or any part of it.
         monitoring of others by an insured, if the
         "occurrence" which caused the "bodily in-               m. Damage To Your Work
         jury" or "property damage", or the offense                  "Property damage" to "your work" arising
         which caused the "personal and advertising                  out of it or any part of it and included in the
         injury", involved the rendering or failure to               "products-completed operations hazard".
         render of any professional service.
                                                                     This exclusion does not apply if the dam-
      k. Damage To Property                                          aged work or the work out of which the
         "Property damage" to:                                       damage arises was performed on your be-
                                                                     half by a subcontractor.
        (1) Property you own, rent or occupy, in-
             cluding any costs or expenses incurred              n. Damage To Impaired Property Or
             by you, or any other person, organiza-                  Property Not Physically Injured
             tion or entity, for repair, replacement,                "Property damage" to "impaired property" or
             enhancement, restoration or mainte-                     property that has not been physically in-
             nance of such property for any reason,                  jured, arising out of:
             including prevention of injury to a person
                                                                    (1) A defect, deficiency, inadequacy or
             or damage to another's property;
                                                                          dangerous condition in "your product" or
        (2) Premises you sell, give away or aban-                         "your work"; or
             don, if the "property damage" arises out
                                                                    (2) A delay or failure by you or anyone
             of any part of those premises;
                                                                          acting on your behalf to perform a con-
        (3) Property loaned to you;                                       tract or agreement in accordance with
        (4) Personal property in the care, custody                        its terms.
             or control of the insured;                              This exclusion does not apply to the loss of
        (5) That particular part of real property on                 use of other property arising out of sudden
             which you or any contractor or subcon-                  and accidental physical injury to "your prod-
             tractor working directly or indirectly on               uct" or "your work" after it has been put to
             your behalf is performing operations, if                its intended use.
             the "property damage" arises out of                 o. Recall Of Products, Work Or Impaired
             those operations; or                                    Property
        (6) That particular part of any property that                Damages claimed for any loss, cost or ex-
             must be restored, repaired or replaced                  pense incurred by you or others for the loss
             because "your work" was incorrectly                     of use, withdrawal, recall, inspection, repair,
             performed on it.                                        replacement, adjustment, removal or dis-
         Paragraphs (1), (3) and (4) of this exclusion               posal of:
         do not apply to "property damage" (other                   (1) "Your product";
         than damage by fire) to premises, including
                                                                    (2) "Your work"; or
         the contents of such premises, rented to
         you for a period of seven or fewer consecu-                (3) "Impaired property";
         tive days. A separate Limit of Insurance ap-                if such product, work or property is with-
         plies to Damage To Premises Rented To                       drawn or recalled from the market or from
         You as described in Paragraph D. Liability                  use by any person or organization because
         And Medical Expenses Limit Of Insurance                     of a known or suspected defect, deficiency,
         in Section II – Liability.                                  inadequacy or dangerous condition in it.
         Paragraph (2) of this exclusion does not                p. Personal And Advertising Injury
         apply if the premises are "your work" and
                                                                     "Personal and advertising injury":
         were never occupied, rented or held for
         rental by you.                                             (1) Caused by or at the direction of the
                                                                          insured with the knowledge that the act
         Paragraphs (3), (4), (5) and (6) of this ex-
                                                                          would violate the rights of another and
         clusion do not apply to liability assumed
                                                                          would inflict "personal and advertising
         under a sidetrack agreement.
                                                                          injury";
         Paragraph (6) of this exclusion does not
         apply to "property damage" included in the
         "products-completed operations hazard".




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        (2) Arising out of oral or written publication            (10) With respect to any loss, cost or ex-
            of material, if done by or at the direction                pense arising out of any:
            of the insured with knowledge of its fal-                 (a) Request, demand or order that any
            sity;                                                          insured or others test for, monitor,
        (3) Arising out of oral or written publication                     clean-up, remove, contain, treat, de-
            of material whose first publication took                       toxify or neutralize or in any way re-
            place before the beginning of the policy                       spond to, or assess the effects of,
            period;                                                        "pollutants"; or
        (4) For which the insured has assumed                         (b) Claim or "suit" by or on behalf of a
            liability in a contract or agreement. This                     governmental authority for damages
            exclusion does not apply to liability for                      because of testing for, monitoring,
            damages that the insured would have in                         cleaning up, removing, containing,
            the absence of the contract or agree-                          treating, detoxifying or neutralizing or
            ment;                                                          in any way responding to, or assess-
        (5) Arising out of a breach of contract, ex-                       ing the effects of, "pollutants".
            cept an implied contract to use another's             (11) Arising out of an electronic chatroom or
            advertising idea in your "advertisement";                  bulletin board the insured hosts, owns or
        (6) Arising out of the failure of goods, prod-                 over which the insured exercises con-
            ucts or services to conform with any                       trol;
            statement of quality or performance                   (12) Arising out of the infringement of copy-
            made in your "advertisement";                              right, patent, trademark, trade secret or
        (7) Arising out of the wrong description of                    other intellectual property rights. Under
            the price of goods, products or services                   this exclusion, such other intellectual
            stated in your "advertisement";                            property rights do not include the use of
                                                                       another's advertising idea in your "ad-
        (8) Committed by an insured whose busi-                        vertisement".
            ness is:
                                                                       However, this exclusion does not apply
           (a) Advertising, broadcasting, publishing                   to infringement, in your "advertisement",
                or telecasting;                                        of copyright, trade dress or slogan.
           (b) Designing or determining content of                (13) Arising out of the unauthorized use of
                websites for others; or                                another's name or product in your e-mail
           (c) An Internet search, access, content                     address, domain name or metatags, or
                or service provider.                                   any other similar tactics to mislead an-
            However, this exclusion does not apply                     other's potential customers.
            to Paragraphs 14.a., b. and c. of "per-              q. Electronic Data
            sonal and advertising injury" under                     Damages arising out of the loss of, loss of
            Paragraph F. Liability And Medical Ex-                  use of, damage to, corruption of, inability to
            penses Definitions.                                     access, or inability to manipulate electronic
            For the purposes of this exclusion, the                 data.
            placing of frames, borders or links, or                 As used in this exclusion, electronic data
            advertising, for you or others anywhere                 means information, facts or computer pro-
            on the Internet, by itself, is not consid-              grams stored as or on, created or used on,
            ered the business of advertising, broad-                or transmitted to or from computer software
            casting, publishing or telecasting.                     (including systems and applications soft-
        (9) Arising out of the actual, alleged or                   ware), on hard or floppy disks, CD-ROMs,
            threatened discharge, dispersal, seep-                  tapes, drives, cells, data processing de-
            age, migration, release or escape of                    vices or any other repositories of computer
            "pollutants" at any time;                               software which are used with electronically
                                                                    controlled equipment. The term computer
                                                                    programs, referred to in the foregoing de-
                                                                    scription of electronic data, means a set of
                                                                    related electronic instructions which direct
                                                                    the operations and functions of a computer
                                                                    or device connected to it, which enable the
                                                                    computer or device to receive, process,
                                                                    store, retrieve or send data.




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      r. Criminal Acts                                              e. To a person injured while practicing, in-
          "Personal and advertising injury" arising out                structing or participating in any physical ex-
          of a criminal act committed by or at the di-                 ercises or games, sports or athletic con-
          rection of the insured.                                      tests.
      s. Recording And Distribution Of Material                     f. Included within the "products-completed
          Or Information In Violation Of Law                           operations hazard".
          "Bodily injury", "property damage", or "per-              g. Excluded under Business Liability Cover-
          sonal and advertising injury" arising directly               age.
          or indirectly out of any action or omission            3. Applicable To Both Business Liability
          that violates or is alleged to violate:                   Coverage And Medical Expenses Coverage
         (1) The Telephone Consumer Protection                      – Nuclear Energy Liability Exclusion
               Act (TCPA), including any amendment                  This insurance does not apply:
               of or addition to such law;                          a. Under Business Liability Coverage, to "bod-
         (2) The CAN-SPAM Act of 2003, including                       ily injury" or "property damage":
               any amendment of or addition to such                   (1) With respect to which an insured under
               law;                                                         the policy is also an insured under a nu-
         (3) The Fair Credit Reporting Act (FCRA),                          clear energy liability policy issued by the
               and any amendment of or addition to                          Nuclear Energy Liability Insurance As-
               such law, including the Fair and Accu-                       sociation, Mutual Atomic Energy Liability
               rate Credit Transaction Act (FACTA); or                      Underwriters or Nuclear Insurance As-
         (4) Any federal, state or local statute, ordi-                     sociation of Canada, or would be an in-
               nance or regulation, other than the                          sured under any such policy but for its
               TCPA, CAN-SPAM Act of 2003 or                                termination upon exhaustion of its limit
               FCRA and their amendments and addi-                          of liability; or
               tions, that addresses, prohibits, or limits            (2) Resulting from the "hazardous proper-
               the printing, dissemination, disposal,                       ties" of "nuclear material" and with re-
               collecting, recording, sending, transmit-                    spect to which:
               ting, communicating or distribution of                      (a) Any person or organization is re-
               material or information.                                          quired to maintain financial protec-
      Exclusions c., d., e., f., g., h., i., k., l., m., n.                      tion pursuant to the Atomic Energy
      and o. in Section II – Liability do not apply to                           Act of 1954, or any law amendatory
      damage by fire to premises while rented to                                 thereof; or
      you, or temporarily occupied by you with per-                        (b) The insured is, or had this policy not
      mission of the owner. A separate Damage To                                 been issued would be, entitled to in-
      Premises Rented To You Limit of Insurance                                  demnity from the United States of
      applies to this coverage as described in Para-                             America, or any agency thereof, un-
      graph D. Liability And Medical Expenses Limits                             der any agreement entered into by
      of Insurance in Section II – Liability.                                    the United States of America, or any
   2. Applicable To Medical Expenses Coverage                                    agency thereof, with any person or
      We will not pay expenses for "bodily injury":                              organization.
      a. To any insured, except "volunteer workers".                b. Under Medical Expenses Coverage, to
                                                                       expenses incurred with respect to "bodily
      b. To a person hired to do work for or on be-                    injury" resulting from the "hazardous prop-
          half of any insured or a tenant of any in-                   erties" of "nuclear material" and arising out
          sured.                                                       of the operation of a "nuclear facility" by any
      c. To a person injured on that part of premises                  person or organization.
          you own or rent that the person normally                  c. Under Business Liability Coverage, to "bod-
          occupies.                                                    ily injury" or "property damage" resulting
      d. To a person, whether or not an "employee"                     from the "hazardous properties" of the "nu-
          of any insured, if benefits for the "bodily in-              clear material"; if:
          jury" are payable or must be provided under                 (1) The "nuclear material":
          a workers' compensation or disability bene-
          fits law or a similar law.                                       (a) Is at any "nuclear facility" owned by,
                                                                                 or operated by or on behalf of, an in-
                                                                                 sured; or




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           (b) Has been discharged or dispersed                       (4) "Nuclear material" means "source mate-
                therefrom;                                                 rial", "special nuclear material" or "by-
        (2) The "nuclear material" is contained in                         product material";
            "spent fuel" or "waste" at any time pos-                  (5) "Nuclear reactor" means any apparatus
            sessed, handled, used, processed,                              designed or used to sustain nuclear fis-
            stored, transported or disposed of by or                       sion in a self-supporting chain reaction
            on behalf of an insured; or                                    or to contain a critical mass of fission-
        (3) The "bodily injury" or "property damage"                       able material;
            arises out of the furnishing by an in-                    (6) "Property damage" includes all forms of
            sured of services, materials, parts or                         radioactive contamination of property;
            equipment in connection with the plan-                    (7) "Source material" has the meaning
            ning, construction, maintenance, opera-                        given it in the Atomic Energy Act of
            tion or use of any "nuclear facility"; but if                  1954 or in any law amendatory thereof;
            such facility is located within the United
            States of America, its territories or pos-                (8) "Special nuclear material" has the
            sessions or Canada, this Exclusion (3)                         meaning given it in the Atomic Energy
            applies only to "property damage" to                           Act of 1954 or in any law amendatory
            such "nuclear facility" and any property                       thereof;
            thereat.                                                  (9) "Spent fuel" means any fuel element or
      d. As used in this exclusion:                                        fuel component, solid or liquid, which
                                                                           has been used or exposed to radiation
        (1) "By-product material" has the meaning                          in a "nuclear reactor";
            given it in the Atomic Energy Act of
            1954 or in any law amendatory thereof;                  (10) "Waste" means any waste material:
        (2) "Hazardous properties" include radioac-                       (a) Containing "by-product material"
            tive, toxic or explosive properties;                               other than the tailings or wastes pro-
                                                                               duced by the extraction or concen-
        (3) "Nuclear facility" means:                                          tration of uranium or thorium from
           (a) Any "nuclear reactor";                                          any ore processed primarily for its
           (b) Any equipment or device designed                                "source material" content; and
                 or used for:                                             (b) Resulting from the operation by any
                 (i) Separating the isotopes of ura-                           person or organization of any "nu-
                     nium or plutonium;                                        clear facility" included under Para-
                                                                               graphs (a) and (b) of the definition of
                (ii) Processing or utilizing "spent                            "nuclear facility".
                     fuel"; or
                                                            C. Who Is An Insured
               (iii) Handling, processing or packag-
                     ing "waste";                              1. If you are designated in the Declarations as:
           (c) Any equipment or device used for                   a. An individual, you and your spouse are
                 the processing, fabricating or alloy-                 insureds, but only with respect to the con-
                 ing of "special nuclear material" if at               duct of a business of which you are the sole
                 any time the total amount of such                     owner.
                 material in the custody of the insured           b. A partnership or joint venture, you are an
                 at the premises where such equip-                     insured. Your members, your partners and
                 ment or device is located consists of                 their spouses are also insureds, but only
                 or contains more than 25 grams of                     with respect to the conduct of your busi-
                 plutonium or uranium 233 or any                       ness.
                 combination thereof, or more than                c. A limited liability company, you are an in-
                 250 grams of uranium 235;                             sured. Your members are also insureds, but
           (d) Any structure, basin, excavation,                       only with respect to the conduct of your
                 premises or place prepared or used                    business. Your managers are insureds, but
                 for the storage or disposal of                        only with respect to their duties as your
                 "waste";                                              managers.
            and includes the site on which any of the
            foregoing is located, all operations con-
            ducted on such site and all premises
            used for such operations;




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      d. An organization other than a partnership,                         (b) Rented to, in the care, custody or
         joint venture or limited liability company,                           control of, or over which physical
         you are an insured. Your "executive offi-                             control is being exercised for any
         cers" and directors are insureds, but only                            purpose by
         with respect to their duties as your officers                      you, any of your "employees", "volunteer
         or directors. Your stockholders are also in-                       workers", any partner or member (if you
         sureds, but only with respect to their liability                   are a partnership or joint venture), or
         as stockholders.                                                   any member (if you are a limited liability
      e. A trust, you are an insured. Your trustees                         company).
         are also insureds, but only with respect to               b. Any person (other than your "employee" or
         their duties as trustees.                                      "volunteer worker"), or any organization
   2. Each of the following is also an insured:                         while acting as your real estate manager.
      a. Your "volunteer workers" only while per-                  c. Any person or organization having proper
         forming duties related to the conduct of                       temporary custody of your property if you
         your business, or your "employees", other                      die, but only:
         than either your "executive officers" (if you                 (1) With respect to liability arising out of the
         are an organization other than a partner-                          maintenance or use of that property;
         ship, joint venture or limited liability com-                      and
         pany) or your managers (if you are a limited
         liability company), but only for acts within                  (2) Until your legal representative has been
         the scope of their employment by you or                            appointed.
         while performing duties related to the con-               d. Your legal representative if you die, but only
         duct of your business. However, none of                        with respect to duties as such. That repre-
         these "employees" or "volunteer workers"                       sentative will have all your rights and duties
         are insureds for:                                              under this policy.
        (1) "Bodily injury" or "personal and advertis-         No person or organization is an insured with re-
             ing injury":                                      spect to the conduct of any current or past part-
            (a) To you, to your partners or members            nership, joint venture or limited liability company
                  (if you are a partnership or joint ven-      that is not shown as a Named Insured in the Dec-
                  ture), to your members (if you are a         larations.
                  limited liability company), or to a co-   D. Liability And Medical Expenses Limits Of
                  "employee" while in the course of his        Insurance
                  or her employment or performing du-
                                                               1. The Limits of Insurance of Section II – Liability
                  ties related to the conduct of your
                                                                   shown in the Declarations and the rules below
                  business, or to your other "volunteer
                                                                   fix the most we will pay regardless of the num-
                  workers" while performing duties re-
                                                                   ber of:
                  lated to the conduct of your busi-
                  ness;                                            a. Insureds;
            (b) To the spouse, child, parent, brother              b. Claims made or "suits" brought; or
                  or sister of that co-"employee" as a             c. Persons or organizations making claims or
                  consequence of Paragraph (a)                          bringing "suits".
                  above;
                                                               2. The most we will pay for the sum of all dam-
            (c) For which there is any obligation to               ages because of all:
                  share damages with or repay some-
                  one else who must pay damages                    a. "Bodily injury", "property damage" and
                  because of the injury described in                    medical expenses arising out of any one
                  Paragraph (a) or (b); or                              "occurrence"; and
            (d) Arising out of his or her providing or             b. "Personal and advertising injury" sustained
                  failing to provide professional health                by any one person or organization;
                  care services.                                   is the Liability and Medical Expenses limit
        (2) "Property damage" to property:                         shown in the Declarations. But the most we will
                                                                   pay for all medical expenses because of "bod-
            (a) Owned, occupied or used by,                        ily injury" sustained by any one person is the
                                                                   Medical Expenses limit shown in the Declara-
                                                                   tions.




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   3. The most we will pay under Business Liability             2. Duties In The Event Of Occurrence,
      Coverage for damages because of "property                    Offense, Claim Or Suit
      damage" to a premises while rented to you or                 a. You must see to it that we are notified as
      in the case of fire while rented to you or tempo-                soon as practicable of an "occurrence" or
      rarily occupied by you with permission of the                    an offense which may result in a claim. To
      owner is the applicable Damage To Premises                       the extent possible, notice should include:
      Rented To You limit shown for that premises in
      the Declarations. For a premises temporarily                    (1) How, when and where the "occurrence"
      occupied by you, the applicable limit will be the                    or offense took place;
      highest Damage To Premises Rented To You                        (2) The names and addresses of any in-
      limit shown in the Declarations.                                     jured persons and witnesses; and
   4. Aggregate Limits                                                (3) The nature and location of any injury or
      The most we will pay for:                                            damage arising out of the "occurrence"
                                                                           or offense.
      a. All "bodily injury" and "property damage"
           that is included in the "products-completed             b. If a claim is made or "suit" is brought
           operations hazard" is twice the Liability and               against any insured, you must:
           Medical Expenses limit.                                    (1) Immediately record the specifics of the
      b. All:                                                              claim or "suit" and the date received;
                                                                           and
          (1) "Bodily injury" and "property damage"
               except damages because of "bodily in-                  (2) Notify us as soon as practicable.
               jury" or "property damage" included in                  You must see to it that we receive written
               the "products-completed operations                      notice of the claim or "suit" as soon as prac-
               hazard";                                                ticable.
          (2) Plus medical expenses;                               c. You and any other involved insured must:
          (3) Plus all "personal and advertising injury"              (1) Immediately send us copies of any de-
               caused by offenses committed;                               mands, notices, summonses or legal
           is twice the Liability and Medical Expenses                     papers received in connection with the
           limit.                                                          claim or "suit";
      Subject to Paragraph a. or b. above, whichever                  (2) Authorize us to obtain records and other
      applies, the Damage To Premises Rented To                            information;
      You Limit is the most we will pay for damages                   (3) Cooperate with us in the investigation or
      because of "property damage" to any one                              settlement of the claim or defense
      premises, while rented to you, or in the case of                     against the "suit"; and
      fire, while rented to you or temporarily occu-                  (4) Assist us, upon our request, in the en-
      pied by you with permission of the owner.                            forcement of any right against any per-
      The Limits of Insurance of Section II – Liability                    son or organization that may be liable to
      apply separately to each consecutive annual                          the insured because of injury or damage
      period and to any remaining period of less than                      to which this insurance may also apply.
      12 months, starting with the beginning of the                d. No insured will, except at that insured's own
      policy period shown in the Declarations, unless                  cost, voluntarily make a payment, assume
      the policy period is extended after issuance for                 any obligation, or incur any expense, other
      an additional period of less than 12 months. In                  than for first aid, without our consent.
      that case, the additional period will be deemed
      part of the last preceding period for purposes            3. Legal Action Against Us
      of determining the Limits of Insurance.                      No person or organization has a right under
E. Liability And Medical Expenses General                          this policy:
   Conditions                                                      a. To join us as a party or otherwise bring us
   1. Bankruptcy                                                       into a "suit" asking for damages from an in-
                                                                       sured; or
      Bankruptcy or insolvency of the insured or of
      the insured's estate will not relieve us of our              b. To sue us on this policy unless all of its
      obligations under this policy.                                   terms have been fully complied with.




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      A person or organization may sue us to re-                   b. International waters or airspace, but only if
      cover on an agreed settlement or on a final                      the injury or damage occurs in the course of
      judgment against an insured; but we will not be                  travel or transportation between any places
      liable for damages that are not payable under                    included in Paragraph a. above; or
      the terms of this policy or that are in excess of            c. All other parts of the world if the injury or
      the applicable Limit of Insurance. An agreed                     damage arises out of:
      settlement means a settlement and release of
      liability signed by us, the insured and the                     (1) Goods or products made or sold by you
      claimant or the claimant's legal representative.                     in the territory described in Paragraph a.
                                                                           above;
   4. Separation Of Insureds
                                                                      (2) The activities of a person whose home
      Except with respect to the Limits of Insurance                       is in the territory described in Paragraph
      of Section II – Liability, and any rights or duties                  a. above, but is away for a short time on
      specifically assigned in this policy to the first                    your business; or
      Named Insured, this insurance applies:
                                                                      (3) "Personal and advertising injury" of-
      a. As if each Named Insured were the only                            fenses that take place through the Inter-
           Named Insured; and                                              net or similar electronic means of com-
      b. Separately to each insured against whom                           munication;
           claim is made or "suit" is brought.                     provided the insured's responsibility to pay
F. Liability And Medical Expenses Definitions                      damages is determined in a "suit" on the merits
   1. "Advertisement" means a notice that is broad-                in the territory described in Paragraph a. above
      cast or published to the general public or spe-              or in a settlement we agree to.
      cific market segments about your goods, prod-             5. "Employee" includes a "leased worker". "Em-
      ucts or services for the purpose of attracting               ployee" does not include a "temporary worker".
      customers or supporters. For the purposes of              6. "Executive officer" means a person holding any
      this definition:                                             of the officer positions created by your charter,
      a. Notices that are published include material               constitution, bylaws or any other similar gov-
           placed on the Internet or on similar elec-              erning document.
           tronic means of communication; and                   7. "Hostile fire" means one which becomes un-
      b. Regarding websites, only that part of a                   controllable or breaks out from where it was in-
           website that is about your goods, products              tended to be.
           or services for the purposes of attracting           8. "Impaired property" means tangible property,
           customers or supporters is considered an                other than "your product" or "your work", that
           advertisement.                                          cannot be used or is less useful because:
   2. "Auto" means:                                                a. It incorporates "your product" or "your work"
      a. A land motor vehicle, trailer or semitrailer                   that is known or thought to be defective, de-
           designed for travel on public roads, includ-                 ficient, inadequate or dangerous; or
           ing any attached machinery or equipment;                b. You have failed to fulfill the terms of a con-
           or                                                           tract or agreement;
      b. Any other land vehicle that is subject to a               if such property can be restored to use by:
           compulsory or financial responsibility law or
           other motor vehicle insurance or motor ve-                  (1) The repair, replacement, adjustment or
           hicle registration law where it is licensed or                    removal of "your product" or "your work";
           principally garaged.                                              or
      However, "auto" does not include "mobile                         (2) Your fulfilling the terms of the contract or
      equipment".                                                            agreement.
   3. "Bodily injury" means bodily injury, sickness or          9. "Insured contract" means:
      disease sustained by a person, including death               a. A contract for a lease of premises. How-
      resulting from any of these at any time.                         ever, that portion of the contract for a lease
   4. "Coverage territory" means:                                      of premises that indemnifies any person or
                                                                       organization for damage by fire to premises
      a. The United States of America (including its                   while rented to you or temporarily occupied
           territories and possessions), Puerto Rico                   by you with permission of the owner is not
           and Canada;                                                 an "insured contract";




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      b. A sidetrack agreement;                                 11. "Loading or unloading" means the handling of
      c. Any easement or license agreement, ex-                     property:
          cept in connection with construction or                   a. After it is moved from the place where it is
          demolition operations on or within 50 feet of                 accepted for movement into or onto an air-
          a railroad;                                                   craft, watercraft or "auto";
      d. An obligation, as required by ordinance, to                b. While it is in or on an aircraft, watercraft or
          indemnify a municipality, except in connec-                   "auto"; or
          tion with work for a municipality;                        c. While it is being moved from an aircraft,
      e. An elevator maintenance agreement;                             watercraft or "auto" to the place where it is
       f. That part of any other contract or agree-                     finally delivered;
          ment pertaining to your business (including               but "loading or unloading" does not include the
          an indemnification of a municipality in con-              movement of property by means of a mechani-
          nection with work performed for a munici-                 cal device, other than a hand truck, that is not
          pality) under which you assume the tort li-               attached to the aircraft, watercraft or "auto".
          ability of another party to pay for "bodily           12. "Mobile equipment" means any of the following
          injury" or "property damage" to a third per-              types of land vehicles, including any attached
          son or organization. Tort liability means a               machinery or equipment:
          liability that would be imposed by law in the
          absence of any contract or agreement.                     a. Bulldozers, farm machinery, forklifts and
                                                                        other vehicles designed for use principally
          Paragraph f. does not include that part of                    off public roads;
          any contract or agreement:
                                                                    b. Vehicles maintained for use solely on or
         (1) That indemnifies a railroad for "bodily                    next to premises you own or rent;
              injury" or "property damage" arising out
              of construction or demolition operations,             c. Vehicles that travel on crawler treads;
              within 50 feet of any railroad property               d. Vehicles, whether self-propelled or not, on
              and affecting any railroad bridge or tres-                which are permanently mounted:
              tle, tracks, roadbeds, tunnel, underpass
                                                                       (1) Power cranes, shovels, loaders, diggers
              or crossing;
                                                                            or drills; or
         (2) That indemnifies an architect, engineer
                                                                       (2) Road construction or resurfacing equip-
              or surveyor for injury or damage arising
                                                                            ment such as graders, scrapers or roll-
              out of:
                                                                            ers;
             (a) Preparing, approving or failing to
                                                                    e. Vehicles not described in Paragraph a., b.,
                   prepare or approve maps, drawings,
                                                                        c. or d. above that are not self-propelled
                   opinions, reports, surveys, change
                                                                        and are maintained primarily to provide
                   orders, designs or specifications; or
                                                                        mobility to permanently attached equipment
             (b) Giving directions or instructions, or                  of the following types:
                   failing to give them, if that is the pri-
                                                                       (1) Air compressors, pumps and genera-
                   mary cause of the injury or damage;
                                                                            tors, including spraying, welding, build-
                   or
                                                                            ing cleaning, geophysical exploration,
         (3) Under which the insured, if an architect,                      lighting and well servicing equipment; or
              engineer or surveyor, assumes liability
                                                                       (2) Cherry pickers and similar devices used
              for an injury or damage arising out of the
                                                                            to raise or lower workers;
              insured's rendering or failure to render
              professional services, including those                 f. Vehicles not described in Paragraph a., b.,
              listed in Paragraph (2) above and su-                     c. or d. above maintained primarily for pur-
              pervisory, inspection or engineering ser-                 poses other than the transportation of per-
              vices.                                                    sons or cargo.
  10. "Leased worker" means a person leased to you                      However, self-propelled vehicles with the
      by a labor leasing firm under an agreement be-                    following types of permanently attached
      tween you and the labor leasing firm, to per-                     equipment are not "mobile equipment" but
      form duties related to the conduct of your busi-                  will be considered "autos":
      ness. "Leased worker" does not include a                         (1) Equipment designed primarily for:
      "temporary worker".
                                                                           (a) Snow removal;




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              (b) Road maintenance, but not construc-         16. "Products-completed operations hazard":
                   tion or resurfacing; or                        a. Includes all "bodily injury" and "property
              (c) Street cleaning;                                   damage" occurring away from premises you
          (2) Cherry pickers and similar devices                     own or rent and arising out of "your product"
               mounted on automobile or truck chassis                or "your work" except:
               and used to raise or lower workers; and              (1) Products that are still in your physical
          (3) Air compressors, pumps and genera-                         possession; or
               tors, including spraying, welding, build-            (2) Work that has not yet been completed
               ing cleaning, geophysical exploration,                    or abandoned. However, "your work" will
               lighting and well servicing equipment.                    be deemed completed at the earliest of
      However, "mobile equipment" does not include                       the following times:
      land vehicles that are subject to a compulsory                    (a) When all of the work called for in
      or financial responsibility law or other motor                         your contract has been completed.
      vehicle insurance or motor vehicle registration                   (b) When all of the work to be done at
      law where they are licensed or principally ga-                         the job site has been completed if
      raged. Land vehicles subject to a compulsory                           your contract calls for work at more
      or financial responsibility law or other motor                         than one job site.
      vehicle insurance law or motor vehicle registra-
      tion law are considered "autos".                                  (c) When that part of the work done at
                                                                             the job site has been put to its in-
  13. "Occurrence" means an accident, including                              tended use by any other person or
      continuous or repeated exposure to substan-                            organization other than another con-
      tially the same general harmful conditions.                            tractor or subcontractor working on
  14. "Personal and advertising injury" means injury,                        the same project.
      including consequential "bodily injury", arising                   Work that may need service, mainte-
      out of one or more of the following offenses:                      nance, correction, repair or replacement,
      a. False arrest, detention or imprisonment;                        but which is otherwise complete, will be
      b. Malicious prosecution;                                          treated as completed.
      c. The wrongful eviction from, wrongful entry                  The "bodily injury" or "property damage"
          into, or invasion of the right of private occu-            must occur away from premises you own or
          pancy of a room, dwelling or premises that                 rent, unless your business includes the sell-
          a person occupies, committed by or on be-                  ing, handling or distribution of "your prod-
          half of its owner, landlord or lessor;                     uct" for consumption on premises you own
                                                                     or rent.
      d. Oral or written publication, in any manner,
          of material that slanders or libels a person            b. Does not include "bodily injury" or "property
          or organization or disparages a person's or                damage" arising out of:
          organization's goods, products or services;               (1) The transportation of property, unless
      e. Oral or written publication, in any manner,                     the injury or damage arises out of a
          of material that violates a person's right of                  condition in or on a vehicle not owned or
          privacy;                                                       operated by you, and that condition was
                                                                         created by the "loading or unloading" of
       f. The use of another's advertising idea in                       that vehicle by any insured; or
          your "advertisement"; or
                                                                    (2) The existence of tools, uninstalled
      g. Infringing upon another's copyright, trade                      equipment or abandoned or unused ma-
          dress or slogan in your "advertisement".                       terials.
  15. "Pollutants" mean any solid, liquid, gaseous or         17. "Property damage" means:
      thermal irritant or contaminant, including
      smoke, vapor, soot, fumes, acids, alkalis,                  a. Physical injury to tangible property, includ-
      chemicals and waste. Waste includes materials                  ing all resulting loss of use of that property.
      to be recycled, reconditioned or reclaimed.                    All such loss of use shall be deemed to oc-
                                                                     cur at the time of the physical injury that
                                                                     caused it; or
                                                                  b. Loss of use of tangible property that is not
                                                                     physically injured. All such loss of use shall
                                                                     be deemed to occur at the time of the "oc-
                                                                     currence" that caused it.




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        For the purposes of this insurance, electronic               (2) The providing of or failure to provide
        data is not tangible property.                                    warnings or instructions.
        As used in this definition, electronic data                c. Does not include vending machines or
        means information, facts or programs stored                   other property rented to or located for the
        as, created or used on, or transmitted to or                  use of others but not sold.
        from computer software, including systems and          22. "Your work":
        applications software, hard or floppy disks, CD-
        ROMs, tapes, drives, cells, data processing                a. Means:
        devices or any other media which are used                    (1) Work or operations performed by you or
        with electronically controlled equipment.                         on your behalf; and
  18.   "Suit" means a civil proceeding in which dam-                (2) Materials, parts or equipment furnished
        ages because of "bodily injury", "property dam-                   in connection with such work or opera-
        age", or "personal and advertising injury" to                     tions.
        which this insurance applies are alleged. "Suit"
                                                                   b. Includes:
        includes:
                                                                     (1) Warranties or representations made at
        a. An arbitration proceeding in which such
                                                                          any time with respect to the fitness,
            damages are claimed and to which the in-
                                                                          quality, durability, performance or use of
            sured must submit or does submit with our
                                                                          "your work"; and
            consent; or
                                                                      (2) The providing of or failure to provide
        b. Any other alternative dispute resolution
                                                                           warnings or instructions.
            proceeding in which such damages are
            claimed and to which the insured submits         SECTION III – COMMON POLICY CONDITIONS
            with our consent.                                (APPLICABLE TO SECTION I – PROPERTY AND
                                                             SECTION II – LIABILITY)
  19.   "Temporary worker" means a person who is
        furnished to you to substitute for a permanent       A. Cancellation
        "employee" on leave or to meet seasonal or              1. The first Named Insured shown in the Declara-
        short-term workload conditions.                            tions may cancel this policy by mailing or deliv-
  20.   "Volunteer worker" means a person who is not               ering to us advance written notice of cancella-
        your "employee", and who donates his or her                tion.
        work and acts at the direction of and within the        2. We may cancel this policy by mailing or deliv-
        scope of duties determined by you, and is not              ering to the first Named Insured written notice
        paid a fee, salary or other compensation by                of cancellation at least:
        you or anyone else for their work performed for
        you.                                                       a. Five days before the effective date of can-
                                                                       cellation if any one of the following condi-
  21.   "Your product":                                                tions exists at any building that is Covered
        a. Means:                                                      Property in this policy;
           (1) Any goods or products, other than real                 (1) The building has been vacant or unoc-
                property, manufactured, sold, handled,                     cupied 60 or more consecutive days.
                distributed or disposed of by:                             This does not apply to:
               (a) You;                                                   (a) Seasonal unoccupancy; or
               (b) Others trading under your name; or                     (b) Buildings in the course of construc-
                                                                               tion, renovation or addition.
               (c) A person or organization whose
                    business or assets you have ac-                        Buildings with 65% or more of the rental
                    quired; and                                            units or floor area vacant or unoccupied
                                                                           are considered unoccupied under this
           (2) Containers (other than vehicles), mate-
                                                                           provision.
                rials, parts or equipment furnished in
                connection with such goods or products.               (2) After damage by a Covered Cause of
                                                                           Loss, permanent repairs to the building:
        b. Includes:
                                                                          (a) Have not started, and
           (1) Warranties or representations made at
                any time with respect to the fitness,                     (b) Have not been contracted for,
                quality, durability, performance or use of                 within 30 days of initial payment of loss.
                "your product"; and
                                                                      (3) The building has:
                                                                          (a) An outstanding order to vacate;




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              (b) An outstanding demolition order; or        C. Concealment, Misrepresentation Or Fraud
               (c) Been declared unsafe by govern-              This policy is void in any case of fraud by you as it
                   mental authority.                            relates to this policy at any time. It is also void if
          (4) Fixed and salvageable items have been             you or any other insured, at any time, intentionally
                or are being removed from the building          conceal or misrepresent a material fact concern-
                and are not being replaced. This does           ing:
                not apply to such removal that is neces-        1. This policy;
                sary or incidental to any renovation or         2. The Covered Property;
                remodeling.
                                                                3. Your interest in the Covered Property; or
          (5) Failure to:
                                                                4. A claim under this policy.
               (a) Furnish necessary heat, water,
                   sewer service or electricity for 30       D. Examination Of Your Books And Records
                   consecutive days or more, except             We may examine and audit your books and re-
                   during a period of seasonal unoccu-          cords as they relate to this policy at any time dur-
                   pancy; or                                    ing the policy period and up to three years after-
              (b) Pay property taxes that are owing             ward.
                   and have been outstanding for more        E. Inspections And Surveys
                   than one year following the date due,
                                                                1. We have the right to:
                   except that this provision will not ap-
                   ply where you are in a bona fide dis-            a. Make inspections and surveys at any time;
                   pute with the taxing authority regard-           b. Give you reports on the conditions we find;
                   ing payment of such taxes.                           and
       b. 10 days before the effective date of cancel-              c. Recommend changes.
           lation if we cancel for nonpayment of pre-
           mium.                                                2. We are not obligated to make any inspections,
                                                                    surveys, reports or recommendations and any
       c. 30 days before the effective date of cancel-              such actions we do undertake relate only to in-
           lation if we cancel for any other reason.                surability and the premiums to be charged. We
   3. We will mail or deliver our notice to the first               do not make safety inspections. We do not un-
       Named Insured's last mailing address known to                dertake to perform the duty of any person or
       us.                                                          organization to provide for the health or safety
                                                                    of workers or the public. And we do not warrant
   4. Notice of cancellation will state the effective
                                                                    that conditions:
       date of cancellation. The policy period will end
       on that date.                                                a. Are safe and healthful; or
   5. If this policy is cancelled, we will send the first           b. Comply with laws, regulations, codes or
       Named Insured any premium refund due. If we                      standards.
       cancel, the refund will be pro rata. If the first        3. Paragraphs 1. and 2. of this condition apply not
       Named Insured cancels, the refund may be                     only to us, but also to any rating, advisory, rate
       less than pro rata. The cancellation will be ef-             service or similar organization which makes in-
       fective even if we have not made or offered a                surance inspections, surveys, reports or rec-
       refund.                                                      ommendations.
   6. If notice is mailed, proof of mailing will be suffi-      4. Paragraph 2. of this condition does not apply to
       cient proof of notice.                                       any inspections, surveys, reports or recom-
B. Changes                                                          mendations we may make relative to certifica-
                                                                    tion, under state or municipal statutes, ordi-
   This policy contains all the agreements between
                                                                    nances or regulations, of boilers, pressure
   you and us concerning the insurance afforded.
                                                                    vessels or elevators.
   The first Named Insured shown in the Declarations
   is authorized to make changes in the terms of this        F. Insurance Under Two Or More Coverages
   policy with our consent. This policy's terms can be          If two or more of this policy's coverages apply to
   amended or waived only by endorsement issued                 the same loss or damage, we will not pay more
   by us and made a part of this policy.                        than the actual amount of the loss or damage.




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G. Liberalization                                                 Our forms then in effect will apply. If you do not
   If we adopt any revision that would broaden the                pay the continuation premium, this policy will
   coverage under this policy without additional pre-             expire on the first anniversary date that we
   mium within 45 days prior to or during the policy              have not received the premium.
   period, the broadened coverage will immediately             4. Undeclared exposures or change in your busi-
   apply to this policy.                                          ness operation, acquisition or use of locations
H. Other Insurance                                                may occur during the policy period that are not
                                                                  shown in the Declarations. If so, we may re-
   1. If there is other insurance covering the same               quire an additional premium. That premium will
       loss or damage, we will pay only for the                   be determined in accordance with our rates
       amount of covered loss or damage in excess of              and rules then in effect.
       the amount due from that other insurance,
       whether you can collect on it or not. But we will    J. Premium Audit
       not pay more than the applicable Limit of In-           1. This policy is subject to audit if a premium
       surance of Section I – Property.                           designated as an advance premium is shown
   2. Business Liability Coverage is excess over:                 in the Declarations. We will compute the final
                                                                  premium due when we determine your actual
       a. Any other insurance that insures for direct             exposures.
           physical loss or damage; or
                                                               2. Premium shown in this policy as advance pre-
       b. Any other primary insurance available to                mium is a deposit premium only. At the close of
           you covering liability for damages arising             each audit period we will compute the earned
           out of the premises or operations for which            premium for that period and send notice to the
           you have been added as an additional in-               first Named Insured. The due date for audit
           sured by attachment of an endorsement.                 premiums is the date shown as the due date
   3. When this insurance is excess, we will have no              on the bill. If the sum of the advance and audit
       duty under Business Liability Coverage to de-              premiums paid for the policy period is greater
       fend any claim or "suit" that any other insurer            than the earned premium, we will return the
       has a duty to defend. If no other insurer de-              excess to the first Named Insured.
       fends, we will undertake to do so, but we will          3. The first Named Insured must keep records of
       be entitled to the insured's rights against all            the information we need for premium computa-
       those other insurers.                                      tion, and send us copies at such times as we
I. Premiums                                                       may request.
   1. The first Named Insured shown in the Declara-         K. Transfer Of Rights Of Recovery Against Others
       tions:                                                  To Us
       a. Is responsible for the payment of all premi-         1. Applicable to Businessowners Property Cover-
           ums; and                                               age:
       b. Will be the payee for any return premiums               If any person or organization to or for whom we
           we pay.                                                make payment under this policy has rights to
   2. The premium shown in the Declarations was                   recover damages from another, those rights
       computed based on rates in effect at the time              are transferred to us to the extent of our pay-
       the policy was issued. On each renewal, con-               ment. That person or organization must do
       tinuation or anniversary of the effective date of          everything necessary to secure our rights and
       this policy, we will compute the premium in ac-            must do nothing after loss to impair them. But
       cordance with our rates and rules then in ef-              you may waive your rights against another
       fect.                                                      party in writing:
   3. With our consent, you may continue this policy              a. Prior to a loss to your Covered Property.
       in force by paying a continuation premium for              b. After a loss to your Covered Property only
       each successive one-year period. The pre-                       if, at time of loss, that party is one of the fol-
       mium must be:                                                   lowing:
       a. Paid to us prior to the anniversary date; and               (1) Someone insured by this insurance;
       b. Determined in accordance with Paragraph                     (2) A business firm:
           2. above.                                                       (a) Owned or controlled by you; or
                                                                           (b) That owns or controls you; or
                                                                      (3) Your tenant.




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      You may also accept the usual bills of lading or        L. Transfer Of Your Rights And Duties Under This
      shipping receipts limiting the liability of carriers.      Policy
      This will not restrict your insurance.                     Your rights and duties under this policy may not be
   2. Applicable to Businessowners Liability Cover-              transferred without our written consent except in
      age:                                                       the case of death of an individual Named Insured.
      If the insured has rights to recover all or part of        If you die, your rights and duties will be transferred
      any payment we have made under this policy,                to your legal representative but only while acting
      those rights are transferred to us. The insured            within the scope of duties as your legal represen-
      must do nothing after loss to impair them. At              tative. Until your legal representative is appointed,
      our request, the insured will bring "suit" or              anyone having proper temporary custody of your
      transfer those rights to us and help us enforce            property will have your rights and duties but only
      them. This condition does not apply to Medical             with respect to that property.
      Expenses Coverage.




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                                                                                                BUSINESSOWNERS
                                                                                                     BP IN 01 01 10

            BUSINESSOWNERS COVERAGE FORM INDEX
This index is provided only as a convenience. It should not be assumed to provide a reference to every provision
that can affect a question, claim or coverage. To determine the full scope of coverage and pertinent restrictions
and exclusions, the policy (including endorsements) must be read in its entirety. The features may also be af-
fected by related provisions not referenced at all in the index, or noted elsewhere in it. For instance, an Exclusion
feature addresses a specific policy exclusion; but restrictions of coverage and exclusions also appear within the
areas where coverage, covered causes of loss, etc., are described.


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                                                                                              BUSINESSOWNERS
                                                                                                  BP 06 69 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     WASHINGTON – FUNGI OR BACTERIA
                          EXCLUSION (LIABILITY)
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following provisions are added to Section II –                     (2) Any loss, cost or expenses arising out of
Liability:                                                                  the abating, testing for, monitoring,
A. The following exclusion is added to Paragraph                            cleaning up, removing, containing, treat-
   B.1., Exclusions – Applicable To Business Li-                            ing, detoxifying, neutralizing, remediat-
   ability Coverage:                                                        ing or disposing of, or in any way re-
                                                                            sponding to, or assessing the effects of,
        t. Fungi Or Bacteria                                                "fungi" or bacteria, by any insured or by
           (1) "Bodily injury", "property damage" or                        any other person or entity.
               "personal and advertising injury" which                  This exclusion does not apply to any "fungi"
               would not have occurred, in whole or in                  or bacteria that are, are on, or are con-
               part, but for the actual, alleged or threat-             tained in, a good or product intended for
               ened inhalation of, ingestion of, contact                bodily consumption.
               with, exposure to, existence of, or pres-
               ence of, any "fungi" or bacteria on or         B. The following definition is added to Paragraph F.
               within a building or structure, including         Liability And Medical Expenses Definitions:
               its contents.                                     1. "Fungi" means any type or form of fungus,
                                                                    including mold or mildew and any mycotoxins,
                                                                    spores, scents or by-products produced or re-
                                                                    leased by fungi.




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